Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 1 of 204

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

TODD MCCAIN, individually and on behalf of all

others similarly situated, Case No.: 1:24-cv-241-LG-BWR
Plaintiff, [PROPOSED] SECOND AMENDED
\ CLASS COMPLAINT

MARY MAHONEY’S, INC. d/b/a MARY | JURY TRIAL DEMANDED
MAHONEY’S OLD FRENCH HOUSE,
ANTHONY C. CVITANOVICH, QUALITY
POULTRY & SEAFOOD, INC., JAMES W.
GUNKEL, TODD A. ROSETTI, and DOE
DEFENDANTS 1-10,

Defendants.

Todd McCain (hereinafter “Plaintiff’), by and through undersigned counsel, brings this
action on behalf of himself and all others similarly situated against Mary Mahoney’s, Inc. d/b/a
Mary Mahoney’s Old French House (“Mary Mahoney’s”), Anthony C. Cvitanovich
(“Cvitanovich”), Quality Poultry & Seafood, Inc. (“QPS”), James W. Gunkel (“Gunkel”), Todd
A. Rosetti (“Rosetti”), and Doe Defendants 1-10 (collectively, “Defendants”), based upon
personal knowledge as to himself and his own acts, publicly available records, and information
and belief, and alleges as follows:

I, NATURE OF ACTION

1. This action arises from a conspiracy and scheme perpetrated by Defendants which
targeted and financially defrauded tens of thousands of individuals who ordered and paid higher
prices customary for authentic snapper at Mary Mahoney’s. Instead, Plaintiff and the putative class

received inexpensive and inferior African perch, Suriname tripletail, and Indian unicorn filefish

(collectively, the “Foreign Fish’).

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Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 2 of 204

2. The scheme, as summarized by Department of Justice attorney Jeremy F. Korzenik,
“involves a financial fraud ... [t]he subject, of course, is seafood ... the purpose was profits.” See
Cvitanovich Sentencing Tr., Case No. 24-cr-00046, Dkt. No. 24 at 7:9-11, attached hereto as
Exhibit A.

3. Beginning on January 1, 2016, and continuing repetitiously and regularly through
November 18, 2019 (hereinafter, the “Class Period”), QPS, the largest seafood wholesaler on the
Mississippi Gulf Coast, James Gunkel, QPS’s business manager, and Todd Rosetti, QPS’s sales
manager, knowingly and actively participated in a scheme with Mary Mahoney’s, a prominent
Mississippi Gulf Coast restaurant, and its co-owner/manager Anthony Cvitanovich, wherein
Defendants collectively imported, mislabeled, and sold approximately 55,500 entrees to Plaintiff
and the putative class at higher prices customary for authentic snapper, when in fact, each entree
was instead inexpensive Foreign Fish.'

4, When discussing the mislabeling that occurred during the Class Period, U.S.

goat,

District Judge Halil S. Ozerden described the conduct as “repetitious,” “regular,” and “similar.”

Id. at 20:1-2,

5. During the Class Period, Mary Mahoney’s and Cvitanovich focused on fraudulently
substituting Foreign Fish in two specific entrees that were priced accordingly as authentic local

snapper (collectively, the “Snapper Entrees”)?

' See Cvitanovich Sentencing Tr. at 14:21-24 (“[D]uring that period from 2016 to 2019, roughly 55,500
lunch or dinner entrees were sold that were misbranded at a time when Mr. Cvitanovich was. solely
responsible for purchasing the fish.”).

* During the Class Period, Mary Mahoney’s was only open six days a week, never on Sundays or holidays.
Moreover, Mary Mahoney’s offered numerous other entree options for sale that were not part of the scheme.
These included Baked Stuffed Shrimp, Stuffed Flounder, Stuffed Catfish, Shrimp & Crab Au Gratin,
Grilled Tuna, Broiled or Fried Trout, Broiled Salmon, Broiled Whole Bone-In Flounder, Fried Soft Shell
Crab Almondine, Fried Chicken Breast Almondine, Grilled Chicken Breast, Back Room Crab Cakes, Fried
Shrimp, Fried Oysters, Crawfish Etouffee, Prime Rib of Beef Aujus, Shrimp & Lump Crabmeat Melba,

Page 2 of 26
Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 3 of 204

6. During the Class Period, Mary Mahoney’s and Cvitanovich received approximately
55,500 total orders for the Snapper Entrees from Plaintiff and the putative class.°

7. Of the 55,500 Snapper Entrees ordered and sold during the Class Period, for which
Plaintiff and the putative class paid an accordingly higher price, the overwhelming majority—if
not all—were substituted with inexpensive Foreign Fish.4

8. The Foreign Fish were not as marketable pricewise; as they were inferior and
accordingly much less expensive in comparison to authentic snapper. Hence, the reason
Defendants concealed the scheme.

9. Plaintiff and the putative class suffered financial losses equal to the difference
between what Mary Mahoney’s paid QPS for the Foreign Fish and the actual price Mary

Mahoney’s would have paid for authentic snapper during the Class Period.

Shrimp & Lobster Georgo, and Veal Antonio, Taking into consideration the numerous other entree options
that customers purchased during the Class Period, it is plausible to infer that the 55,500 Snapper Entrees
sold by Mary Mahoney’s were the overall total number of Snapper Entrees ordered between January |,
2016 and November 18, 2019,

3 Jd, at 10-15 (the Court and Cvitanovich’s attorney discuss an objection to a potential sentencing
enhancement regarding the number of victims of the scheme). There, the Court states that “during that
period from 2016 to 2019, roughly 55,500 lunch or dinner entrees were sold that were misbranded at a time
when Mr. Cvitanovich was solely responsible for purchasing the fish. And I think the argument in the
objection is, well, in the corresponding time after the menu changed, another 50,000 people bought
the same dishes.” /d. at 14:21-25, 15:1 (emphasis added). If, for example, 65,000 Snapper Entrees had
been sold between 2016 and 2019, this objection could not have been made by Cvitanovich’s attorney.
Thus, it is plausible to infer that during the Class Period a total of 55,500 Snapper Entrees were ordered and
sold by Mary Mahoney’s.

4 fd. at 14:21~24 (“[D]uring that period from 2016 to 2019, roughly 55,500 lunch or dinner entrees were
sold that were misbranded ..,.”); see a/so Cvitanovich Plea Tr., Case No, 24-cr-00046, Dkt. No. 16 at 32:12—
19, attached hereto as Exhibit B (“At that time, if not before, Mr. Cvitanovich was made aware, by the
statements of his supplier, the labels on the boxes of frozen fish Mahoney’s received, the prices he
negotiated, and the invoices he paid, that most of the fish he ordered from his restaurant’s primary supplier,
primary wholesaler, was not the local species that Mahoney’s advertised and identified on its menu.”).

Page 3 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 4 of 204

10. On May 30, 2024, the scheme was revealed to the public when the U.S. Attorney
for the Southern District of Mississippi, Todd W. Gee, announced criminal charges and guilty
pleas by Mary Mahoney’s and Cvitanovich and stated that “[mlislabeling food and defrauding
customers are serious crimes, and this case will help convince restaurants and seafood suppliers
that it is not worth lying to customers about what is on the menu.” See Press Release, attached
hereto as Exhibit C.

11. Special Agent in Charge Justin Fielder, with the Food and Drug Administration’s
(“FDA”) Office of Criminal Investigations, emphasized that the FDA will “continue to investigate
and bring to justice those who put profits above public health.” Jd.

12. On August 27, 2024, the U.S. Attorney for the Southern District of Mississippi
revealed similar criminal charges and guilty pleas by QPS, Gunkel, and Rosetti for their
participation in the scheme. See Press Release, Exhibit D,

13. Assistant Attorney General Todd Kim, with the Department of Justice, stated that
QPS and company officials caused the market to be “unfairly flooded with less expensive fish,
frozen and imported from overseas.” /d.

14. Defendants’ collective actions and common course of conduct consisted of
numerous predicate and overt acts in furtherance of the scheme, including wire and mail fraud—
all used to execute the scheme which targeted and directly caused monetary injury to Plaintiff and
the putative class while bringing about financial gains for themselves.

15. Plaintiff and the putative class now bring this action against Defendants for
violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§

1961-1968, and seck monetary damages, treble damages, attorney’s fees, and costs.

Page 4 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 5 of 204

II. PARTIES
A. Plaintiff.

16. Plaintiff TODD MCCAIN is and was at all relevant times a resident of Alabama.
Within the Class Period, on December 28, 2016, and August 21, 2018, Plaintiff travelled across
state lines to Mary Mahoney’s where he twice ordered a Snapper Entree. Based on Defendants’
widespread, regular, and repetitious scheme—and like the overwhelming majority, if not all, of
the individuals who ordered Snapper Entrees during the Class Period, he too received inexpensive
Foreign Fish, Accordingly, Plaintiff paid a price customary for authentic snapper, when in fact, he
received inexpensive Foreign Fish.

B. Defendants,

17. Defendant QUALITY POULTRY & SEAFOOD, INC. is and was at all relevant
times a Mississippi corporation with its headquarters and principal place of business located at 895
Division Street, Biloxi, Mississippi 39530, During the Class Period, QPS imported and supplied
the Foreign Fish used by Mary Mahoney’s and Cvitanovich to defraud Plaintiff and the putative
class,

18. Defendant JAMES W, GUNKEL is and was at all relevant times QPS’s business
manager and a certified public accountant, overseeing all of QPS’s business operations and
reported directly to QPS’s owners. During the Class Period, Gunkel controlled QPS’s purchases
of the Foreign Fish from its foreign suppliers, instructed employees on how to label the Foreign
Fish, and set the prices that QPS charged Mary Mahoney’s for the Foreign Fish. Gunkel can be
served at 6825 Corto Road, Ocean Springs, Mississippi 39564.

19. Defendant TODD A. ROSETTI is and was at all relevant times QPS’s sales

manager and one of QPS’s owners. During the Class Period, Rosetti supervised QPS’s sales staff,

Page 5 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 6 of 204

participated in setting prices at which QPS would sell the Foreign Fish, and was responsible for
selling the Foreign Fish to Mary Mahoney’s. In furtherance of the scheme, Rosetti provided
Cvitanovich with several different foreign fish species which Cvitanovich used to determine which
fish could best be used to defraud Plaintiff and the putative class. Rosetti can be served at 3609
Point Clear Drive, Ocean Springs, Mississippi 39564.

20. Defendant MARY MAHONEY’S, INC. is and was at all relevant times a
Mississippi corporation with its headquarters and principal place of business located at 116 Rue
Magnolia Street, Biloxi, Mississippi 39530. Mary Mahoney’s does business as Mary Mahoney’s
Old French House. During the Class Period it sold approximately 55,500 fraudulent entrees as
authentic snapper during the Class Period. Mary Mahoney’s is actively managed by its directors
and officers: Robert F, Mahoney, Jr., Eileen Mahoney Ezell, and Andrea Cvitanovich Osman.

21. Defendant ANTHONY C. CVITANOVICH is and was at all relevant times the co-
owner and manager of Mary Mahoney’s. During the Class Period, Cvitanovich knowingly
purchased the Foreign Fish from QPS that Mary Mahoney’s priced accordingly and sold as
authentic snapper. Cvitanovich is the registered agent for Mary Mahoney’s and can be served at
116 Rue Magnolia Street, Biloxi, Mississippi 39530,

22. Doe Defendants 1-10 are individuals, owners, executives, officers, directors,
corporations, limited liability companies, partnerships and/or other entities that participated in the
racketeering scheme. Pursuant to Fed. R. Civ. P. 15, Plaintiff reserves the right to seek leave of

the Court to add additional Doe Defendants.

Page 6 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 7 of 204

WI. JURISDICTION AND VENUE

23. This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1331,
as Plaintiffs claims arise under 18 U.S.C. § 1964(c), and allege violations of RICO, 18 U.S.C. §
1962.

24, This Court has personal jurisdiction over Defendants as they are authorized to
conduct business in Mississippi; have transacted business, maintained substantial contacts, and/or
committed predicate acts in furtherance of the scheme in this District; and the scheme was directed
at, and has had the intended effect of causing monetary injury to persons residing in or located in
this District.

25. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), (c), (d), and 18
U.S.C. § 1965. Defendants reside, are found, regularly conduct and transact business, committed
predicate and overt acts in furtherance of the scheme, and/or have agents in this District. A portion
of the events giving rise to Plaintiff's claims occurred in this District, namely importing,
mislabeling, and fraudulently selling Foreign Fish as authentic snapper, which caused actual
monetary injury to individuals residing in this District.

IV. FACTUAL ALLEGATIONS
A. The Purpose of Defendants’ Scheme,

26. During the Class Period, Defendants collectively and consensually entered into and
participated in a scheme, with the sole objective and purpose of profiting, by importing,
mislabeling, and selling approximately 55,500 entrees to Plaintiff and the putative class at higher
prices customary for authentic snapper, when in fact, each entree was fraudulently substituted with

inexpensive Foreign Fish.

Page 7 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 8 of 204

27. | Mary Mahoney’s and Cvitanovich directly profited from the sale of the Foreign
Fish at prices customary for authentic snapper at the expense of Plaintiff and the putative class.
Plaintiff and the putative class accordingly paid a significantly higher price for authentic snapper.

28. The scheme directly and foreseeably caused Plaintiff and the putative class to
overpay for the Foreign Fish, as they were necessary for the scheme to profit.

29. Accordingly, Plaintiff and the putative class have suffered ascertainable monetary
damages based on Defendants’ collective actions.

B. Defendants’ Manner and Means of Carrying Out the Scheme.

30. To carry out the scheme, QPS, Gunkel, Rosetti, Mary Mahoney’s, and Cvitanovich
collectively and knowingly entered into a continuous and ongoing unlawful agreement during the
Class Period, using predicate acts, for the purpose of purchasing and importing the Foreign Fish
into the United States, and then mislabeling and selling the Foreign Fish as high-priced authentic
snapper to Plaintiff and the putative class.

31, Defendants did not undertake the practices described herein in isolation, but as part
of a widespread scheme that was continuous, repetitious, and regular during the Class Period.

32. The scheme was successful because it functioned as an organized unit with
continuity of structure, personnel, and a shared purpose that directly and foreseeably targeted
Plaintiff and the putative class as its victims.

33. From an organizational standpoint, each Defendant played a distinct and

indispensable role in the scheme. During the Class Period, the Foreign Fish were purchased by

> OPS profited from the scheme by selling the Foreign Fish to Mary Mahoney’s. Gunkel and Rosetti profited
from the scheme because “[t]hey made bonuses [based on] the profits that the company was making.” See
Rosetti Sentencing Tr., Case No. 24-cr-00090, Dkt. No. 19 at 8:13-14, attached hereto as Exhibit E,

5 See J 4, supra.

Page 8 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 9 of 204

QPS’s business manager (Gunkel), imported by QPS, mislabeled by QPS’s sales manager
(Rosetti), and sold by Mary Mahoney’s and Cvitanovich to Plaintiff and the putative class at prices
customary for authentic snapper.

34, QPS, Gunkel, and Rosetti were only able to purchase and import the unmarketable
Foreign Fish because they knew their co-conspirators, Mary Mahoney’s and Cvitanovich, would
sell the Foreign Fish to Plaintiff and the putative class, Each Defendant knew full well the fish
were neither local nor authentic snapper.

35. During the Class Period, Plaintiff and the putative class ordered and paid for
approximately 55,500 Snapper Entrees, Of those 55,500 entrees, the overwhelming majority—if
not all__were substituted with Foreign Fish by Mary Mahoney’s and Cvitanovich.

36. Based on Defendants’ continuous activities, relationships, and structure, each
directly profited and derived significant income from the scheme, while the actual monetary losses
to Plaintiff and the putative class were the but-for cause and proximately caused by the scheme.
Not surprisingly, the fraud led directly and foreseeably to its intended victims, Plaintiff and the
putative class.

37. The scheme was successful and financially benefited Mary Mahoney’s and
Cvitanovich from the sale of the Foreign Fish at prices that were customary for authentic local
snapper. The Foreign Fish were not as marketable pricewise; as they were inferior and accordingly
much less expensive in comparison to authentic snapper.

C. Defendants’ Racketeering Activities Related to all RICO Claims.

38. With the intent to defraud, Mary Mahoney’s and QPS knowingly made use of

numerous interstate wire communications to organize and execute the scheme, in violation of 18

U.S.C. § 1343. Mary Mahoney’s and QPS have pleaded guilty to using interstate wire

Page 9 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 10 of 204

transmissions to facilitate the fraud in violation of 18 U.S.C. § 1343. See Mary Mahoney’s and
QPS’s Plea Agreements 4 1, Exhibits G & L.

39, With the intent to defraud, QPS, Gunkel, Rosetti, Mary Mahoney’s, and
Cvitanovich caused the Foreign Fish to be deposited, delivered, and/or received—via private
and/or commercial interstate carrier—in violation of 18 U.S.C. § 1341. See Cvitanovich Plea Tr.
at 32:23-25, 33:1-2, Exhibit B.

40. Defendants wide-ranging scheme or artifice to defraud used interstate wire
communications to knowingly and willfully organize, execute, and facilitate the scheme, in
violation of 18 U.S.C. § 1343, including:

a. In an April 16, 2018 email, Gunkel (QPS’s business manager), sent the following
instructions to Rosetti (QPS’s sales manager), along with other members of QPS’s
sales staff: “I don’t understand why we are giving [African] Perch away. This is a
replacement for the triple tail which were selling at $8.99 and $9.99. Now we are
selling perch at $5.69 if we can’t get at least $6.99 or $7.99 then it’s not worth
bringing it in here. This is a product that no one else has and it is versatile. Raise
the price and make money where we can make money!”

b, On September 19, 2018, while an authorized federal search of QPS’s premises was
underway, Cvitanovich (Mary Mahoney’s co-owner/manager), sent an electronic
text message to Rosetti (QPS’s sales manager), ordering imported frozen Afiican
perch, which Mary Mahoney’s regularly mislabeled and sold to customers as local
Mississippi Gulf Coast snapper.

c. On September 19, 2018, Rosetti (QPS’s sales manager) replied to Cvitanovich’s
text order for African perch, with the following text: ““Tomorrow[,] FDA here
today.” Cvitanovich (Mary Mahoney’s co-owner/manager) responded, “Ok.”

d, On September 27, 2018, eight days after the FDA’s search of QPS’s premises, in a
text to Rosetti (QPS’s sales manager), Cvitanovich ordered 150 pounds of African
perch in order to sell it te customers of Mary Mahoney’s as snapper.

e. On October 18, 2018, about a month after the FDA’s search of QPS’s premises, in
a text to Rosetti (QPS’s sales manager), Cvitanovich ordered 60 pounds of African
perch to sale as snapper to customers of Mary Mahoney’s.

f. In an October 18, 2018 text, after Rosetti (QPS’s sales manager) informed
Cvitanovich (Mary Mahoney’s co-owner/manager) that QPS was unlikely to obtain

Page 16 of 26
Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 11 of 204

more African perch, by stating that “Perch about to be nonexistent,” Cvitanovich
instructed him to “Get all they have.”

g. Ina February 21, 2019 text, Rosetti (QPS’s sales manager), told Cvitanovich that
“We have 110 cases of perch left when that is gone there is no more, FYI] we are
looking for alternatives. Unicorn, triple tail and parrot fish are always good
alternatives.”

h. In a responsive text on February 21, 2019, Cvitanovich (Mary Mahoney’s co-
owner/manager) told Rosetti (QPS’s sales manager) not to sell the remaining cases
of African perch to any other customers, stating that “I will buy them.” Rosetti
responded, “You come bring a check and I will set it aside for you.”

i. Throughout the Class Period, Mary Mahoney’s directly obtained thousands of
payments through interstate wire transmissions generated by credit card sales for
the fraudulently mislabeled Foreign Fish.

j. Throughout the Class Period, Mary Mahoney’s fraudulently marketed authentic
snapper on its menu and through several interstate wire and electronic
communications, which were hosted outside of Mississippi, including the website
Yelp®.’

k, Throughout the Class Period, Mary Mahoney’s fraudulently marketed on the
websites OpenTable® and Tripadvisor®, which were hosted outside of Mississippi,
that it specialized in “locally sourced seafood.’

1. Throughout the Class Period, Mary Mahoney’s menu was posted on the publicly-
accessible website, www.marymahoney.com, which was hosted outside of
Mississippi, where Mary Mahoney’s marketed authentic snapper, which Mary
Mahoney’s and Cvitanovich substituted with inexpensive Foreign Fish,

D. Defendants’ Efforts to Unlawfully Conceal the Scheme.
4], Defendants concealed the scheme through lies and material omissions, including
when being questioned by federal agents, where:
a. Gunkel falsely told federal agents that if anyone in QPS’s retail market was labeling

a fish with a name other than its true name, it was done without his approval and
without his knowledge;

? Yelp®, https:/Avww.yelp.com/ (last visited July 5, 2024),

® OpenTable®, https://www.opentable.com/r/mary-mahoneys-old-french-house-biloxi (“locally sourced
seafood”) (last visited July 5, 2024); Tripadvisor®, https://www.tripadvisor.com/Restaurant_Review-
g43686-d2023580-Reviews-Mary_Mahoney_s Old_French_House-Biloxi_Mississippi.htm] (same) (last

visited July 5, 2024).
Page 11 of 26
Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 12 of 204

b. Gunkel falsely told federal agents that QPS does not ship any fish outside of the
State of Mississippi;

c. Gunkel falsely told federal agents that QPS had, in the past, sold fish to Mary
Mahoney’s restaurant in Biloxi, Mississippi, but not much anymore;

d, Gunkel falsely told federal agents that he was not aware of any restaurant customer
mislabeling and selling fish bought from QPS as something other than what it was,
such as selling a cheap fish as an expensive one; and

e. Rosetti falsely told federal agents that any mislabeling of fish by QPS was
inadvertent and he did not know of any mislabeling of fish by the restaurants to
which QPS sold seafood.

E, Federal Criminal Charges and Guilty Pleas.
United States v. Mary Mahoney’s (Case No, 1:24-er-45-HSO-RPM)

42, On April 26, 2024, the U.S. Attorney for the Southern District of Mississippi
criminally charged Mary Mahoney’s for its participation in the scheme. See Criminal Info.,
attached hereto as Exhibit F.

43, On May 30, 2024, Mary Mahoney’s, through unanimous consent of its board of
directors, pleaded guilty to felony charges for participating in the 18 U.S.C. § 371 conspiracy to
defraud individuals by marketing mislabeled seafood in violation of 21 U.S.C. §§ 331{k) and
333(a)(2), and in using interstate wire transmissions to facilitate the fraud in violation of 18 U.S.C.
§ 1343. See Plea Agreement, attached hereto as Exhibit G; Consent Agreement, attached hereto
as Exhibit H.

United States vy, Anthony C. Cvitanovich (Case No, 1:24-cr-46-HSO-BWR)
44, On April 26, 2024, the U.S. Attorney for the Southern District of Mississippi

criminally charged Cvitanovich for his participation in the scheme. See Criminal Info., attached

hereto as Exhibit 1.

Page 12 of 26
Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 13 of 204

45. On May 30, 2024, Cvitanovich pleaded guilty to felony charges related to the
scheme for mislabeling inexpensive imported seafood as local premium species to profit from its
fraudulent sale in violation of 21 U.S.C. §§ 331(k) and 333(a)(2). See Plea Agreement, Exhibit J.

United States v. OPS (Case No. 1:24-cr-89-HSO-RPM)

46. On July 31, 2024, the U.S. Attorney for the Southern District of Mississippi
criminally charged QPS for its participation in the scheme. See Criminal Info., attached hereto as
Exhibit K.

47, On August 27, 2024, QPS pleaded guilty to felony charges for participating in the
18 U.S.C, § 371 conspiracy to defraud individuals by marketing mislabeled seafood in violation
of 21 U.S.C, §§ 331(k) and 333(a)(2), and in using interstate wire transmissions to facilitate the
fraud in violation of 18 U.S.C. § 1343, See Plea Agreement, attached hereto as Exhibit L.

United States v. James W. Gunkel (Case No. 1:24-cr-88-HSO-RPM)

48, On July 31, 2024, the U.S. Attorney for the Southern District of Mississippi
criminally charged Gunkel for his participation in the scheme. See Criminal Info., attached hereto
as Exhibit M.

49, On August 27, 2024, Gunkel pleaded guilty to charges related to the scheme for the
misbranding of inexpensive imported seafood as local premium species in violation of 21 U.S.C.
$§ 331(k) and 333(a)(1). See Plea Agreement, attached hereto as Exhibit N.

United States v. Todd A, Rosetti (Case No, 1:24-cr-90-HSO-BWR)

50, On July 31, 2024, the U.S. Attorney for the Southern District of Mississippi

criminally charged Rosetti for his participation in the scheme. See Criminal Info., attached hereto

as Exhibit 0.

Page 13 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 14 of 204

51, On August 27, 2024, Rosetti pleaded guilty to charges related to the scheme for the
misbranding of inexpensive imported seafood as local premium species in violation of 21 U.S.C.
§$§ 331(k) and 333(a)(1). See Plea Agreement, attached hereto as Exhibit P.

F. Harm to Plaintiff and the Putative Class.

52. Plaintiff and the putative class suffered ascertainable losses and actual damages
proximately caused by and but-for Defendants’ scheme.

53. Plaintiff and the putative class were the direct and foreseeable victims of
Defendants’ scheme and paid an accordingly higher price charged by Mary Mahoney’s for
authentic snapper. Their damages are the direct and natural consequences of Defendants’ actions.

54. Plaintiff and the putative class suffered financial losses equal to the difference
between what Mary Mahoney’s paid QPS for the Foreign Fish and the actual price Mary
Mahoney’s would have paid for authentic snapper during the Class Period.

55. Atno time did Mary Mahoney’s or Cvitanovich disclose to Plaintiff or the putative
class that the fish species they were purchasing were anything other than authentic snapper.

56. Defendants engaged in methods of deception to conceal the scheme. See JJ 38-41,
Supra.

57, Defendants pursued a common plan and course of conduct, acted in concert with,
aided and abetted, and otherwise conspired with one another, in furtherance of the scheme to
defraud Plaintiff and the putative class. Thus, Defendants are jointly and severally liable for all
damages caused by the scheme.

58. Accordingly, Plaintiff and the putative class have suffered monetary damages as a

result of Defendants’ unlawful scheme.

Page 14 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 15 of 204

Vv. TOLLING OF THE STATUTES OF LIMITATION

59. All statutes of limitation applicable to Plaintiff and the putative class are subject to
tolling under the discovery rule and/or equitable estoppel due to Defendants’ concealment, as
alleged herein. Plaintiff and the putative class could not have discovered the scheme either prior
to purchasing the Foreign Fish, or until after criminal charges were announced against Mary
Mahoney’s and Cvitanovich on May 30, 2024.

60. Because Defendants committed fraud and participated in a criminal scheme, not
only did they go to great lengths to conceal the fraud, but the fraud itself was self-concealing.

61. Discovery Rule Tolling: Plaintiff did not discover until after May 30, 2024, and
could not have discovered otherwise, about the scheme, which constitutes a cognizable injury.
Thus, all applicable statutes of limitation have been tolled by operation of the discovery rule.

62. Estoppel: Defendants were each under a continuous duty to disclose the fraudulent
scheme to Plaintiff and the putative class. Defendants knowingly and actively concealed the
scheme. Based on the foregoing, Defendants are estopped from relying on any statutes of limitation
in defense of this action.

VI. CLASS ALLEGATIONS

63. Plaintiff brings this action on behalf of himself and the putative class (the “Class”’),
pursuant to Fed, R. Civ. P. 23(a) and (b)(3), as representative of the Class defined as follows:

All persons residing in the United States who ordered and paid for a
mislabeled Snapper Entree at Mary Mahoney’s between January 1, 2016,
and November 18, 2019.

64, Excluded from the Class are Defendants and their directors, officers, predecessors,

successors, affiliates, agents, co-conspirators, and employees, as well as the immediate family

Page 15 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 16 of 204

members of such persons; class counsel and their employees; and the Judge(s) to whom this case
is assigned and his/her immediate family,

65. Plaintiffreserves the right to amend or otherwise alter the class definition presented
to the Court at the appropriate time, or to propose subclasses, in response to facts learned through
discovery, legal arguments, or otherwise.

66, Certification of Plaintiffs claims for class treatment are appropriate because
Plaintiff can prove the elements of his claims on a class-wide basis using the same evidence as
would be used to prove those elements in individual actions alleging the same claims.

67. Class members have suffered similar financial injury by reason of Defendants’
scheme and course of conduct.

68. Numerosity—Fed. R. Civ. P. 23(a)(1). The Class is comprised of tens of
thousands of individuals, the joinder of which in one action would be impracticable. While the
exact number or identification of the Class is presently unknown, the identity of Class members is
ascertainable and can be determined based on Mary Mahoney’s books and records. Class members
may be notified of the pendency of this action by Court-approved notice methods, which may
include U.S, mail, electronic mail, internet postings, and/or published notice.

69. Predominance of Common Questions—Fed. R. Civ. P, 23(a)(2) & 23(b)(3). The
questions of law and fact common to the Class predominate over questions affecting only
individual Class members, including, without limitation:

a. Whether each Defendant’s conduct violated RICO;
b. Whether Defendants engaged in an association-in-fact enterprise under RICO;

c. Whether Defendants, through a RICO enterprise, committed predicate offenses of
wire and mail fraud sufficient to ground a RICO claim;

Page 16 of 26
Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 17 of 204

d. Whether Defendants are liable to Plaintiff and the Class for damages flowing from
Defendants’ misconduct under RICO, and if so, in what amount;

e. Whether each Defendant participated in the fraudulent scheme and conspiracy;

f. Whether Plaintiff and the Class have sustained damages as a result of Defendants’
conduct, and if so, what are the appropriate damages; and

g. Whether Defendants’ conduct entitles Plaintiff and the Class to recover treble
damages, attorney’s fees, costs, and expenses.

70. Defendants engaged in a common course of conduct giving rise to the legal rights
sought to be enforced by Plaintiff and the Class, Identical statutory violations, fraudulent acts, and
harms are involved. Individual questions, if any, are not prevalent in comparison to the numerous
common questions that dominate this action.”

71. Typicality—Fed. R. Civ. P. 23(a)(3). Plaintiff's claims are typical of Class
members because, among other things, all Class claims are based on the same underlying facts,
events, and circumstances relating to Defendants’ conduct and Class members were comparably
injured through Defendants’ wrongful conduct as described herein.

72.  Adequacy—Fed. R. Civ. P. 23(a)(4); 23(g)(1). Plaintiff will fairly and adequately
represent and protect the interests of the Class, has no interest incompatible with the interests of
the Class, and has retained counsel competent and experienced in class action litigation. The

interests of the Class will be fairly and adequately protected by Plaintiff and his counsel.

° The Supreme Court and Fifth Circuit have held that no reliance requirement exists for civil causes of
action under RICO for victims of mail or wire fraud. See Bridge v. Phoenix Bond & Indem. Co., 553 U.S.
639, 128 S.Ct. 2131, 2139-40 (2008); see also Earl v, Boeing Co., 339 F.R.D. 391, 435 (E.D. Tex. 2021)
(citing Germain v. Howard, 556 F.3d 261, 263 (Sth Cir. 2009) (‘no reliance requirement exists for civil
causes of action under RICO for victims of mail’ or wire fraud,”). As a result, the “the most straightforward
way of demonstrating reliance in a classwide manner under the Bridge theory is by showing that the
[p]laintiffs’ losses were caused by reason of the [djefendants’ operation of a fraudulent scheme.” Ear, 339
F.R.D, 435 (internal quotation marks omitted) (quoting Torres v. SG.E. Mgmt, LL.C., 838 F.3d 629, 638
(5th Cir. 2016)).

Page 17 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 18 of 204

73. Superiority—Fed. R. Civ. P. 23(b)(3), A class action is superior to other available
methods for the fair and efficient adjudication of this controversy. Such treatment will permit a
large number of similarly situated and commonly affected Class members to prosecute their claims
in a single forum simultaneously, efficiently, and without the unnecessary duplication of evidence,
effort, or expense that numerous individual actions would give rise to.

74, Because of the size of each individual Class member’s claim, no Class member
could afford to seek legal redress for the wrongs identified herein. Without the class action vehicle,
the Class would have no reasonable remedy and would suffer losses, Further, individual litigation
has the potential to result in inconsistent or contradictory judgments. A class action in this case
presents fewer management problems and provides the benefits of single adjudication, economies
of scale, and comprehensive supervision by a single court.

75. Plaintiff does not anticipate any difficulty in the management of this litigation.

VIE. CLAIMS FOR RELIEF

COUNTS 1 & I

VIOLATIONS OF RICO — 18 U.S.C. § 1962{c) & (a)

76. Plaintiff incorporates by reference all allegations in Paragraphs 1 through 75 as if
fully set forth herein.

77. Plaintiff brings these Counts on behalf of himself and the Class against ail
Defendants.

78. RICO makes it “unlawful for any person employed by or associated with any
enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to conduct
or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of

racketeering activity ....” 18 U.S.C. § 1962(c).

Page 18 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 19 of 204

79. RICO also makes it “unlawful for any person to conspire to violate any of the
provisions of [Section 1962].” 18 U.S.C. § 1962(d).

80. RICO provides that: “Any person injured in his business or property by reason of a
violation of section 1962 of this chapter may sue therefor in any appropriate United States district
court and shall recover threefold the damages he sustains and the cost of the suit, including a
reasonable attorney’s fee[.]” 18 U.S.C. § 1964(c),

81. Each Defendant is a “person” within the meaning of 18 U.S.C. § 1961(3).

82. Plaintiff and the Class are “person[s]” within the meaning of 18 U.S.C. § 1964(c).

83. QPS, Gunkel, Rosetti, Mary Mahoney’s, and Cvitanovich are liable under 18
U.S.C. § 1962(c) because each is a person who conducted and participated directly in the conduct
of the affairs of an enterprise through a pattern of racketeering activity, which affected interstate
and foreign commerce, and was the but-for and proximate cause of economic injuries to Plaintiff
and the Class. See {4 1-14, 17-21, 26-51, supra.

84. A RICO “enterprise” “includes any individual, partnership, corporation,
association, or other legal entity, and any union or group of individuals associated in fact although
not a legal entity.” 18 U.S.C. § 1961(4).

85. Defendants are individuals, corporations, and/or other legal entities that form the
“association-in-fact” enterprise, hereinafter referred to as the “Foreign Fish Enterprise.” The
Foreign Fish Enterprise consisted of the following: (a) QPS; (b) Gunkel; (c) Rosetti; (d) Mary
Mahoney’s; and (e) Cvitanovich. The Foreign Fish Enterprise associated together in fact for the
collective purpose of carrying out the scheme. See §] 30-40, supra.; see also Exhibits F-P.

86. Through the Foreign Fish Enterprise, Defendants knowingly and willfully

conducted a “pattern of racketeering activity” as defined in 18 U.S.C. § 1961(5).

Page 19 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 20 of 204

87. During the Class Period, through the Foreign Fish Enterprise, Defendants
committed numerous acts of wire and mail fraud, See {{] 38-40, supra, Mary Mahoney’s and QPS
have pleaded guilty to using interstate wire transmissions to facilitate the fraud in violation of 18
U.S.C. § 1343. See Mary Mahoney’s and QPS’s Plea Agreements J 1, Exhibits G & L.

88. Mary Mahoney’s fraudulently marketed authentic snapper on its menu that was
publicly accessible through websites hosted on servers located outside of Mississippi. See § 40(j)-
(1), supra,

89. | Mary Mahoney’s directly obtained payments through interstate wire transmissions
generated by credit card sales for the fraudulently mislabeled Foreign Fish, See 9 40(i), supra.;
QPS Criminal Info. { 95, Exhibit K,

90. In furtherance of the scheme to defraud, Defendants collectively used numerous
acts of mail fraud by causing to be deposited, delivered, and/or received—via private and/or
commercial interstate carrier—thousands of pounds of Foreign Fish, in violation of 18 U.S.C. §
1341. See 39, supra. The Foreign Fish were transported into and through the United States via
commercial interstate carrier from Africa, Suriname, and India. /d.

91. From an organizational standpoint, QPS, Gunkel, and Rosetti participated in the
Foreign Fish Enterprise by importing and mislabeling the Foreign Fish, knowing full weil that
Mary Mahoney’s and Cvitanovich were selling the Foreign Fish to Plaintiff and the Class at prices
customary for authentic snapper.

92. At all relevant times, the Foreign Fish Enterprise had an existence separate and
distinct from each Defendant, was separate and distinct from the pattern of racketeering activity in

which Defendants engaged, and was an ongoing organization consisting of legal entities and

Page 20 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 21 of 204

individuals associated for the collective purpose of importing, mislabeling, and selling Foreign
Fish through fraudulent means, all while deriving significant profits from these activities.

93. Each member of the Foreign Fish Enterprise shared in the bounty generated by the
enterprise—i.e., by sharing the benefits derived from increased sales revenue and substantial
profits generated from the scheme. See, e.g., Criminal Info. {| 4, Exhibit M (“[D]efendant
GUNKEL generated higher proceeds for his customers [Mary Mahoney’s], his employer [QPS],
and himself than would have been obtained had the seafood QPS sold been accurately identified
and sold at its true market value.”)); Criminal Info. § 2, Exhibit O (“[DJefendant ROSETTI
generated higher proceeds for his customers [Mary Mahoney’s], his employer [QPS], and himself
than would have been obtained had the seafood he arranged to sell been accurately identified and
sold at its true market value.”).

94. Through the Foreign Fish Enterprise, Defendants engaged in a pattern of
racketeering activity, which involved a scheme to increase profits for each Defendant through the
Enterprise’s unlawful activities.

95. The Foreign Fish Enterprise engaged in commercial activities, and these activities
affected interstate and foreign commerce, as the scheme involved activities that crossed state and
foreign boundaries, such as importing the Foreign Fish, and the receipt of money through credit
card wire transactions from the sale of same during the Class Period. See [J 39, 40(i), supra.

96. Within the Foreign Fish Enterprise, there was a common communication network
by which Defendants shared information through interstate wire communications on a regular
basis. See {| 40(a)-(h), supra. The Foreign Fish Enterprise used this communications network for

the purpose of facilitating and executing the scheme. /d.

Page 21 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 22 of 204

97. Each participant in the Foreign Fish Enterprise had a systematic linkage to the other
participants through corporate ties, contractual relationships, financial ties, and continuing
coordination of activities. Through the Foreign Fish Enterprise, Defendants functioned as a
continuing unit during the Class Period to further the scheme and their common purpose of
increasing profits.

98. Defendants participated in the operation and management of the Foreign Fish
Enterprise by directing its affairs, as described herein, While Defendants participated in, and were
members of, the Enterprise, they have a separate existence from the Enterprise, including
individuals and distinct entities with different offices and roles, bank accounts, officers, directors,
employees, and financial statements.

99. Defendants worked together closely to further the Foreign Fish Enterprise by and
among the following manners and means:

a, Jointly conspiring to import and mislabel the Foreign Fish as high-priced authentic
snapper;

b. Omitting (or causing such omissions to be made) that the fish sold were from
foreign countries and not authentic local snapper;

c. Concealing the true nature of the fraud from Plaintiff and the Class;
d, Fraudulently pricing and selling the Foreign Fish as authentic snapper; and
e. Unlawfully collecting revenue and profits from the sale of the Foreign Fish.
100, To carry out the scheme to defraud, Defendants knowingly conducted and
participated directly in the conduct of the affairs of the Enterprise through a pattern of racketeering
activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) & 1962(c), by using wire and mail

facilities, in violation of 18 U.S.C. §§ 1343 and 1341.

Page 22 of 26

Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 23 of 204

101. Specifically, Defendants conspired to commit, committed, and/or aided and abetted
in the commission of numerous predicate acts of racketeering activity (i.e., violations of 18 U.S.C.
§§ 1343 and 1341), the last of which occurred within four years of the prior acts. The acts were
related to each other, posed a threat of continued racketeering activity, and therefore constitute a
“pattern of racketeering activity.” The racketeering activity was made possible by Defendants
continues use of the facilities, services, and distribution channels of the Foreign Fish Enterprise.
Defendants knowingly and intentionally participated in the scheme to defraud by wire
transmissions through interstate and/or foreign means and by use of private and/or commercial
interstate carriers.

102. Defendants devised and knowingly carried out the scheme and/or artifice to defraud
Plaintiff and the Class to obtain money that was not rightfully theirs by using materially false and
fraudulent pretenses and predicate acts.

103. The Foreign Fish Enterprise’s use of interstate wire communications and
private/commercial interstate carriers foreseeably caused and were in furtherance of the scheme in
numerous ways, including:

a. Importing and receiving the Foreign Fish by QPS, Gunkel, and Rosetti,

b. Documents used to facilitate the sale of the Foreign Fish, including bills of lading,
invoices, shipping records, reports, and correspondence by QPS, Gunkel, Rosetti,
Mary Mahoney’s, and Cvitanovich;

c. Documents used to process and receive payment for the Foreign Fish from Plaintiff
and the Class, including invoices, receipts, credit card transactional documents, and

bank documents by Mary Mahoney’s and Cvitanovich;

d. Wire payments made to and deposits of proceeds from the scheme by Mary
Mahoney’s and Cvitanovich; and

e. Wire transactions and receipts of money from Plaintiff and the Class to Mary
Mahoney’s.

Page 23 of 26
Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 24 of 204

104. The interstate wire transmissions and use of private and/or commercial carriers, as
described herein, were made in furtherance of the scheme to defraud.

105. Defendants engaged in a pattern of related and continuous predicate acts during the
Class Period. The predicate acts constitute various unlawful acts, each conducted with the common
purpose of unlawfully obtaining money from Plaintiff and the Class. The predicate acts also had
the same or similar results, participants, victims, and methods of commission. The predicate acts
were interrelated, and not isolated events, in that they targeted Plaintiff and the Classes’ funds and
avoided the expense associated with paying for authentic snapper.

106. As a direct and proximate result of the scheme, Plaintiff and the Class suffered
actual monetary damages as stated herein.

107. Other dates regarding certain predicate acts are concealed from Plaintiff and the
Class at this time and cannot be alleged without access to QPS and Mary Mahoney’s books and
records,

108. In violation of 18 U.S.C. § 1962(d), Defendants conspired to violate 18 U.S.C. §
1962(c), as described herein. Defendants participated in these offenses and have performed acts in
furtherance of the conspiracy to increase or maintain revenue and profits for the Foreign Fish
Enterprise through a common course of conduct.

109, Defendants knowingly, willfully, and unlawfully combined, conspired,
confederated, and agreed together to violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. §
1962(d). See 9] 1-9, 26-41, supra.

110. To achieve their common goals, each Defendant actively and intentionally

concealed the scheme from the public and authorities,

Page 24 of 26
Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 25 of 204

111. Defendants, with knowledge and intent, agreed to the overall objectives of the
conspiracy and collectively participated in the common course of conduct to commit acts of fraud
by importing, mislabeling, and seiling the Foreign Fish at prices customary for authentic snapper.

112. For the conspiracy to succeed, each Defendant had to agree to implement and use
similar devices and tactics—specifically, secrecy about the conspiracy and its activities,

113. Mary Mahoney’s and Cvitanovich knew and intended that Plaintiff and the Class
would incur damages as a result of the conspiracy by purchasing Foreign Fish priced accordingly
as authentic snapper.

114. Plaintiff and the Class were damaged by Defendants’ 1962(d) conspiracy to violate
1962(c) and were systematically victimized by Defendants’ unlawful conduct within the Class
Period,

115. As a direct result of the Foreign Fish Enterprise, Plaintiff and the Class suffered
financial losses equal to the difference between what Mary Mahoney’s paid QPS for the Foreign
Fish and the actual price Mary Mahoney’s would have paid for authentic snapper during the Class
Period.

116. Defendants’ violations of 18 U.S.C. § 1962(c) & (d) have directly and proximately
caused damages to Plaintiff and the Class, and as such, they are entitled to bring this action for
three times their actual damages, reasonable attorney’s fees, and costs, all pursuant to 18 U.S.C. §
1964(c).

VIIE. PRAYER FOR RELIEF
WHEREFORE, Plaintiff, on behalf of himself and the putative class, seeks judgment

against Defendants, jointly and severally, for the following:

a, An order certifying the Class, naming Plaintiff as class representative, and
appointing Plaintiff's counsel as class counsel;

Page 25 of 26
Case 1:24-cv-00241-LG-BWR Document 73-1 Filed 07/02/25 Page 26 of 204

Dated:

117.

An order declaring that Defendants’ scheme violated RICO;

An order finding in favor of Plaintiff and the Class on its RICO causes of action;

. An order awarding actual and treble damages;

An order awarding pre- and post-judgment interest on all amounts awarded;

An order awarding Plaintiff and the Class reasonable attorney’s fees, costs, and
expenses; and

. For such other or further relief as may be appropriate.

DEMAND FOR JURY TRIAL
Plaintiff and the Class demand a jury trial for all claims so triable.
, 2025, Respectfully submitted,

/sf W. Bobby Gill, Hf

W. Bobby Gill, If], MSB No. 9857
James M. Priest, Jr., MSB No. 99352
GILL, LADNER & PRIEST, PLLC
344 Highway 51, Second Floor
Ridgeland, MS 39157

Telephone: (601) 352-5700
bobby@glplawfirm.com
jamie@glplawtirm.com

Gerald M. Abdalla, Jr., MSB No, 101213
ABDALLA LAW, PLLC

602 Steed Road, Suite 200

Ridgeland, MS 39157

Telephone: (601) 278-6055
jerry(@abdalla-law.com

Joey D. Dumas (pro hac vice)
DUMAS LAW FIRM, LLC
P.O. Box 3046

Mobile, AL 36652
Telephone: (251) 222-6669
joey(@jocydumaslaw.com

Counsel for Plaintiff and the putative class

Page 26 of 26

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

UNITED STATES OF AMERICA PLAINTIFF
Vv. CRIMINAL ACTION NO: 1:24cr46
ANTHONY CHARLES CVITANOVICH DEFENDANT

TRANSCRIPT OF SENTENCING

BEFORE HONORABLE HALIL S. OZERDEN
UNITED STATES DISTRICT JUDGE

NOVEMBER 18, 2024

DAN M. RUSSELL, JR., UNITED STATES COURTHOUSE
GULFPORT, MISSISSIPPI

COURT REPORTER:

Kati Vogt, RPR, RMR, RDR, CRR
Official Court Reporter
U.S. District Court, Southern District of Mississippi
2012 15th Street, Suite 403
Gulfport, Mississippi 39501
(228) 563-1780
kati_vogt@mssd.uscourts.gov

PLAINTIFF’S
EXHIBIT

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APPEARANCES

REPRESENTING THE GOVERNMENT :

ANDREA JONES, ESQ.

Office of the United States Attorney
1575 20th Avenue

Gulfport, Mississippi 39501

JEREMY F. KORAENTRK, ESQ.
U.S. Department of Justice
Environmental Crimes Section
150 M. Street, NE

Room 4.208

Washington, DC 20002

REPRESENTING THE DEFENDANT:

TIM C. HOLLEMAN, ESQ.

Boyce Holleman and Associates, P.A.
1720 23rd Avenue

Gulfport, Mississippi 39501

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THE COURT: Please be seated. All right. We're here
this morning in Case Number 1:24CR46, United States versus
Anthony Charles Cvitanovich, scheduled for sentencing.

Would counsel please enter their appearances for the
record.

MS. JONES: Your Honor, Andrea Jones for the United
States, and co-counsel Jeremy Korzenik for Environmental
Crimes and Natural Resources Division at Main Justice. The
government's ready to proceed, Your Honor.

THE COURT: All right. Good morning.

MR. HOFUEMAN: Tim Holleman for Mr. Cvitanovich, Your
Honor. We're ready to proceed.

THE COURT: All right. Good morning, Mr. Holleman.
For the record, is your client present and in the courtroom?

MR, HOLLEMAN: Yes, he is, Your Honor.

THE COURT: All right. For the record, I have to
ask, Ms. Jones, pursuant to the Crime Victims Rights Act, are
there any victims of this offense?

MS. JONES: Your Honor, there were victims, but it
was impractical to, and nominal amounts, to try to identify
all of them, so.there is no restitution being sought under
366A (verbatim), Title 18.

THE COURT: I think the Court addressed that issue as
well at the plea hearing, and it's also addressed in the

Presentence Report, and there's been a finding that the

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identification of the victims would involve too complex a
process to identify, locate, and notify all of them; so
therefore, restitution is not an issue in this case, and I
find that for those reasons, the provisions of the Crime
Victims Rights Act have been complied with, and the government
has done what it should under these circumstances,

Did the government receive the Presentence Report --
I guess it's the revised Presentence Report and any addendum
and have a chance to review them?

MS. JONES: Yes, Your Honor, we received it.

THE COURT: Does the government have any objections?

MS. JONES: No, Your Honor.

THE COURT: Mr. Holleman, did you receive the revised
Presentence Report and any addendum and have a chance to
review them with your client?

MR. HOLLEMAN: Yes, Your Honor.

THE COURT: Were you able to explain it to your
client and answer any questions he had about them?

MR. HOLLEMAN: Yes, Your Honor.

THE COURT: Does he understand the revised
Presentence Report?

MR. HOLLEMAN: Yes, Your Honor.

THE COURT: And I understand there are some
objections; is that right?

MR. HOLLEMAN: Yes, sir, as stated in the pleadings.

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THE COURT: I've read them and I'm familiar with
them, but just briefly, for the record, state what they are.

MR. HOLLEMAN: Okay. I think, Your Honor, one of the
objections was that we were being charged with two years, and
the loss calculation included four years.

THE COURT: Right.

MR. HOLLEMAN: One of the objections dealt with the
victim -- the enhancement for ten victims or more, and no
evidence has been presented at this point about any -~- no
victim impact statements and things of that nature.

THE COURT: Okay.

MR. HOLLEMAN: And so we objected to that two-level
enhancement.

THE COURT: For ten or more victims.

MR. HOLLEMAN: I think that covers it, Your Honor.

THE COURT: Okay. Yeah. That summarizes what was in
the written submissions, which I've read and am familiar with.

Mr, Cvitanovich, please stand, raise your right hand,
and take the oath, please, sir.

(Oath administered.)

THE COURT: Sir, have you heard everything your
attorney has just said?

THE DEFENDANT: Yes, sir.

THE COURT: Did you understand everything he said?

THE DEFENDANT: Yes, Sir.

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THE COURT: Do you agree with everything he said?

THE DEFENDANT: Yes, sir.

THE COURT: Did he review the revised Presentence
Report with you?

THE DEFENDANT: Yes, Sir.

THE COURT: Was he able to explain it to you and
answer any questions you had about it?

THE DEFENDANT: Yes, sir.

THE COURT: Do you understand the revised Presentence
Report?

THE DEFENDANT: Yes, sir.

THE COURT: And you heard him summarize briefly there
the objections to the Presentence Report. Did you understand
that?

THE DEFENDANT: Yes, sir.

THE COURT: And do you agree with those?

THE DEFENDANT: Yes, sir.

THE COURT: Are there any other objections you think
your attorney should have made that were not made?

THE DEFENDANT: Wo, sir.

THE COURT: All right. Thank you.

All right. I guess at this point, then, will there
be any evidence to offer on the objections, or strictly
argument?

MS. JONES: No, Your Honor. Only argument.

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MR. HOLLEMAN: Just argument, Your Honor.

THE COURT: All right. Let me hear from the
government first, then.

Ms. Jones?

MS. JONES: Yes, sir. Mr. Korzenik is going to
address those issues, Your Honor.

THE COURT: All right. Mr. Korzenik, you may
proceed.

MR. KORZENIK: Your Honor, this case involves a
financial fraud. The subject, of course, is seafood. The
purpose was profits. There are a few considerations we want
to bring to the Court's attention in its determination of
sentence.

As Your Honor knows, there's been a plea here,
calculations of loss, and recommendations as to the guidelines
themselves. We ask the Court to consider that leniencies in
this case have already been provided and sort of baked into
the agreements we've ~~ we've reached. One was certainly in
the charging document itself. The loss calculations are based
upon a smaller number of years of the defendant's supervision
of the purchasing of seafood than actually was -- was the
case; and he served in that capacity, ordering seafood that
was misbranded, for about twice as long, as is noted and
charged in the information, so that would diminish the sum

that the government used and was -- and the probation office

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used in its calculations.

Further, the species, the identification of the
species that was purchased and misbranded, according to the
information, was not all of the full volume of seafood that
the defendant ordered and was subsequently misbranded. So
that also is leniency that's not calculated and not taken into
account in the charges here.

Further, the indictment or the charging document
refers to simply one supplier of seafood that it was
misbranded. The evidence was, of course, that there were
other sources of the seafood. Those are also not taken into
account in the loss calculations.

In terms of the objections, the government has not
formally made any because that was -- the government had
agreed that there would be a certain limit set and that the --
if terms of the estimation of the loss, and that the defense
could argue down from that; so we didn't feel it was
appropriate to contradict ourselves by making objections
where ~~ where the defense had argued for a lower sum of the
loss.

THE COURT: All right. But you're not saying that
under the doctrine of relevant conduct, it allows the Court,
in appropriate circumstances, to consider time frames outside
what's in the charging document.

MR. KORZENIK: We're saying that that would come in

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as relevant conduct.

THE COURT: Okay. All right. Anything further on
the victim increase? Anything on that, the two-level increase
for ten or more victims? Anything else on that?

MS. JONES: Yes, Your Honor. There were multiple
victims. He -- Mr. Cvitanovich's conduct helped perpetuate
the fraud that his employer misbranded the inferior fish,
selling it as higher. So there were victims. Again, they
were impractical to -- and they were nominal amounts, but
there were definitely more than ten victims.

THE COURT: All right. Mr. Holleman, any argument,

sir?

MR. HOLLEMAN: Your Honor, just a couple.

First off, on the loss calculation, if Your Honor
recalls in the Presentence -- or objections to the Presentence

Report, it didn't really have to do with the total loss
calculation, It was the failure to account for the value that
was received, and that -- that is what changed the loss.

THE COURT: Right.

MR, HOLLEMAN: And Your Honor is familiar with that
situation. So that is what reduced the loss. And, of course,
the government just said they had agreed that it would only
prosecute these two years, yet the loss calculation includes
four years. And I understand the relevant conduct issue. We

just think that violates what the government agreed to do, is

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those two years.

As to the numbers of victims, there's been no
concrete evidence presented of any victims. And the -- we're
not -~ this is a little bit -- as you noticed in -- our
objections to the PSR has to do with after the raid in
November of 2019, the misbranding stopped. In other words,
they -- there was no further misbranding. The sales of the
seafood that was involved in this case continued to be
purchased by customers at the same or higher rates and at
higher prices than before, and the concern of that is whether
or not there were actual victims that were defrauded at all
when you consider that the sales continue.

Now, when I say that, Your Honor, '20 was COVID, so
they were closed down in '20; and '21 was -- still COVID was
still going on, so we used the years when COVID was over with
and produced those sales data that showed that the sales of
those dishes involved continued to be just at the same rate or
even higher, at higher prices than occurred before, so the
question became whether or not there were victims that relied
upon the alleged misbranding. And that was the basis for it.
We're not really saying that somebody that purchased seafood
before November of 2019, whether they -- we don't know whether
or not they relied upon the so-called misbranding in
purchasing those meals at all. What we do know is after the

misbranding was changed, those menus were changed, that those

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sales of those dishes remained just as strong as before, and
therefore, that brings into question whether or not there's a
cognizable evidence of actual victims that would require a
two-level enhancement. That's the issue. That's what we
raised in our briefs.

THE COURT: All right. All right.

MR. KORZENIK: Your Honor, may I respond?

THE COURT: Yes, sir.

MR. KORZENIK: Given the advertising that the
defendant made both online and elsewhere, it was clear that
the intent was to induce people who wanted a specific local
fresh fish to come to his restaurant. That was the intent.
That was the pitch. That was what the defendant was offering.
That's not what he provided. So the defense that nobody cared
much about it anyway, that they bought fish at a higher price
that wasn't the local stuff that they had advertised, may be
of limited significance here. It was certainly the intent of
the defendant and his organization to appeal to those who
wanted something that they, in fact, did not supply.

THE COURT: All right. Anything else, Mr. Holleman?

MR. HOLLEMAN: Judge, the only thing is I think at
this stage -- and I understand the law, and believe me, I'm
not a big fan of the guidelines and what they -- trying to
read them is difficult for me sometimes, like many federal

regulations, but the question is whether or not proof is being

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presented to support that enhancement, and that's what
we're -- we're saying, that there's not been proof of that,
that there were more than ten victims.

So I understand the inherent argument they're making,
but the problem is that when these -- when the misbranding
ceased in November of 2019, and hasn't occurred since, that
the customers continued to purchase those at the same price or
higher prices -- because price went up with inflation -- but
they continued to purchase them without any change in price
and at the same rate or higher rates than had been purchased
before November of 2019 when misbranding was occurring. 50
that brings into question whether or not there's proof of ten
or more victims to require the enhancement. It's -- it's an
argument on the enhancement only.

MS. JONES: Your Honor, there’s proof because there
were ~~ that's what the wire fraud was based on. All those
wire transactions were victims who were reading on the menu
that it was caught in the waters of the beautiful bountiful
Coast, and on Yelp. Those were the victims. And those were
up to the date of the search warrant. It's great that they
changed their menus after that. I don't know if there were
undercovers after that. And I understand what Mr. Holleman is
saying about going forward, but there were victims, and if we
had gone to trial, we would have been prepared to present all

those wire transactions of those victims. So there were more

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than ten victims. Thank you, Your Honor.

THE COURT: Well, I think it's -- anything else,
Mr, Holleman?

MR, HOLLEMAN: No, Your Honor.

THE COURT: Okay. I think the issue or the -~ the
distinction between what y'all are arguing here is that -- and
I'll address this in a few minutes, but, you know, there's the
intent to defraud by Mr. Cvitanovich, which is, I think,
undisputed, That's what he pled guilty to and, you know,
that's what he admitted in the factual basis when he, under
oath, at the plea hearing admitted to the facts that the
government presented. So the intent of Mr. Cvitanovich is not
in question. There was an intent to deceive or mislead.

The question, as I appreciate Mr. Holleman's
argument, is that when you look at the question of a victim
under the guidelines, what was in the victim's mind, did they
rely upon these misrepresentations in their decision to go and
purchase this misbranded fish. And that's why he's saying
that after the menus changed in 2019, 2020, whenever it was,
the same number of people came, which he argues would suggest
that it was not the misbranding that was motivating people to
come,

So I think the argument he's trying to make is what
evidence is there of the intent of the victims and that they

actually relied upon this representation to then purchase

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fish -- meals, but they included the fish that were misbranded
and incurred a loss of -~ natural loss, I think, ended up
being calculated as $2.62 per meal, I believe.

So I guess, you know, one of the things the probation
officer points out in the addendum is that there are actually
~~ and I know the parties were supplied with these -- social
media posts of individuals out there who were saying that they
would not have chosen to eat at the restaurant had they known
they were being served imported fish or that part of their
reason for going to the restaurant was wanting to support
local fisherman and so therefore, they relied on those
representations in making the decision to go there. So that's
all out there. It's been supplied to the parties. It seems
to me that that would be evidence that the Court could
consider in terms of what the patrons were relying on.

And I think probation -- you know, I read this and it
seems to me that we're talking about -- and this, of course,
feeds back in the relevant conduct calculation, which, of
course, I'll have to address that, but I think it's
Paragraph 43 of the Presentence Report that says that, you
know, during that period from 2016 to 2019, roughly 55,500
lunch or dinner entrees were sold that were misbranded at a
time when Mr. Cvitanovich was solely responsible for
purchasing the fish. And I think the argument in the

objection is, well, in the corresponding time after the menu

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changed, another 50,000 people bought the same dishes. But it
just seems that when you have evidence of these social media
posts of victims or individuals saying that it did factor into
their decision, to say that there aren't at least ten of them
out of $55,000 seems highly unlikely to the Court. And the
50,000 after that period of time, we don't know. Maybe they
all came because they wanted to eat in a certain atmosphere, a
very historic location, or maybe it didn't -- maybe it didn't
matter to some of them where the fish came from. We don't
really know why those individuals ~~ what their motivations
were for going there. There's no evidence at all of that
other than the fact that the same number of people kept
coming. And, you know, you balance that against some evidence
we do have of folks who took the affirmative step of posting
online that they wouldn't have come there and they were trying
to support local fisherman and that it did factor into their
decision, you know, at this point, to me that seems to be the
crux of this question on this particular objection.

All right. Anything else before I rule on the
objections?

MS. JONES: No, Your Honor. Thank you.

THE COURT: Mr. Holleman?

MR. HOLLEMAN: Your Honor, the only thing is the
postings, we don't know when those occurred, whether it was

after -- before November of 2019 or after. They're not dated

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as to when they came or wnen they said they wouldn't come. S50
they're relying on the newspaper reports that are now being
dene and responding to that. So, I mean, the question is

not -- and Your Honor, I think, stated it correctly, it's
whether or not there's been actual proof offered on ten or
more victims for the purpose of that enhancement only. That's
what we're concerned about. But, of course, we rely on the
Court to rule based on the evidence.

THE COURT: All right. This matter is before the
Court on the objections to the Presentence Report. O£ course,
I've considered the record in this matter, the pertinent
provisions of the advisory sentencing guideline calculations,
and the submissions of the parties and the arguments of
counsel here today.

The first objection pertains to whether the time
frames for calculating loss were properly included. The
Presentence Report calculated the loss using the time period
of 2016 to 2019, which is the time period during which
Mr, Cvitanovich was solely responsible for ordering the
kitchen products or fish in this case. The defense's argument
is that the charging instrument in this case, the information,
only incorporated a time period of 2018 to 2019 so that the
loss calculation, in terms of the quantity of meals, sold
should be limited to that time frame, which would lower the

total loss amount and therefore lower the offense level and

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the guideline range calculation.

So this turns upon the question of the doctrine of
relevant conduct. In this case, the probation officer, after
reviewing the information submitted by the parties, including
the defendant's arguments te the original loss calculation,
concurred with the defendant that the appropriate method for
calculating the loss was the $2.62 loss per meal multiplied by
the number of meals served during the pertinent time period.
And the dispute is whether or not that time period snould
be 2018 to 2019, as charged by the government, or whether it
should include the time period of 2016 to 2019, the entire
time period during which Mr. Cvitanovich was responsible for
ordering fish products for the kitchen under the doctrine of
relevant conduct under the U.S. sentencing guidelines.

So in any case, in determining a defendant's base
offense level for purposes of calculating the guidelines, the
Court may consider other offenses in addition to the acts
underlying the offense of conviction as long as those offenses
constitute what 1s referred to as relevant conduct as that
phrase is defined in the sentencing guidelines. That was
according to the Fifth Circuit in the 2019 case of United
States v. Barfield, 941 F.3d 757, quoting from United States
v. Rhine, 583 F.3d 878, Fifth Circuit case from 2009. We have
a more recent case, United States v. Moore, found at WL --

2024 WL 4635419, decided October 31st of this year. The Court

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of Appeals said that a defendant need not have been convicted
of or even charged with the other offenses for them to be
considered relevant conduct for sentencing guidelines
purposes.

So the sentencing guidelines define relevant conduct
in this particular situation as all acts and omissions
committed, aided, abetted, counseled, commanded, induced,
procured, or willfully caused by the defendant that were part
of the same course of conduct or common scheme or plan as the
offense of conviction. That's at Section 1B1.3(A) of the
guidelines. What that means is any acts or omissions
committed by the defendant that were part of the same course
of conduct or common scheme as the offense of conviction, the
offense of conviction being the misbranding or fraudulent
misbranding from 2018 to 2019 -- that's the offense of
conviction -- any acts or omissions that were committed that
were part of the same course of conduct would qualify as
relevant conduct. So the Court first has to address whether
Mr. Cvitanovich's uncharged conduct, the earlier period of
ordering fish, are either part of the same course of conduct
or part of a common scheme as the actual offense of
conviction. If so, the Court can consider that conduct in
determining the sentencing guideline range.

Under the sentencing guidelines, acts are considered

part of the same course of conduct if they are sufficiently

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connected or related to each other as to warrant the
conclusion that they are part of a single episode or ongoing
series of offenses. That's Comment Note 5B2 to Section 1Bi.3.
Factors that are appropriate for the Court to consider to make
this determination of whether the offenses are sufficiently
connected or related as part of the same course of conduct
include: The degree of similarity of the offenses, the
regularity or repetitions of the offenses, and the time
interval between the offenses.

So here when the Court compares the time frame
encompassed by the charging instrument, to which the defendant
pled guilty, with the earlier time period included in the
Presentence Report, 2016, 2017, it seems fairly clear that the
conduct in that earlier time period was part of the same
course of conduct as that which occurred during the time
period covered by the bill of information. As is stated in
the Presentence Report, when the previous head chef retired
in 2016, Mr, Cvitanovich assumed all responsibility for
ordering seafood and fish products for the kitchen. And the
scheme was apparently preexisting and he was aware of it, but
he continued it knowing what was going on. So in other words,
there was essentially an unbroken chain of either identical or
substantially similar conduct that occurred from the time the
defendant began ordering the seafood products for the kitchen

and continuing through the time period covered by the bill of

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information. The conduct was repetitious, it was regular, it
was Similar, and it was at regular and rather small time
intervais. So it would appear to the Court that the record
supports the conclusion by a preponderance of the evidence
that all of the mislabeling that occurred during this

period, 2016 to 2019, both charged and uncharged, was in fact
part of the same course of conduct, making it relevant conduct
under Section 1B1.3.

The Court will also pause to note that with respect
to a charging instrument, in this case, for whatever reason --
I think Mr. Korzenik has articulated some of them -- the
government chose to limit the time frame in the charging
instrument to 2018, 2019. That is a determination that is
solely within the discretion of the executive branch of the
government. Under the doctrine of separation of powers, the
Court has no authority or control over that. But it's also
clear, and Congress has said this, the Court may consider any
evidence that's pertinent to sentencing, and that's even
articulated in the plea agreement; so the Court is not bound,
and the sentencing guidelines make this clear, by whatever
time frame the government chose to limit. And under the facts
here, it does seem clear to the Court by a preponderance of
the evidence that this was the same course of conduct.

Now, in the alternative, the uncharged time frame of

the mislabeling was also likely part of a common scheme with

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that charged in the information. For two or more offenses to
constitute part of a common scheme or plan, they must be
substantially connected to each other by at least one common
factor such as common victims, common accomplices, common
purpose, or similar modus operandi. That's Section 1B1.3 of
the guidelines at the Comment Note 5Bl, also the Moore case
from the Fifth Circuit cited previously. Again, in this case,
based upon a preponderance of the evidence before the Court,
it seems clear to the Court that this mislabeling was part of
a common scheme or plan, because given the unbroken pattern of
identical or substantially similar behavior, the charged and
uncharged mislabeling shared, at the very least, a common
purpose and a similar modus operandi, and while the victims
may not have been identical, they were certainly similarly
situated.

So based upon all of the foregoing, the Court finds
that the uncharged period of time does qualify as relevant
conduct under the sentencing guidelines and is supported by a
preponderance of the evidence. Therefore, it was properly
included by the probation office in calculating the overall
loss and the resulting offense level, and that objection will
be overruled.

Turning to the two-level enhancement applied under
the guidelines for the offense involving ten or more victims,

Section 2B1.1(B) (2) of the guidelines states that if the

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offense involved ten or more victims, then increase the
offense level by two levels. Here, the guidelines define a
victim as any person who sustained any part of the actual loss
determined under Subsection (b) (i). Here, the actual loss
determined under Subsection (b) (1) in the Presentence Report
according to the defendant's calculations, which the Court and
the probation office accepted, each individual who purchased
one of these meals sustained an actual loss of $2.62 per meal.
Actual loss is defined as the reasonably foreseeable pecuniary
harm that resulted from the offense. I think, again, it's
essentially undisputed, or could not be disputed from the
record here, that that loss was reasonably foreseeable.

Pecuniary harm means harm that is monetary or that
otherwise is readily measurable in money. That's also a
definition that is satisfied here based upon the undisputed
facts as they exist in the record and otherwise by a
preponderance of the evidence. And reasonably foreseeable
pecuniary harm means pecuniary harm that the defendant knew or
under the circumstances reasonably should have known was a
potential result of the offense. The record supports the
conclusion that that definition is also satisfied.

The Fifth Circuit has stated that a finding under the
guidelines must be based on reliable information under a
preponderance of the evidence. That's U.S. v. Conner,

537 F.3d 480, a 2008 case, and also the commentary to

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Section 6A1l.1 of the guidelines where the Commission stated
its belief that the use of a preponderance of the evidence
standard was appropriate in addressing these issues.

Now, circling back, then, to the discussion which the
Court touched on earlier about the state of mind, for lack of
a better term, the Fifth Circuit has not clearly spoken on
this issue, but the defense has pointed to a case out of the
Eleventh Circuit, United States v. Stein, 846 F.3d 1135,
which, while not controlling, certainly would be considered as
persuasive authority where that Court stated that an actual
loss evaluation incorporates a determination of both factual
and legal causation, which the defense argues supports its
position that because the number of sales did not change after
the menu was changed during the corresponding time period,
that indicates nobody was victimized; therefore, there should
not be a two-level increase.

The Court would first observe that the Stein case is
not exactly on all fours with this one. Some of the facts
there were different. In that case, the dispute was over the
calculation of the actual loss figure to be used. Here,
there's really no dispute as to the actual loss figure. It
was $2.62 per meal. It also had to do with determination of
victims under the Mandatory Victim Restitution Act, so the
other issue in that case was restitution, which is also not an

issue here. That case did not address the guideline provision

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at issue here, 2B1.1(B) (2), and that was a securities fraud
case involving investors' purchases of stock. So while it
does offer some information that may be useful or instructive,
it is not controlling here and is not exactly the situation
that we're dealing with here.

So here when the Court looks to the record in this
matter, the factual basis that was read into the record at the
time of the plea hearing, which Mr. Cvitanovich agreed to,
stated that beginning in 2015 he assumed responsibilities for
purchasing much of the food that Mahoney's prepared or served;
that thousands of pounds of fish per year were ordered that
did not bear the names of those native to local waters even
though they were represented to be local premium seafood on
the menu; and in 2018 to 2019, the defendant intentionally
misled and defrauded customers by mislabeling approximately
17,000 pounds of fish held for sale at the restaurant after it
had been shipped in interstate commerce. The sale was of
inexpensive foreign frozen imported fish, including Lake
Victoria Perch from Africa, tripletail from Suriname, and
Unicorn Filefish from India. So those are all the facts that
were acknowledged, and they're not disputed.

And again, as was noted previously, when we look at
the corresponding time periods pre menu-change and post
menu-change, the 50,000-or-so that continued to purchase the

meals after the menu was changed, we really don't have any

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evidence, other than the fact that they purchased the meals,
as to what was in those individuals' minds, what motivated
them to come and purchase those meals. It could have been
that they didn't care what kind of fish they were eating; it
could have been they wanted to eat in a historic location; it
could have been the atmosphere that attracted them. We just
don't know, and it is really just an assumption that they were
all relying often the representations, or lack thereof, about
whether the fish was locally sourced or not.

But here we do have some evidence that's been
supplied that indicates as to the time period previous to
that, and the social media posts were prompted by the
publication in this case of the mislabeling charges, so they
were in response to that, and individuals did post that they
would not have purchased their meals there had they known, or
that one of the reasons they went to the restaurant was to
support local fisherman, and had they known the truth, they
would not have gone there. And as the Court noted earlier,
the Court find that this is sufficient evidence for it to
consider and that it's also sufficient for the Court to
conclude that out of the 50,000 or so meals that are properly
counted in this case, there were at least ten who were
motivated by that misrepresentation. So based upon the record
as it exists before the Court and the evidence available to

it, I'm satisfied that that enhancement was also properly

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applied, and that objection would be overruled or will be
overruled.

So based on that, the guideline calculations in this
case would be as follows: The total offense level would be an
11. The criminal history category is a I. The defendant has
no prior criminal history. The guideline range for
imprisonment would be eight to 14 months. The supervised
release range would be one year. The defendant is eligible
for probation of one to five years under the sentencing
guidelines but is in Zone B, which would mean that if the
Court imposed a term of probation, at least half of that
period of time -- or at least the minimum period of time,
eight months, would have to be served on home detention under
the guidelines. The fine range would be $4,000 to $10,000.
Restitution is not applicable. There would be a $100 special
assessment.

And I note that those would be the guideline
calculations prior to any departures or variances the Court
were to grant. So do the parties agree that those are the
correct guideline computations prior to any departures or
variances and based upon the Court's rulings on the
objections?

MS. JONES: Yes, Your Honor.

MR. HOLLEMAN: Yes, Your Honor.

THE COURT: All right. The Court agrees with that

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and finds that those are the proper guideline calculations
prior to any departures or any variances.

All right. So at this point, then, I would observe
that there have been some submissions. The Court has
considered a lot of material that's been presented to it in
this case.

And, Mr, Cvitanovich, you have what's now known as
the right of allocution. That's your opportunity to address
the Court and say anything you would like to say on your own
behalf before the Court imposes a sentence. You may address
the Court yourself if you wish. If you would rather your
attorney speak for you, that's fine, too. It is entirely your
choice. But if you do choose to speak, I remind you you're
under cath. So at this time, if you and your attorney will
come up here to the podium, I'll hear anything you may wish to
say. Whenever you're ready, sir.

THE DEFENDANT: Your Honor, I want to apologize to
the Court, to my family, and our customers. I'm truly
responsible to be in this situation, and I accept my
responsibility. I understand what I've done, and I'm sorry
for my actions and for the people that were affected,
considering my wife Ellen, my daughters Emily, and especially
Mary Beth. It would be especially difficult for Ellen anda
detrimental effect on Mary Beth if I was not with them. I

would be grateful for any consideration from the Court.

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THE COURT: All right. Thank you, sir.

Mr. Holleman, do you want to add anything?

MR. HOLLEMAN: Briefly, Your Honor.

I've known this family all my life. I mean, as a
small child, coming down from Wiggins, we would sometimes on a
Sunday, after going to the First Baptist Church of Biloxi, Dad
would make us go to Mary Mahoney's, and we ran around. I'm
sure Mary Mahoney's personnel didn't like us running around,
but we caused a little havoc of our own. They're good people.
The whole family's good people. They are a stalwart of the
community of Biloxi. They made a mistake, an unfortunate
mistake. This is an icon in Biloxi.

Tony was -~ took over when his cousin retired as
executive chef, took over the kitchen, and he continued a
practice that was already going. He knows he shouldn't have
done that. When the agents came in in November of 2019, he
was completely truthful with them, never tried to avoid
anything. They complimented him on being forthright about
what was going on and being as honest as he was about what
occurred. It was immediately stopped, as we've already
discussed.

Your Honor, at the 11 level, as I appreciate it, he
is, and under the guidelines, that a probationary sentence is
certainly within the guidelines and, in fact, advisable,

especially with a potential departure, and we would think that

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he would qualify for that. Tony is -- is a good father. He
and Ellen have a daughter that is disabled, Mary Beth. She is
severely disabled. It takes both of them to take care of her.
She has seizures, and quite frankly, Ellen would not be able
to handle it by herself if Tony was not available. Their
other daughter lives in Huntsville and is unable to assist
with Mary Beth. It is a difficult situation. We would ask
Your Honor to consider a probationary sentence instead of
imprisonment. These -- this is -- this is something that
would weigh heavy on this family if Tony was sentenced to
imprisonment.

His wife, Ellen, would like to say something if His
Honor is okay with her.

THE COURT: Ali right.

MR, HOLLEMAN: And his sister Joanna.

THE COURT: Let's have them come up one at a time.

Come on up, ma'am. Ma'am, if you would, please,
raise your right hand and take the oath.

(Oath administered.)

THE COURT: Ma'am, would you please state your full
name for the court reporter.

MS. CVITANOVICH: I'm Ellen Cvitanovich.

THE COURT: All right. Go ahead.

MS. CVITANOVICH: I'm the wife of Anthony

Cvitanovich, and, Your Honor, I know you've read my heartfelt

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letter about Tony. Everything I wrote was true. I want to
assure the Court that Tony is deeply remorseful to be in this
Situation. He accepted full responsibility immediately and
has not backed down from assisting to correct mistakes.

In our 30-year marriage, Tony has been a loving,
kind, hardworking father, and as you know, we have dedicated
our life to our special 29-year-old daughter, Mary Beth. We
are very private and protective of her. It would be most
difficult for me to be without Tony for any length of time in
our home. It would also be a situation for Mary Beth that
could turn dire as Tony is able to assist me with things that
I freely admit I am not capable of doing by myself. I
respectfully ask the Court to consider this, and I thank you
for your time, Your Honor.

THE COURT: All right. Thank you, ma'am.

Who elise, Mr. Holleman?

MR. HOLLEMAN: Joanna Cvitanovich. His other sisters
want to speak also, Your Honor.

THE COURT: That's fine. We'll do it one at a time.

Ma'am, please raise your right hand and take the
oath.

(Oath administered.)

THE COURT: Could you please state your full name for

the court reporter.

MS. MCADAMS: Joanna Cvitanovich McAdams.

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THE COURT: All right. Go ahead, ma'am.

MS. MCADAMS: Your Honor, as I said, my name is
Joanna McAdams, and I'm standing here with my two sisters,
Andrea Osman and Margaret Montgomery. We are the siblings of
Tony and are here to express our love and support for our
brother.

Tony has not only been a loving brother to us, but a
devoted husband and father to his two daughters. In addition,
he has been a wonderful uncle to his many nieces and nephews.
Tony has never been in any trouble in the past, and we
respectfully ask the Court for probation for our brother so
that he may remain at home with his family who needs him.
Thank you.

THE COURT: Thank you, ma'am.

MR. HOLLEMAN: She's speaking for ali of them. The
other sisters don't need to speak.

THE COURT: Okay. Anything else, Mr. Holleman?

MR. HOLLEMAN: Your Honor, I will say this:

Mr. Cvitanovich has never been in troubie in his entire life.
i mean not a -- not a speeding ticket, I don't even believe,
that we could find. He's a good person. He stepped into a
mistake that was made before he was there, before he took over
that position in the business. He unfortunately continued
something he shouldn't have done and is paying a difficult

price,

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This case has gone on since 2019. This family has
lived with this upheaval since November of 2019 because the
case has gone on for so long. It has been very difficult for
him. It has caused him to have medical issues in the sense of
anxiety and insomnia and things of that nature. It's affected
their family already. They immediately ceased the practice.
Fortunately for them, their restaurant continued, and people
continued to come to Mary Mahoney's.

Tony is worthy of a chance at probation, and we would
ask Your Honor to consider that. We believe that's not only
allowed under the guidelines, but it's also preferred at the
level of 11, and potentially 10, that his guidelines will
provide.

THE COURT: All right. Thank you.

Anything on behalf of the government at this time?

MR. KORZENIK: Your Honor, just briefly, the
government wants to address the impact of this kind of fraud
on the community which occurred and certainly put others who
were honestly marketing their seafood at a competitive
disadvantage. And not only did it affect the retailers and
other restaurants, but also the fishing community whose --
whose livelihoods were affected by reducing the amount that
they could charge for the actual authentic product when it was
in competition with a substitute; and that's something that

should be considered as well.

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In terms of the application of the guidelines, the
Court has a wide range of options here, and it appears the
government feels in this case, with the duration of the fraud
and the impact, that some deterrent has to be -- has to be
made clear; and that, the government suggests, would best be
done with some -- some period of confinement along with
whatever other sentence the Court feels is just.

THE COURT: All right. Before I go any further, one
thing I do need to explain to you, Mr. Cvitanovich, is that as
part of your plea agreement in this case, you've waived the
right to appeal your conviction and sentence, with a couple of
exceptions. You did reserve the right to raise ineffective
assistance of counsel claims. You also reserved the right to
appeal if the Court departed from the sentencing guidelines.
But aside from that, you did waive the right to appeal. If
you decided you wanted to try to appeal, you can ask your
attorney to file a notice of appeal for you. If for some
reason he cannot or will not do that, you can file one
yourself. All you have to do is write on a piece of paper
that you wish to appeal, sign it, and mail it in to the clerk
of court; but you only have 14 days to do that from the date I
enter a written judgment in your case. Do you understand
that, sir?

THE DEFENDANT: Yes, sir.

THE COURT: Also if for some reason you could not

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afford to pay the costs of an appeal, you can request
permission to proceed on appeal without paying those costs.
You can also, if you wish, request that an attorney be
appointed for you on appeal, and if you qualify, one would be
appointed for you. But again, you have to put those requests
in writing and mail them in to the clerk. Do you understand
that?

THE DEFENDANT: Yes, sir.

THE COURT: All right. I'm going to take a short
recess and consider the appropriate sentence. Court will
stand in recess for a few minutes.

(Recess taken.)

THE COURT: Please be seated.

All right. Mr. Holleman, if you and your client
would come back to the podium.

Anything else before the Court proceeds?

MS. JONES: No, Your Honor.

THE COURT: Anything else, Mr. Holleman?

MR. HOLLEMAN: No, Your Honor.

THE COURT: All right. This matter is before the
Court for sentencing. In this case I've considered the record
in this matter including the revised Presentence Report and
addendum, the advisory sentencing guideline calculations, and
the record of this proceeding here today including the

arguments of counsel for the parties and the written

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submissions. I also have taken into account the statements of
Mr. Cvitanovich and those who have spoken on his behalf. The
Court always appreciates input from family or friends. So
those are all things the Court has to take into account, and
has.

I'm also required to take into account the pertinent
statutory sentencing factors that Congress has set forth at
Title 18, United States Code, Section 3553, and in this case,
I find the following of those factors are relevant:

The nature and circumstances the offense and the
history and characteristics of the defendant. This is an
offense in which Mr. Cvitanovich pled to a fraudulent course
of conduct of misbranding and mislabeling thousands of
meals -- or the fish in these thousands of meals for a time
period of 2016 to 2019. It is true that he is not the one who
originated this practice, but he did continue it and knew he
was continuing it and over that period of time served a large
number of meals, which are documented in the Presentence
Report and have been set forth on the record here today. He
engaged in a pattern of misleading customers in an effort to
reduce costs.

He is in a criminal history category of a 1, has no
prior criminal history. And certainly the Court notes the
family issues or circumstances that have been set forth, and,

of course, for purposes of medical privacy, the Court will not

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get into great detail on that, but it's been referenced here
today and it is significant in this case.

The sentence needs to reflect the seriousness of the
offense, promote respect for the law, and afford just
punishment. This is a very serious offense. It involves the
mislabeling of large quantities of fish over an extended
period of time. There was a breach of trust with the
community. As the government pointed out, it impacted local
fishermen, and theoretically, we don't know this for a fact,
but it's not hard to believe that it created a competitive
advantage as between this restaurant and others in the area.
And it shows a lack of respect for the law.

Sentencing is also in part about punishment. The
punishment must be sufficient but not greater than necessary
to accomplish the goals of sentencing. The Court would
observe that as has been noted, once the defendant was
confronted with the evidence of this pattern of conduct, they
did correct it, took steps to correct it very early on, and
did cooperate early on. So that's another factor the Court
takes into account.

The sentence needs to afford adequate deterrence to
criminal conduct, not just to deter Mr. Cvitanovich from
engaging of conduct of this nature in the future, that's part
of it, but it's also to deter others who may be inclined to

engage in similar conduct. As the government pointed out,

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this type of criminal conduct is difficult to detect and
difficult to prosecute, so it's important that any sentence
imposed send the appropriate message to others who may be
inclined to engage in similar conduct.

It needs to afford the defendant with any
correctional treatment in terms of any medical or other mental
health issues he may be experiencing.

And another factor, of course, is disparity, avoiding
unwarranted disparities in sentencing among similarly situated
defendants. In this case, Mr, Cvitanovich is the only
individual cefendant in this case, but, of course, the Court
is certainly aware of the other cases involving individuals
from Quality Seafood who were part and parcel of this scheme
as well. It's evident from the Presentence Report that Mary
Mahoney's was not the only restaurant Quality was engaging in
this conduct with, that they were engaged in this similar
practice with respect to other buyers; and so in that respect,
the conduct was -- their conduct was more widespread in terms
of its place in the community as opposed to Mahoney's which
was simply limited to their own operations and their own
customers. I would also observe that in those cases -- and
this is public record, obviously -- the individual defendants
from Quality Seafood were permitted to plead to misdemeanors
which would carry maximum potential sentence of 12 months, and

certainly a lower one would be possible, too -- and the Court

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expresses no opinion on that at this point -- whereas in
Mr. Cvitanovich's case, he stands convicted of a felony
which, irrespective of any period of incarceration, carries
with it a number of other burdens or limitations going
forward. And as noted, he did immediately cooperate when
confronted and took steps to correct what was taking place,
and all indications are that this conduct has not been
repeated since. So the Court factors that in as well in terms
of disparity, relative responsibility, and finds that those
are the appropriate factors to be considered under 3553 in
fashioning a sentence.

So having said all of that, the Court will impose
sentence in this case as follows:

The Court has considered the advisory sentencing
guideline computations and the sentencing factors found at
Title 18, United States Code, Section 3553, and it is hereby
the judgment of this Court that the defendant, Anthony Charles
Cvitanovich, is hereby sentenced to a term of probation for
three years as to Count 1 of the bill of information. The
Court finds this to be an appropriate sentence based upon the
facts and circumstances of the case, the history and
characteristics of the defendant, and the other 3553 factors
as the Court has just discussed them on the record here today.
The Court finds that this is a sufficient but not greater than

necessary punishment to accomplish the goals of sentencing.

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It is further ordered that the defendant shall pay a
fine of $10,000 as to Count 1 of the bill of information.
Payment of the fine is due immediately and must be paid in
full no later than 30 days after entry of the judgment in this
case. The fine shall be made payable to the U.S. District
Court Clerk for the Southern District of Mississippi.

While on probation, the defendant shall comply with
the mandatory conditions of supervision set forth as Title 18,
United States Code, Section 3563(b).

Further, the Court finds the standard conditions of
supervision listed on the judgment order and in Part G of the
Presentence Investigation Report, which have been adopted by
the Court and have not been objected to by the defendant, are
reasonably related to the factors set forth at Title 18,
United States Code, Section 3553(a){1), (a) (2) (A), (B), (C),
and (D), and involve no greater deprivation of liberty than
reasonably necessary for the purposes set forth in that
section. Further, in the Court's view, these conditions are
consistent with the policy statements issued by the Sentencing
Commission pursuant to Title 28, United States Code,

Section 994(a). Therefore, the defendant shall comply with
the standard conditions of probation listed on the judgment
order, and this includes a prohibition on the possession of a

firearm.

In addition, the following special conditions are

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imposed:

Number one: The defendant shall provide the
probation office with access to any requested financial
information and must notify the Court of any material change
in economic circumstances which would affect payment of the
imposed monetary penalties.

Number two: The defendant shall pay all criminal
monetary penalties in accordance with the schedule of payments
listed on the judgment order. These conditions are imposed in
light of the fine in this case and to ensure the defendant
remains in compliance with that part of the sentence and to
facilitate probation office supervision and enforcement
regarding the same.

Number three: If deemed necessary by the probation
office, the defendant shall participate in a program of
testing and/or outpatient treatment, or inpatient treatment if
separately ordered or approved by the Court, during the term
of supervision for drug abuse as directed by the probation
office. If the defendant is enrolied in a drug treatment
program, he shall abstain from consuming alcoholic beverages
during treatment and shall continue abstaining for the
remaining period of probation. The defendant shall contribute
to the cost of treatment in accordance with the probation
office co-payment policy.

Number four: The defendant shail not possess,

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ingest, or otherwise use a synthetic narcotic or synthetic
cannabinoid.

Number five: In the event the defendant resides in
or visits a jurisdiction where marijuana or marijuana products
have been approved, legalized, or decriminalized, the
defendant shall not possess, ingest, or otherwise use
marijuana or marijuana products. These three conditions are
imposed in light of the information set forth in the
Presentence Report regarding some use of medical marijuana
that will hopefully assist the defendant to the extent he has
any issues with that. It does not appear that he does, but
should anything develop along those lines, these conditions
will allow probation to assist him in addressing that problem
if necessary.

Finally, the defendant will be piaced on home
detention for a period of four months to be monitored by RF
monitoring equipment and shall abide by all technology
requirements of the location monitoring program. As part of
this program, the defendant shall be restricted to his
approved residence at all times except for employment,
education, religious services, medical, substance abuse, or
mental health treatment, attorney visits, court appearances,
court-ordered obligations, or essential leave activities as
preapproved by the U.S. Probation Office. The defendant shall

pay all or part of the costs of participation in the location

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monitoring program, including equipment loss and damage, as
directed by the Court and/or supervising probation officer.
This is imposed as a part of the term of probation and as an
alternative to incarceration as permitted by Title 18, United
States Code, Section 3563 (b) (1) (9) and Sections 5B1.1 (a) (2)
and 5C1.1(c} (3) and (e) of the sentencing guidelines. The
Court finds that this will serve as some additional measure of
punishment that is commensurate and appropriate to the facts
and circumstances of the case while allowing rather than an
incarcerative sentence, Mr. Cvitanovich to remain on
probation, and the Court further finds it is consistent with
its evaluation of the 3553 factors as the Court has discussed
them in this case. So to the extent any variance from the
guidelines is necessary to reach that sentence, the Court does
so vary for the reasons it stated in evaluating those factors
previously.

It is further ordered the defendant shall pay a
mandatery special assessment of $100, which is due
immediately.

The defendant is ordered to report immediately to the
U.S. Probation Office for processing for his term of
probation.

That will be the judgment of the Court. Anything
further at this time?

MS. JONES: No, Your Honor.

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MR. HOLLEMAN: No, Your Honor.

THE COURT: Ali right. In that case, the Court is
going to take a short recess before the next matter. You're
excused.

(Hearing concluded.)

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CERTIFICATE OF COURT REPORTER

I, Kati Vogt, RPR, RMR, RDR, CRR, Official Court Reporter
for the United States District Court for the Southern District
of Mississippi, appointed pursuant to the provisions of Title
28, United States Code, Section 753, do hereby certify that
the foregoing is a correct transcript of the proceedings
reported by me using the stenographic reporting method in
conjunction with computer-aided transcription, and that same
is a true and correct transcript to the best of my ability and
understanding.

I further certify that the transcript fees and format
comply with those prescribed by the Court and the Judicial

Conference of the United States.

S/ Kali Vogl
KATI VOGT; RPR, RMR, RDR, CRR
OFFICIAL COURT REPORTER

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

UNITED STATES OF AMERICA PLAINTIFF
Vv. CRIMINAL ACTION NO: 1:24cr46
ANTHONY CHARLES CVITANOVICH DEFENDANT

TRANSCRIPT OF PLEA

BEFORE, HONORABLE HALIL S. OZERDEN
UNITED STATES DISTRICT JUDGE

MAY 30, 2024

DAN M. RUSSELL, JR., UNITED STATES COURTHOUSE
GULFPORT, MISSISSIPPI

COURT REPORTER:

Kati Vogt, RPR, RMR, RDR, CRR
Official Court Reporter
U.S. District Court, Southern District of Mississippi
2012 15th Street, Suite 403
Gulfport, Mississippi 39501
(228) S63-1790
kati_vogt@mssd.uscourts.gov

PLAINTIFF’S
EXHIBIT

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APPEARANCES

REPRESENTING THE GOVERNMENT :

ANDREA JONES, ESQ.

Office of the United States Attorney
1575 20th Avenue

Gulfport, Mississippi 39501

JEREMY F, KORZENTK, ESQ.
U.S. Department of Justice
Environmental Crimes Section
150 M. Street, NE

Room 4.208

Washington, DC 20002

REPRESENTING THE DEFENDANT:

TIM C, HOLLEMAN, ESQ.

Boyce Holleman and Associates, P.A.
1720 23rd Avenue

Gulfport, Mississippi 39501

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THE COURT: All right. This next case is 1:24CR46,
United States versus Anthony Charles Cvitanovich, scheduled
for a change of plea,

Would counsel please make their appearances.

MR. HOLLEMAN: Tim Holleman for Mr. Cvitanovich, Your
Honor.

THE COURT: For the record, is your client present in
the courtroom?

MR. HOLLEMAN: Yes, he is, Your Honor.

THE COURT: All right.

MS. JONES: Andrea Jones, Your Honor, for the United
States, Southern District.

MR. KORZENIK: Jeremy Korzenik, Environmental Crimes,
Department of Justice.

THE COURT: Pursuant to the Crime Victims Rights Act,
Ms. Jones, are there any victims of this offense?

MS. JONES: There are victims, Your Honor, but they
are so numerous and much time has passed, and the amounts were
small as to each, so we would say that under Title 18,
3663A(c) (3) (A), that we're not identifying any victims,
although we do have receipts and evidence to substantiate
those -- that they were victims.

THE COURT: All right. The Court finds that pursuant
to the Crime Victims Rights Act, the government has made its

best effort to identify victims but that there are multiple

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victims over a long period of time, making it impractical to
provide notice, and that any further proceedings or efforts to
notify victims would unduly complicate or prolong this
proceeding. Therefore, the Court finds the government has
complied with the Crime Victims Rights Act in this case.

I understand this is going to be a change of plea to
guilty to a one-count bill of information. Is that right,
Ms. Jones?

MS. JONES: Yes, Your Honor.

THE COURT: Mr. Holleman?

MR. HOLLEMAN: That's correct, Your Honor.

THE COURT: All right. I've been presented with an
original plea agreement and plea supplement, both of which I
have reviewed. They've both been executed by counsel for the
government as well as counsel for the defense.

So at this time, Mr. Holleman, if your client will
please raise his right hand, take the oath, and we will begin.

(Oath administered.)

THE COURT: Sir, would you please state your full
name for the record,

THE DEFENDANT: Anthony Charles Cvitanovich.

THE COURT: Mr. Cvitanovich, do you understand that
you are now under oath, and if you answer any of my questions
today falsely, your answers may later be used against you in

another prosecution for perjury or making a false statement?

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Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: Are you able to read, speak, and
understand the English language?

THE DEFENDANT: Yes, sir.

THE COURT: Are you a citizen of the United States?

THE DEFENDANT: Yes, sir.

THE COURT: If at any point this morning you do not
understand something I say or a question I ask, please let me
know. I'm happy to repeat myself. Also if at any point you
would like to stop and consult with your attorney, I'm happy
to let you do that as well. You just need to let me know. Do
you understand all of that?

THE DEFENDANT: Yes, sir.

THE COURT: The first thing I have to do this morning
is establish that what you are doing here today is a knowing
and a voluntary act and that you understand what it is you're
doing; so I need to begin with some questions along those
lines.

How old are you, sir?

THE DEFENDANT: 55.

THE COURT: And how far did you go in school?

THE DEFENDANT: High school,

THE COURT: And did you graduate?

THE DEFENDANT: Yes.

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THE COURT: And are you able to read and write?

THE DEFENDANT: Yes, sir.

THE COURT: Have you been treated recently for any
mental illnesses or addictions to alcohol or narcotic drugs of
any kind?

THE DEFENDANT: No, Sir.

THE COURT: Have you ever been treated for any mental
illnesses or addictions to alcohol or narcotic drugs of any
kind?

THE DEFENDANT: No, sir.

THE COURT: As you stand here today, are you
presently under the influence of any alcoholic beverage, drug,
prescription medication, or any other substance that would
affect your ability to understand what is taking place here?

THE DEFENDANT: No, sir.

THE COURT: And are you capable of consulting with
your attorney and understanding what he is telling you?

THE DEFENDANT: Yes, sir.

THE COURT: Do you understand why we are here and
what is happening today?

THE DEFENDANT: Yes, sir.

THE COURT: Do you understand the seriousness of this
proceeding?

THE DEFENDANT: Yes, sir.

THE COURT: Do you understand that the purpose of

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your appearance in court this morning is to change your plea
in this case from not guilty to guilty to the one~count
information? Do you understand that?

THE DEFENDANT: Yes, Sir.

THE COURT: Mr. Holleman, have you met with your
client?

MR. HOLLEMAN: Yes, Your Honor.

THE COURT: In your opinion, is he capable of
understanding these proceedings and your advice?

MR. HOLLEMAN: Yes, sir.

THE COURT: Is there any question in your mind about
his competence to enter a plea?

MR, HOLLEMAN: No, sir, Your Honor,

THE COURT: Ms. Jones, is the government aware of any
issues with respect to the defendant's competence to enter a
plea?

MS. JONES: No, Your Honor.

THE COURT: Now, Mr. Cvitanovich, the next thing I
need to talk with you about is something you've probably
already gone over with the magistrate, but I have to review it
with you again to make sure you understand it, is your
willingness or desire to waive your right to give up grand
jury presentment and indictment and proceed today based on
this information.

Now, under our system of justice, no person can be

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charged with a felony offense unless a grand jury first hears
evidence and, based upon that evidence, decides there is
probable cause to believe that a crime has been committed and
that you committed that crime.

You can, if you wish, waive or give up the right to
grand jury presentment and indictment and permit a charge to
be brought against you by way of an information, which is what
has occurred in your case. If you were to decide that you did
not wish to waive the right to grand jury presentment and
indictment, there is nothing that would prevent the government
from presenting your case to the grand jury and seeking an
indictment.

Now, a grand jury is a group of people, not less than
16 and not more than 23, and at least 12 of those people,
after hearing evidence, would have to agree that based upon
that evidence, there is probable cause to believe that a crime
has been committed and that you committed that crime before
you could be indicted.

No one can presume to know what a grand jury will do
in any particular case, Their proceedings are secret. Their
deliberations are secret as well. You could be indicted; on
the other hand, you might not be. But if you permit this case
to proceed on the information, it will proceed just as though
the grand jury had actually met and just as though the grand

jury had actually returned an indictment.

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Have you discussed your right to grand jury
presentment and indictment with your attorney?

THE DEFENDANT: Yes, sir.

THE COURT; Have you asked him any questions you had
about it?

THE DEFENDANT: Yes, Sir.

THE COURT: Did you understand his answers?

THE DEFENDANT: Yes, sir.

THE COURT: Do you understand the right to grand jury
presentment and indictment?

THE DEFENDANT: Yes, sir.

THE COURT: Mr. Holleman, have you fully counseled
with your client regarding his understanding and willingness
to give up the right to grand jury presentment and indictment?

MR. HOLLEMAN: Yes, sir.

THE COURT: And did he undergo this colloquy with the
magistrate judge?

MR. HOLLEMAN: Yes, sir.

THE COURT: And was there a waiver of indictment
executed?

MR. HOLLEMAN: Yes, Sir.

THE COURT: Now, has anyone in any way,

Mr. Cvitanovich, offered promises or inducements to persuade
you to waive this right or threatened or tried to force you to

waive this right?

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THE DEFENDANT: No, sir.

THE COURT: Are you doing this of your own free will?

THE DEFENDANT: Yes, sir.

THE COURT: And based upon the rights I've just
described to you, do you wish to waive the right to grand jury
presentment and indictment?

THE, DEFENDANT: Yes, sir.

THE COURT: It is the finding of the Court that
Mr. Cvitanovich has knowingly and voluntarily waived the right
to grand jury presentment and indictment, and the Court will
therefore proceed based upon that.

Now, Mr. Cvitanovich, have you received a copy of the
information pending against you in this case? That is the
written charge brought against you by the government.

THE DEFENDANT: Yes, sir.

THE COURT: Have you had an opportunity to review the
charge in the information with your attorney and fully discuss
that charge with your attorney?

THE DEFENDANT: Yes, sir.

THE COURT: Were you able to ask your attorney any
questions you had about the charge in the information?

THE DEFENDANT: Yes, sir.

THE COURT: Did you understand his answers to your
questions?

THE DEFENDANT: Yes, sir.

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THE COURT: Do you understand the charge against you
in the information?

THE DEFENDANT: Yes, sir.

THE COURT: Did your attorney discuss with you
possible defenses, if any, that you might have to this charge?

THE DEFENDANT: Yes, sir.

THE COURT: Were you able to ask your attorney any
questions you had about that subject?

THE DEFENDANT: Yes, sir.

THE COURT: And did you understand his answers?

THE DEFENDANT: Yes, sir.

THE COURT: Did he also discuss with you possible
witnesses, if any, who could be called to testify in your
defense to this charge?

THE DEFENDANT: Yes, sir.

THE COURT: Were you able to ask him any questions
you had about that subject?

THE DEFENDANT: Yes, Sir.

THE COURT: And did you understand his answers?

THE DEFENDANT: Yes, sir.

THE COURT: Did your attorney also review and discuss
with you the evidence that the government intended to produce
at trial to support the charge against you?

THE DEFENDANT: Yes, sir.

THE COURT: Were you able to ask your attorney any

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questions you had about that subject?

THE DEFENDANT: Yes, sir.

THE COURT: Did you understand his answers?

THE DEFENDANT: Yes, sir.

THE COURT: Are you satisfied with the amount of time
you've been able to spend with your attorney?

THE, DEFENDANT: Yes, sir.

THE COURT: Are you satisfied with the amount of time
your attorney has spent working on your case?

THE DEFENDANT: Yes, sir.

THE COURT: Are you fully satisfied with the counsel,
representation, and advice given to you in this case by your
attorney?

THE DEFENDANT: Yes, sir.

THE COURT: If you have any complaints or objections
wnatsoever regarding the services provided to you by your
attorney, now is the time to make those objections. Do you
have any?

THE DEFENDANT: No, sir.

THE COURT: Now, I understand your willingness to
plead guilty today is the result of some discussions that
either you or your attorney have had with the attorney for the
government which have resulted in these two documents I have
here, the plea agreement and the plea supplement; is that

correct?

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THE DEFENDANT: Correct.

THE COURT: Is this your signature on the plea
agreement and the plea supplement?

THE DEFENDANT: Yes, sir.

THE COURT: Did you have an opportunity to read and
discuss the plea agreement and the plea supplement with your
attorney before you signed those two documents?

THE DEFENDANT: I did.

THE COURT: And were you able to ask your attorney
any questions you had about the plea agreement and the plea
supplement?

THE DEFENDANT: Yes.

THE COURT: Did you understand his answers?

THE DEFENDANT: Yes.

THE COURT: Do you fully understand the terms of the
plea agreement and the plea supplement?

THE DEFENDANT: Yes.

THE COURT: Mr. Holleman, are you satisfied your
client understands the terms of the plea agreement and the
plea supplement?

MR. HOLLEMAN: Yes, Your Honor.

THE COURT: Now, at this time, I'm going to ask the
attorney for the government to state into the record some of
the key terms or highlights of your agreement with the

government. I want you to listen to what she has to say,

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because when she's finished, I'm going to ask if you
understand and agree to these terms and conditions. All
right?

Ms. Jones?

MS. JONES: Thank you, Your Honor.

If the defendant tenders a plea of guilty to the
one~count felony information pending in this case, Your Honor,
charging the defendant with misbranding in violation of
Title 21, United States Code, Sections 331(k), and the penalty
333 (a) (2) for a felony with intent to mislead and defraud, the
government will recommend that the Court accept the
defendant's plea. At sentencing, the government will
recommend that the defendant be sentenced in accordance with
the supplemental plea agreement.

The plea agreement document itself includes various
waivers. That would be items 8, which in these documents is
in the plea agreement in pages 5 through 6, which includes
waivers of the defendant's right to appeal and to seek
post-conviction relief. The waiver provision also includes
the standard exception for ineffective assistance of counsel
claims.

The plea supplement, which we anticipate Your Honor
will be filing under seal, also provides a recommendation
range on page 1 in Section 2A, commensurate with the conduct

of Mr. Cvitanovich in reaching this plea agreement, and we

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would recommend that applicable range of imprisonment under
the sentencing guidelines in accordance with this plea, Your
Honor. Thank you.

THE COURT: All right. Mr. Cvitanovich, did you hear
everything the attorney for the government had to say?

THE DEFENDANT: Yes, sir.

THE COURT: Did you understand everything she had to

say?

THE DEFENDANT: Yes, sir.

THE COURT: And do you agree with those terms and
conditions?

THE DEFENDANT: Yes, sir.

THE COURT: Now, you understand what she read there
are just the highlights; your complete agreement with the
government is controlled by all of the terms and conditions
that are contained in these two documents, the plea agreement
and the plea supplement? Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: Now, has anyone made any other or
different promises or assurances of any kind to you, other
than the ones in the plea agreement and plea supplement, in an
effort to induce you to plead guilty in this case?

THE DEFENDANT: No, sir.

THE COURT: Let me inquire, was this the only formal

offer exchanged, Ms. Jones?

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MS. JONES: It is, Your Honor. And it was -- it had
the term of supervision included from the original that
Mr. Cvitanovich -- to say that it did not exceed one year.
There's also no forfeiture, Your Honor. Misbranding, the
statute, Title 21, 331(k), does not carry any forfeiture.

And would you like me to address the waiver of rights
that are highlighted in his plea agreements?

THE COURT: I'll go over those with him.

MS. JONES: Okay. Thank you.

THE COURT: Is that correct, Mr. Holleman? That was
the only formal offer exchanged?

MR, HOLLEMAN: That's correct, Your Honor.

THE COURT: All right. Now, Mr. Cvitanovich, has
anyone attempted in any way to force you or threaten you to
plead guilty in this case?

THE DEFENDANT: No, sir.

THE COURT: Are you pleading guilty of your own free
will because you are, in fact, guilty?

THE DEFENDANT: Yes, sir.

THE COURT: Now, do you understand that the terms of
the plea agreement and the plea supplement are merely
recommendations to the Court, that I can reject those
recommendations without permitting you to withdraw your plea
of guilty and then impose a sentence that is more severe than

the one you may anticipate? Do you understand that?

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THE DEFENDANT: Yes, sir.

THE COURT: Now, for instance, Ms. Jones just
referenced in the plea supplement paragraph 2A, the government
will make a recommendation of a sentence within a certain
range of the guidelines. Do you understand that that's just a
recommendation; the Court does not have to follow that
recommendation? Do you understand that?

THE DEFENDANT: Yes, Sir.

THE COURT: Also at paragraph 10 of the plea
supplement there's a stipulation as to the amount of financial
harm or loss the Court would consider in calculating the
sentencing guideline range. You're familiar with that
stipulation in paragraph 10?

THE DEFENDANT: Yes, sir.

THE COURT: Do you understand if I find the facts do
not support that stipulation or that amount, I'm not required
to accept it or follow it? Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: I could go with a higher number or lower
number. Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: All right. Now, you're also waiving some
rights by entering into this plea agreement. Do you
understand that?

THE DEFENDANT: Yes, sir.

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THE COURT: I want to go over those with you again to
make sure you understand them.

Now, do you understand that by entering into this
plea agreement and pleading guilty today, you're going to
waive the right to appeal your conviction and your sentence
imposed in this case or the manner in which the sentence is
imposed, on any grounds whatsoever, except for ineffective
assistance of counsel claims? You are also retaining the
right to exercise a direct appeal of the sentence if the Court
departs from the guidelines, but that's the only instance
you're reserving a right of direct appeal. Do you understand
that?

THE DEFENDANT: Yes, sir.

THE COURT: You're also waiving the right to contest
the conviction and sentence, or the manner in which the
sentence is imposed, in any post-conviction proceeding,
including, but not limited to, a motion brought under Title
28, United States Code, Section 2255, except for any
ineffective assistance of counsel claims. Do you understand
that?

THE DEFENDANT: Yes, Sir.

THE COURT: You're waiving the right to seek
attorney's fees or costs in this case, and you're
acknowledging that the government's position in this case or

prosecution of this case was not vexatious, frivolous, or in

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bad faith. Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: You're waiving all rights, whether
asserted by you or through a representative, to request or
receive from any department or agency of the United States any
records pertaining to the investigation or the prosecution of
this case. Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: You're also acknowledging and agreeing
that any factual issues regarding your sentencing will be
decided by the sentencing judge under a preponderance of the
evidence standard, which is a lower standard of evidence than
would apply at a jury trial. Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: And you're waiving or giving up any right
to have a jury decide any of these sentencing issues. Do you
understand that?

THE DEFENDANT: Yes, sir.

THE COURT: You're also agreeing that in making its
sentencing decision, the Court may consider any relevant
evidence, without regard to whether that evidence would be
admissible under the rules of evidence that would apply at a
trial. Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: Have you read each and every one of these

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walvers?
THE DEFENDANT: Yes, sir.
THE COURT: Have you discussed them with your

attorney and asked him any questions you may have had about

them?

THE DEFENDANT: Yes, sir.

THE COURT: Did you understand his answers to your
questions?

THE DEFENDANT: Yes, sir.

THE COURT: Do you understand what these waivers mean
and what their consequences are?

THE DEFENDANT: Yes, sir.

THE COURT: And do you fully and completely
understand and knowingly and voluntarily agree to all these
waivers along with all the other terms of the plea agreement
and the plea supplement?

THE DEFENDANT: Yes, sir.

THE COURT: Mr. Holleman, are you satisfied your
client fully and completely understands and knowingly and
voluntarily agrees with all the waivers along with all the
other terms of the plea agreement and the plea supplement?

MR. HOLLEMAN: Yes, Your Honor.

THE COURT: All right. In that event, then, the
Court will accept the plea agreement and plea supplement and

direct that they be filed into the record. Pursuant to local

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court rule, the plea supplement will be filed under seal.

Now, Mr, Cvitanovich, do you understand that the
offense to which you're seeking to plead guilty today is a
felony offense, and that if your plea is accepted by the
Court, you will be adjudged guilty of that offense; and such
adjudication of guilt may deprive you of valuable civil
rights, such as the right to vote, the right to hold public
office, the right to serve on a jury, and the right to possess
any kind of firearm? Do you understand that, sir?

THE DEFENDANT: Yes, I do.

THE COURT: I'm required to inform you of the maximum
possible penalties to which you would be exposed by pleading
guilty to this charge. You're seeking to plead guilty to the
one-count information which charges you with violating
Title 21, United States Code, Sections 331(k) and 333 (a) (2),
misbranding.

Tf you plead guilty to this charge, the maximum
possible penalties to which you would be exposed would be as
follows: A term of imprisonment of not more than three
years; a fine of up to $10,000; a term of supervised release
of not more than one year; and a $100 special assessment. Do
you understand that those are the maximum possible penalties
to which you would be exposed by pleading guilty to this
charge?

THE DEFENDANT: Yes, sir.

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THE COURT: Have you discussed those with your
attorney and asked him any questions you had about them?

THE DEFENDANT: Yes, Sir.

THE COURT: Did you understand his answers?

THE DEFENDANT: Yes, Sir.

THE COURT: Now, do you understand that a term of
supervised release is or may be imposed in addition to any
sentence of imprisonment? Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: And what supervised release is, is a
period of time following your release from any term of
imprisonment during which your activities would be monitored
and supervised by the U.S. Probation Office. Do you
understand that?

THE DEFENDANT: Yes, sir.

THE COURT: And if you violate any of the conditions
of your supervised release, you could be subjected to
imprisonment for the entire term of supervised release,
without credit for any time you might have already served on
that term of supervised release. Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: Do you understand that if applicable, the
Court may order you to make restitution to any victims of this
offense? Do you understand that?

THE DEFENDANT: Yes, sir.

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THE COURT: And, Ms. Jones, you said forfeiture is
not applicable in this case; is that correct?

MS. JONES: Yes, Your Honor.

THE COURT: Also if the offense involved fraud or
other intentionally deceptive practices, the Court may order
that you provide notice of your conviction to any victims of
the offense. Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: Finally, for each offense, you must pay a
special assessment of $100 per count, which in this case,
because you're pleading guilty to one count, would be $100.
Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: Do you understand all of these possible
consequences of your guilty plea?

THE DEFENDANT: Yes, sir.

THE COURT: Have you discussed them with your
attorney and asked him any questions you had about them?

THE DEFENDANT: Yes, sir.

THE COURT: Did you understand his answers?

THE DEFENDANT: Yes, Sir.

THE COURT: Now, under the Sentencing Reform Act of
1984, the United States Sentencing Commission has issued
sentencing guidelines for judges to follow to determine the

sentence in a criminal case. Your sentence in this case will

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be determined by considering a combination of these advisory
sentencing guidelines, possible authorized departures from
those guidelines, and other statutory sentencing factors that
have been set forth by Congress at Title 18, United States
Code, Section 3553. Have you and your attorney talked about
how the sentencing guidelines might apply to your case?

THE DEFENDANT: Yes, sir.

THE COURT: Now, do you understand that the Court
will not be able to determine the guideline sentence range for
your case until after the probation office has prepared a
Presentence Report and you and the government have both had an
opportunity to review that report and to challenge or object
to the reported facts and proposed application of the
sentencing guidelines that are recommended by the probation
officer? Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: And do you understand that the sentence
ultimately imposed by the Court may be different from any
estimate that your attorney may have given you? Do you
understand that?

THE DEFENDANT: Yes, Sir.

THE COURT: Also after your initial advisory
sentencing guideline range has been determined, the Court does
have the authority under some circumstances to depart upward

above the guideline range or downward below the guideline

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range. The Court will also consider statutory sentencing
factors found at Title 18, United States Code, Section 3553,
that could result in the imposition of a sentence that is
either greater than or lesser than the advisory guideline
sentence range. Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: Do you understand that the Court, in its
discretion, could sentence you up to the maximum prison
sentence provided by statute, which in this case is three
years? Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: Finally, parole has been abolished, and
if you are sentenced to prison, you will not be released on
parole. Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: You're also waiving some constitutional
rights by pleading guilty. I want to review those with you as
well to make sure you understand them.

Now, do you understand that you have a right to plead
not guilty to any offense charged against you and to persist
in that not guilty plea? Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: You would then have the right to a trial
by a jury. Do you understand that?

THE DEFENDANT: Yes, sir.

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THE COURT: And at that trial, you would be presumed
to be innocent, and the government would have to prove your
guilt beyond a reasonable doubt. Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: You'd have the right to the assistance of
counsel for your defense at trial and at every stage of the
proceeding, and if necessary, the Court would appoint an
attorney for you. Do you understand that?

THE DEFENDANT: Yes, Sir.

THE COURT: You'd have the right to see and hear all
of the witnesses who testify and have them cross-examined in
your defense. Do you understand that?

THE DEFENDANT: Yes, Sir.

THE COURT: You'd have the right to the issuance of
subpoenas or compulsory process to compel witnesses to attend
the trial and testify in your defense. Do you understand
that?

THE DEFENDANT: Yes, sir.

THE COURT: You'd have the right on your own part to
refuse to testify unless you voluntary elected to do so in
your own defense. Do you understand that?

THE DEFENDANT: Yes, Sir.

THE COURT: And if you decided not to testify or not
to put on any evidence whatsoever, those facts cannot be used

against you. Do you understand that?

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THE DEFENDANT: Yes, sir.

THE COURT: Do you further understand that by
entering a plea of guilty today, if that plea is accepted by
the Court, there will not be a trial, and you will have waived
or given up your right to a trial as well as all of the other
rights associated with a trial as I have just described them?
Do you understand that?

THE DEFENDANT: Yes, sir.

THE COURT: I'm required to inform you of the charge
to which you're seeking to plead guilty in this case.

You're seeking to plead guilty to the one~count
information which charges as follows: At all times relevant
to the allegations of this information, defendant Anthony
Charles Cvitanovich was a co-owner of Mary Mahoney's Old
French House, or Mahoney's, a Mississippi corporation
operating as a restaurant in Biloxi, Mississippi, prominently
advertising on its menu, in the Southern Division of the
Southern District of Mississippi and elsewhere, that it served
local seafood to its customers. Defendant Cvitanovich
purchased fish that his restaurant advertised, described on
its menu, and sold to its customers.

It is a felony violation of Title 21, United States
Code, Sections 331(k) and 333(a) (2), knowingly to cause the
misbranding of fish held for sale after shipment in interstate

conmerce in order to facilitate its fraudulent sale as a

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premium higher priced local species. A food is misbranded if
its labeling and description is false and misleading.

On September 19, 2018, a federal search warrant was
executed upon Anthony Charles Cvitanovich's chief seafood
supplier from whom he purchased inexpensive imported fish for
his restaurant to sell as higher priced local premium species.
While they were arranging such a sale, the supplier's sales
manager informed the defendant Cvitanovich of the presence of
federal investigators and suggested that they postpone their
further discussion of seafood sales until federal agents
departed.

Thereafter, defendant Cvitanovich knowingly and
willfully continued to purchase imported and other inexpensive
seafood from the same supplier and then to advertise and sell
it at his restaurant as premium local species, when they were
neither premium nor local.

During 2018 and 2019, with the intent to mislead and
defraud consumers and thereby to profit, defendant Cvitanovich
knowingly and willfully caused the mislabeling of
approximately 17,190 pounds of the following fish held for
sale after shipment in interstate commerce in order to
facilitate its fraudulent sale as a premium higher priced
local species: Lake Victoria perch from Africa, tripletail
from Suriname, and Unicorn filefish from India, all in

violation of Title 21, United States Code, Sections 331(k) and

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333 (a) (2).

Have you seen the information against you in this
case?

THE DEFENDANT: Yes, sir.

THE COURT: And have you read this charge to which
you are seeking to plead guilty?

THE DEFENDANT: Yes, sir.

THE COURT: Did you have a full opportunity to
discuss this charge with your attorney and ask him any and all
questions you had about it?

THE DEFENDANT: Yes, sir.

THE COURT: Did you understand his answers?

THE DEFENDANT: Yes, sir.

THE COURT: Do you understand the charge against you
in the information?

THE DEFENDANT: Yes, sir.

THE COURT: Mr. Holleman, are you satisfied your
client understands the charge against him in the information?

MR. HOLLEMAN: Yes, sir.

THE COURT: I also need to explain to you the
essential elements of the charge in the information. These
are the things the government would have to prove, and it
would have to prove them beyond a reasonable doubt before you
could be found guilty.

The information charges a violation of Title 21,

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United States Code, Section 331(k), which prohibits any act
with respect to a food which is done while such food is held
for sale, whether or not the first sale, after shipment in
interstate commerce and which results in such article being
misbranded.

In order for you to be found guilty of this charge,
the government must prove each of these following elements
beyond a reasonable doubt: First, that the act in question
occurred while the food was held for sale after shipment in
interstate commerce; second, that the act resulted in the
article being misbranded; and third, that the act in question
was done with the intent to mislead or defraud.

A food is deemed misbranded if its labeling is false
or misleading in any particular or its advertising is false or
misleading in any material respect.

So those are the essential elements of the charge
contained in the one-count information. Do you understand
those, Mr. Cvitanovich?

THE DEFENDANT: Yes, sir.

THE COURT: Have you discussed those with your
attorney and asked him any questions you may have had about
them?

THE DEFENDANT: Yes, Sir.

THE COURT: Did you understand his answers to your

questions?

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THE DEFENDANT: Yes, sir.

THE COURT: Do you understand what the government
must prove beyond a reasonable doubt before you could be found
guilty?

THE DEFENDANT: Yes, sir.

THE COURT: And do you fully and completely
understand the nature of the charge against you, including its
essential elements?

THE DEFENDANT: Yes, sir.

THE COURT: Mr. Holleman, are you satisfied your
client fully and completely understands the nature of the
charge against him, including its essential elements?

MR, HOLLEMAN: Yes, sir.

THE COURT: Now, at this time, what I'm going to do,
Mr. Cvitanovich, is I'm going to ask the attorney for the
government to state into the record those facts the government
would be prepared to prove if the case went to trial. I want
you to listen very carefully to what he has to say, because
when he's finished, I'm going to ask you if you understand and
agree with everything he has to say. All right?

Counsel?

MR. KORZENIK: Yes, Your Honor. If the case were to
go to trial, the government would have provided proof in the
form of testimony and exhibits to establish beyond a

reasonable doubt the allegations made in the information at

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issue here. The evidence supporting these charges include his
own statements, the defendant's own statements, and testimony
of others for the period relevant to the charges in the
information,

Mr. Cvitanovich has been a part-owner of Mary
Mahoney's Old French House, Incorporated, a well-known
restaurant that has operated in Biloxi for over 60 years. In
its website, advertisements, and menus, Mahoney's was promoted
as a trusted source of fresh local Gulf Coast seafood.

The evidence shows that in the beginning of 2015,

Mr. Cvitanovich assumed the responsibilities of purchasing
much of the food that Mahoney's prepared and served. At that
time, if not before, Mr. Cvitanovich was made aware, by the
statements of his supplier, the labels on the boxes of frozen
fish Mahoney's received, the prices he negotiated, and the
invoices he paid, that most of the fish he ordered from his
restaurant's primary supplier, primary wholesaler, was not the
local species that Mahoney's advertised and identified on its
menu. The evidence shows that the defendant ordered thousands
of pounds per year of fish that did not bear the names of
those native to local waters, even though they were
represented to be local premium seafood on the Mahoney's menu.

Specifically during the years 2018 and 2019,

Mr. Cvitanovich intentionally misled and defrauded customers

by mislabeling approximately 17,100 pounds of fish held for

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sale at the restaurant after it had been shipped in interstate
commerce. The labeling facilitated its fraudulent sale as a
premium higher priced local species, when, in fact, the sale
was of an inexpensive foreign frozen imported fish, including
Lake Victoria perch from Africa, tripletail from Suriname, and
Unicorn filefish from India. The evidence would show that
defendant Cvitanovich participated with others in the
substitution of these inexpensive foreign frozen fish imported
from -- from elsewhere, from Africa, South America, and Asia,
and that he advertised and facilitated the advertisement at
his restaurant as local premium species. In so doing,
Mr. Cvitanovich, with intent to defraud and mislead customers,
knowingly received imported fish that he and others had held
for sale, after shipment in interstate commerce, to facilitate
its misbranding and its sale as a premium higher priced local
species.

Again, the definition of misbranding is included in
the charges. It's under Title 21, Sections 343(a) and (b). A
food is misbranded if its labeling and description is false
and misleading in any particular, and specifically if it is
offered for sale under the name of another food.

All of the acts would be shown to have occurred in
the Southern District of Mississippi and elsewhere on the
alleged dates identified.

Again, your Honor, the elements have been established

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already here and read, and I will not repeat them, except to
say that the evidence that the government would put on at
trial would satisfy each one of them.

THE COURT: All right. Mr. Cvitanovich, did you hear
everything the attorney for the government had to say?

THE DEFENDANT: Yes, sir.

THE COURT: Did you understand everything he had to
say?

THE DEFENDANT: Yes, sir.

THE COURT: Do you agree with those facts?

THE DEFENDANT: Yes, sir.

THE COURT: And is that what happened in this case?

THE DEFENDANT: Yes, sir.

THE COURT: All right. In a moment, then, I'm going
to ask you for your plea to the charge in the one-count
information, whether it's guilty or not guilty. Before I do
that, though, is there anything at all that you have not
understood or that you would like to discuss further with your
attorney?

THE DEFENDANT: No, sir.

THE COURT: All right. Then, Mr. Cvitanovich, how do
you now plead to the charge contained in the one-count
information? Guilty or not guilty?

THE DEFENDANT: Guilty.

THE COURT: It is the finding of the Court in the

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case of United States versus Anthony Charles Cvitanovich that
having viewed the defendant in court and considered his
demeanor and responses, the defendant is fully competent and
capable of entering an informed plea, that the defendant is
aware of the nature of the charges and the consequences of the
plea, and that the plea of guilty to the one-count information
is a knowing and voluntary plea, supported by an independent
basis in fact containing each of the essential elements of the
offense. The plea is therefore accepted, and the defendant is
now adjudged guilty of that offense.

As I mentioned, a written Presentence Report will
need to be prepared by the probation office to assist the
Court in sentencing. You'll be asked to give information to
the probation officer for that report. It's important you
provide complete and truthful answers to the probation officer
when you meet with him or her. You may have your attorney
present with you, if you wish, when you meet with the
probation officer. And you and your attorney will be allowed
to read the Presentence Report and file any objections you
have to the Presentence Report before the sentencing hearing.
You and your attorney will also have an opportunity to speak
on your behalf at the sentencing hearing before the Court
imposes any sentence.

So at some point after we finish today, someone from

probation will be in touch with you or your attorney to begin

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that process.

Sentencing will be on Thursday, September 12, 2024,
at 10:00 a.m, here in this courtroom. Thursday,
September 12, 2004, at 10:00 a.m. here in this courtroom.

And one thing I want to remind you of,

Mr. Cvitanovich, is you've now been adjudged guilty of a
felony. One consequence of that is you no longer have the
right to possess a firearm of any kind for any purpose. Do
you understand that, sir?

THE DEFENDANT: Yes, sir.

THE COURT: I understand the defendant has been
placed on terms of release. Any issues with him remaining on
his conditions of release pending sentencing?

MR. HOLLEMAN: No, Your Honor.

MS. JONES: No, Your Honor.

THE COURT: Probation aware of any issues?

PROBATION OFFICER: Probation has no issue.

THE COURT: All right. Under the facts and
circumstances of the case and pursuant to the Bail Reform Act,
the Court finds there is sufficient evidence in the record to
conclude that the defendant is not likely to flee or pose a
danger to the safety of any other person in the community;
therefore, the Court will permit him to remain on his current
conditions of release pending sentencing.

Mr. Cvitanovich, you are to appear here in this

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courtroom on Thursday, September 12, 2024, at 10:00 a.m. for
sentencing. Failure to appear at the sentencing hearing as
required isa criminal offense for which you could be
sentenced to imprisonment. All conditions of your current
release are still in place and must be followed completely;
and the penalties for violating those conditions can be
severe, including incarceration. Do you understand that, sir?

THE DEFENDANT: Yes, Sir.

THE COURT: All right. Anything further at this
time?

MS, JONES: No, Your Honor, not from the government.

MR. HOLLEMAN: No, Your Honor, not from the
defendant.

THE COURT: All right. Counsel, then, are excused,
and court will stand in recess.

(Hearing concluded.)

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CERTIFICATE OF COURT REPORTER

T, Kati Vogt, RPR, RMR, RDR, CRR, Official Court Reporter
for the United States District Court for the Southern District
of Mississippi, appointed pursuant to the provisions of Title
28, United States Code, Section 753, do hereby certify that
the foregoing is a correct transcript of the proceedings
reported by me using the stenotype reporting method in
conjunction with computer-aided transcription, and that same
is a true and correct transcript to the best of my ability and
understanding.

I further certify that the transcript fees and format
comply with those prescribed by the Court and the Judicial

Conference of the United States.

s/Kati Vogt
KATT VOGT, RPR, RMR, RDR, CRR
OFFICIAL COURT REPORTER

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PRESS RELEASE

Biloxi Restaurant and its Co-Owner Plead Guilty to Conspiracy to Misbrand
Seafood

Thursday, May 30, 2024

For Immediate Release

U.S. Attorney's Office, Southern District of Mississippi

Gulfport, MS-A Mississippi corporation operating as Mary Mahoney's Old French House restaurant in Biloxi,
Mississippi, pled guilty today to conspiracy to misbrand seafood and wire fraud. A co-owner/manager of the restaurant
also pled guilty to misbranding of seafood.

According to court documents, Mary Mahoney's Old French House, Inc., pled guilty to a felony Information, filed April
26, 2024, charging the corporation with conspiracy to misbrand seafood and wire fraud in connection with a scheme
that began as early as 2002 and continued through November of 2019. Mahoney's, founded in 1962, admitted that
between December 2013 and November 2019, it and its co-conspirators, fraudulently sold as local premium species,
approximately 58,750 pounds (over 29 tons) of fish that was frozen and imported from Africa, India, and South
America. Additionally, Anthony Charles Cvitanovich, 55, a co-owner/manager at the restaurant, pled guilty to a felony
Information, also filed April 26, 2024, charging him with misbranding of seafood during 2018 and 2019,

Cvitanovich admitted that between 2018 and 2019 alone, he was involved in mislabeling approximately 17,190 pounds
of fish sold at the restaurant. The scheme involved the fraudulent sale of fish by Mahoney’s and its wholesale supplier
that was described on Mahoney's menu as premium higher priced local species, such as snapper and grouper from the
Gulf of Mexico, when the fish was actually other species from abroad, including Lake Victoria Perch from Africa, Triple
Tail from Suriname, and Unicorn Filefish from India. Genetic testing of fish by the Food and Drug Administration (FDA)
confirmed the fraudulent scheme.

“When people spend their hard-earned dollars to enjoy the incredible local seafood on the Mississippi Gulf Coast, they
should get what they paid for, not frozen fish from overseas,” said U.S. Attorney Todd W. Gee of the Southern District of
Mississippi. “Mislabeling food and defrauding customers are serious crimes, and this case will help convince
restaurants and seafood suppliers that it is not worth lying to customers about what is on the menu.”

“U.S. consumers expect their seafood to be correctly identified. When sellers purposefully substitute one fish species
for another, they deceive consumers and cause potential food safety hazards to be overlooked or misidentified by
processors or end users,” said Special Agent in Charge Justin Fielder, FDA Office of Criminal Investigations Miami Field
Office. “We will continue to investigate and bring to justice those who put profits above public health.”

Mary Mahoney’s Old French House, Inc. and Anthony Charles Cvitanovich are scheduled to be sentenced on
September 12, 2024. Mary Mahoney's Old French House, Inc. faces a maximum penalty of five years’ probation and a

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$500,000 fine, or not more than the greater of twice the gross gain or twice the gross loss, whichever is greater.
Cvitanovich faces a maximum penalty of three years of prison and a $10,000 fine. A federal district court judge will
determine any sentence after considering the U.S. Sentencing Guidelines and other statutory factors.

U.S. Attorney Todd W, Gee of the Southern District of Mississippi made the announcement.
The Food and Drug Administration - Office of Criminal Investigations is investigating the case.

Assistant U.S, Attorney Andrea Jones and Senior Trial Attorney Jeremy F, Korzenlk of the Justice Department's
Environment and Natural Resources Division are prosecuting the case.

Updated May 30, 2024

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PRESS RELEASE

Mississippi Seafood Distributor and Managers Plead Guilty to Conspiracy
and Misbranding of Seafood

Tuesday, August 27, 2024

For Immediate Release

Office of Public Affairs

Company Agrees to Pay More than $1.1M in Criminal Penalties

A Mississippi seafood distributor and two company managers pleaded guilty today to conspiring with others to
mislabel seafood and to commit wire fraud by marketing inexpensive and frozen imported substitutes as more
expensive and premium local species.

Quality Poultry and Seafood Inc. (QPS), the largest seafood wholesaler on the Mississippi Gulf Coast, has agreed to
pay the United States $1 million in forfeitures and a criminal fine of $150,000. QPS sales manager Todd A. Rosetti and
business manager James W. Gunkel, both of Ocean Springs, Mississippi, also pleaded guilty to misbranding seafood to
facilitate QPS’ fraud.

QPS admitted to participating in this fish substitution scheme from as early as 2002 and continuing through November
2019. The indictment alleges that QPS recommended and sold to its restaurant customers foreign-sourced fish that
could serve as convincing substitutes for the local species the restaurants advertised on their menus. QPS also
labeled the cheap imports that it sold to customers at its own retail shop and café as premium local fish.

“QPS and company officials went to great lengths in conspiring with others to perpetuate fraud for more than a
decade, even after they knew they were under federal investigation,” said Assistant Attorney General Todd Kim of the
Justice Department's Environment and Natural Resources Division. “Mislabeling seafood harms local wholesalers and
fishermen who compete to sell locally sourced, premium fish in a market unfairly flooded with less expensive fish,
frozen and imported from overseas.”

“When imported substitutes are marketed as local domestic seafood, it depresses the value of authentic Gulf Coast
seafood, which means that honest local fishermen and wholesalers have a harder time making a profit,” said U.S.
Attorney Todd W. Gee for the Southern District of Mississippi. “This kind of mislabeling fraud hurts the overall local
seafood market and rips off restaurant customers who were paying extra to eat a premium local product. These
convictions should serve as a warning: restaurants and wholesalers will face criminal prosecution if they are not
honest with customers about what they are actually buying.”

“U.S. consumers expect their seafood to be correctly identified. When sellers purposefully substitute one fish species
for another, they deceive consumers and cause potential food safety hazards to be overlooked or misidentified by

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processors or end users,” said Special Agent in Charge Justin Fielder of the Food and Drug Administration (FDA)’s
Office of Criminal Investigations, Miami Field Office. “We will continue to investigate and bring to justice those who put
profits above public health,”

The indictment alleges that even after agents from the FDA executed a criminal search warrant at QPS to investigate
its sale of mislabeled fish, QPS continued for over a year to sell frozen fish Imported from Africa, South America and
India for use as substitutes for local premium species.

Mary Mahoney's, which pleaded guilty in May, admitted that between December 2013 and November 2019, it
fraudulently sold, as local premium species, approximately 58,750 pounds (over 29 tons) of fish that was not the
species identified on its menu, QPS supplied seafood to Mary Mahoney's and many other restaurant restaurants and
retailers.

QPS, Rosetti and Gunkel will be sentenced on Dec. 11. A federal district court judge will determine any sentence after
considering the U.S. Sentencing Guidelines and other statutory factors.

FDA's Office of Criminal Investigations is investigating the case.

Senior Trial Attorney Jeremy F. Korzenik of the Environment and Naturat Resources Division's Environmental Crimes
Section and Assistant U.S. Attorney Andrea Jones for the Southern District of Mississippi are prosecuting the case.

Updated August 27 2024

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION
UNITED STATES OF AMERICA

VS. 1:24CRO0090

TODD ANTHONY ROSETTI

SENTENCING HEARING

BEFORE THE HONORABLE HALIL S. OZERDEN
UNITED STATES DISTRICT JUDGE

DECEMBER 11, 2024
GULFPORT, MISSISSIPPI

(APPEARANCES FOLLOWING)

REPORTED BY: SHERRI L. PENNY, RPR, FCRR
2012 15TH STREET, SUITE 403
GULFPORT, MISSISSIPPI 39501
(228) 563-1781

PLAINTIFF’S
EXHIBIT

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APPEARANCES :

| FOR THE GOVERNMENT:

ANDREA C, JONES, ESQUIRE

U.S. ATTORNEY'S OFFICE - GULFPORT

1575 20TH AVENUE

GULFPORT, MISSISSIPPI 39501
AND

UBREMY F. KORZENIK, ESQUIRE

U. S. DEPARTMENT OF JUSTICE

Environmental Crimes Section

150 M Street, NE Room 4.208

WASHINGTON, DC 20002

FOR THE DEFENDANT:

JOSEPH M. HOLLOMON, ESQUIRE

JOE M. HOLLOMON & ASSOCIATES, PA
107 North State Street

JACKSON, MISSISSIPPI 39201

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THE COURT: This is case number 1:24cr90, United
States versus Todd Anthony Rosetti, scheduled for sentencing.
Would counsel please make their appearances.

MS. JONES: Good morning, Your Honor. Andrea Jones
for the United States, along with Jeremy Korzenik from the
Environmental Crimes and Natural Resources Division. Thank
you.

THE COURT: Good morning.

MR. HOLLOMON: Good morning, Your Honor. Joe
Hollomon for Todd Rosetti. My client is present beside me here
in court.

THE COURT: Good morning, Mr. Hollomon.

MR. HOLLOMON: Morning, Your Honor.

THE COURT: Ms. Jones, again, pursuant to the Crime
Victims' Rights Act, are there any victims of this offense?

MS. JONES: There were multiple victims, Your Honor,
but as we have indicated previously at the plea and as accepted
by the Court under Title 18, United States Code, Section
3663{a), it would be impractical as to the number of victims
and the nominal amounts, and also needlessly delay court

proceedings and reaching ends of justice in the procession of

i) the case.

THE COURT: Court concurs with that assessment. As
it has found for the companion cases, the location and

identification of the potential victims in this case would be

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unduly complex and time consuming, and indeed, the victims
would be very difficult to identify. For those reasons, the
Court finds that the government has complied with the
provisions of the Crime Victims' Rights Act.

Pursuant to -- let me ask this, Ms. Jones, has the
government received the presentence report and any addendum and
had a chance to review them?

MS. JONES: Yes, Your Honor.

THE COURT: Are there any objections?

MS. JONES: No, Your Honor.

THE COURT: Mr. Hollomon, did you receive the
presentence report and any addendum and have a chance to review
them with your client?

MR. HOLLOMON: We did, Your Honor.

THE COURT: Were you able to explain them to your
client and answer any questions he had about them?

MR. HOLLOMON: I did.

THE COURT: Did he understand them?

MR. HOLLOMON: He did, Your Honor.

THE COURT: Are there any objections?

MR. HOLLOMON: There were no objections, Your Honor.
We contacted the presentence investigating writer to elaborate
on his educational background. That was taken care by the

addendum.

THE COURT: I see that in the addendum.

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Mr. Rosetti, would you please stand, raise your right hand
and take the oath.
(Oath Administered)

THE COURT: Mr. Rosetti, have you heard everything
your attorney has just said?

THE DEFENDANT: Yes, Your Honor.

THE COURT: Have you understood everything he said?

THE DEFENDANT: Yes, Your Honor.

THE COURT: Do you agree with what he said?

THE DEFENDANT: Yes, Your Honor.

THE COURT: Did he review the presentence report with
you?

THE DEFENDANT: Yes, Your Honor.

THE COURT: Was he able to explain it to you and
answer any questions you had about it?

THE DEFENDANT: Yes, Your Honor,

THE COURT: Do you understand the presentence report?

THE DEFENDANT: Yes, Your Honor.

THE COURT: And do you agree with your attorney that
you do not have any objections?

THE DEFENDANT: Yes.

THE COURT: Thank you, you may be seated. Based upon
that, then, the sentencing guideline calculations in this case
would be as follows: The total offense level is an 18. Mr.

Rosetti's criminal history category is a I. That would

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ordinarily yield a guideline range of imprisonment under the
guidelines of 27 to 33 months; however, because he was
permitted to plead to a charge with a 12-month statutory
maximum, the guideline range is capped at 12 months and is
therefore 12 months.

The supervised release range is one year. The defendant
is not eligible for probation under the guidelines absent a
variance. The fine range would ordinarily be $10,000 to
$100,000, but, again, it is statutorily capped by the count of

conviction at $1,000. Restitution is not applicable, and there

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is a $25 special assessment.

Do the parties agree that those are the correct guideline
computations in this case?

MS. JONES: Yes, Your Honor.

MR. HOLLOMON: Yes, Your Honor.

THE COURT: The Court agrees and will adopt those as
the guideline computations. The Court will further adopt the
presentence report and addendum in their entirety as the
Court's findings of fact.

At this time, Mr. Rosetti, you have what is known as the
right of allocution. That is your opportunity to address the
Court and say anything you would like to say on your behalf
before the Court imposes a sentence. You may address the Court
yourself if you wish. If you would rather your attorney speak

for you, that's fine, too, it is entirely your choice. Either

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way, I am going to ask you both to come up here to the podium.
And if you do choose to speak, I remind you that you are under
oath.
Anything you would like to say, sir?

THE DEFENDANT: Yes, Judge. I am very sorry for my
actions and involvement, and it will never happen again.

THE COURT: All right. Mr. Hollomon, do you want to
add anything?

MR. HOLLOMON: Your Honor, I would simply add that I
know my client, for working with him over the past year and a
half to two years on this case, I do know that he is sincere in
what he says to the Court, and deeply regrets his involvement
in this. That's all we have to say at this time, Your Honor.
i THE COURT: Anything from the government?

MR. KORZENIK: Yes, Your Honor, if I may. As the
Court has already recognized, there was a search warrant
conducted which put on notice Mr. Rosetti and others that the
conduct in which they were engaging was criminal. Eight days
later, they resumed it and continued until the search warrant
was conducted on Mary Mahoney's. So the knowledge that they
were committing crimes was not an adequate deterrent to stop
them from doing what they were doing. Essentially, though, the
subject matter was fish, it's a financial fraud. It's a way of
making money by deceiving others, and that's what this

iidefendant did. And he played a significant role, as indicated

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in the presentence report, in contributing to the fraud of
others by recommending particular species that would be
inexpensive substitutes for premium brands that were being
advertised and the customers thought they were buying.

And the questions, as the Court has raised, what is the
adequate deterrent here? This is conduct that went on for a
long time with full knowledge that it was contrary to the law.
If one can make money for years and then simply face the
punishment of home detention briefly, there's every incentive
to continue engaging in that conduct and participating in the
fraud of customers that, essentially, in this case, extended
the reach of Quality Poultry and Seafood and the defendant
here. They made bonuses by the value by the profits that the
company was making.

As Your Honor has pointed out a number of times, the
llconduct here was long-standing and extensive, and a sentence
should be imposed that does justice to that and creates a
reasonable deterrent for the conduct that Your Honor has
described.

THE COURT: Thank you. I believe there's going to be
a recommendation made in accordance with the plea agreement; is
that right?
1] MR. KORZENIK: That's correct, Your Honor.
THE COURT: Government stands by that recommendation?

MR. KORZENIK: Yes. And, again, the leniency has

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already been given here.

THE COURT: Understood. All right.

Mr. Rosetti, before I go any further, one thing I do need
to explain to you is that as part of your plea agreement in
this case you waived the right to appeal your conviction and
your sentence. If for some reason you decided that you wanted
to try to appeal anyway, you can ask your attorney to file a
notice of appeal for you. If for some reason he cannot or will
not file one, you can file one yourself. All you have to do is
write on a piece of paper that you wish to appeal, sign it, and
then mail it in to the clerk of court, but you only have 14
days to do that from the date I enter a written judgment in
your case. Do you understand that, sir?

THE DEFENDANT: Yes, I do, Your Honor.

THE COURT: Also, if for some reason you could not
afford to pay the costs of an appeal, you can request
permission to proceed on appeal without paying those costs.

You could also, if you wish, request that an attorney be
appointed for you on appeal, and if you qualify one would be
appointed for you. But again, you have to put those requests
in writing and send them in to the clerk; do you understand
that?

THE DEFENDANT: Yes, Your Honor.

THE COURT: This matter is before the Court for

Sentencing. In this case, I have considered the record in this

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wmatter, including the presentence investigation report, the

advisory sentencing quideline computations, and the record of
this proceeding here today, including the statements of Mr.
Rosetti and those of counsel for the parties.

T am also required to take into account the pertinent
statutory sentencing factors set forth by Congress at Title 18,
United States Code, Section 3553. In this case, the Court
finds the following factors are relevant: The nature and
circumstances of the offense and history and characteristics of
the defendant.

This is an offense involving misbranding of seafood

specifically fish. Mr. Rosetti pled guilty to a violation of

| Title 21, United States Code, Section 331(k), a misdemeanor

offense. During an inspection of Quality Poultry and Seafood,
Incorporated, in May of 2017, Mississippi DMR inspectors
observed some boxes of what appeared to be mislabeled fish.

And investigators later received confidential information from
an informant that Quality was engaged in adulteration of its
products as a routine practice. This led to the FDA initiating
a criminal investigation. And as part of that investigation, a
number of undercover purchases were made from Quality, and it
was determined that Quality was, in fact, selling misbranded
fish, a lower-quality fish and representing it to be locally
caught and more expensive Gulf fish, both to its retail and

wholesale customers.

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Mr. Rosetti was the sales manager and supervisor of all
sales people and was instructing staff to mislabel and misbrand
seafood. Indeed, when other employees would make attempts to
properly label products, he would circumvent that and use his
position as a supervisor to override that and mislabel
products.

A search warrant was eventually executed on the premises
in September of 2018 by federal agents, and Mr. Rosetti was
interviewed and initially denied that any misbranding was
taking place. According to the presentence report, when he was
reminded that lying to a federal officer was a felony and that
the search warrant was not a random event, he became more
forthcoming and provided truthful information to agents about
the mislabeling that was taking place, and he indicated that he
was aware that they were misleading their customers.

The investigation and statements of other employees
indicate that this activity had been going on for an extensive
period of time, perhaps as far back as 1999, and that some 200
to 300 customers of Quality, wholesale and retail customers,
including restaurants and casinos, were being misled about the
nature of the product they were purchasing, all of this in
order to financially benefit the defendants in this matter.

Mr. Rosetti has been held accountable under the sentencing
guidelines as a manager or supervisor. That increased his

guideline range because he was the ultimate authority in this

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scheme. He was the driving force, the one that made it happen
and made it continue to happen and directed others in these
activities. And as indicated by counsel for the government,
what 1s particularly egregious about this case is that even
after the search warrant was executed and Mr. Rosetti was on
notice that this activity was criminal, it continued. The
presentence report documented, I believe, some 93 sales to Mary
Mahoney's alone after the date of the execution of the search
warrant.

The sentencing factor here, of course, is the
circumstances of the offense, which the Court has just
described. This is a very serious offense, and that's another
factor the Court takes into account.

Mr. Rosetti ig in a criminal history category of a I.
He's a zero-point offender. And the government has recommended
a sentence in the lower half of the guideline range, which the
Court will accept, for the record; however, that is mooted by
the fact that the guideline range is 12 months.

The sentence needs to promote respect for the law. The
conduct in this case, in the Court's view, shows zero respect
for the law, not just the initiation of this scheme, the fact
that it was ongoing for so long, it took advantage of so many
individuals and entities, but that it then continued after the
search warrant had been executed on the property.

The need to afford adequate deterrence to criminal conduct

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is another factor as well. The need to deter Mr. Rosetti from
engaging in this type of behavior in the future, but also to
deter others who may be inclined to engage in it. This type of
conduct is difficult to detect and investigate, so a deterrent
effect is important.

It needs to protect the public. In this case, although
the Court has determined it's too difficult to identify and
notify them, there were at least 200 to 300 wholesale and
retail customers over the years that were victimized by this
conduct, most completely unaware of what was taking place.

They were then, in turn, selling this misbranded fish to
their own customers who became victims as well. And it has
cast a cloud of suspicion over other restaurants and casinos
who were, as far as they knew, operating on honestly.

They took advantage of the fishermen, took advantage of
customers. And it ig arguably called into question the
reputation of a number of unsuspecting customers who now have a
cloud of suspicion over them simply because of what's happened
here, even though they had no knowledge this was going on. The
sentence needs to protect the public for those reasons. And it
needs to take into account the avoidance of unwanted
disparities in sentencing, roles, relative responsibility, and
the relative roles individuals played in this conspiracy are
factors the Court takes into account.

With respect to Mahoney's, who has been sentenced, they

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were, of course, held accountable for their own purchases and
sales to their own customers. What Quality was doing was more
far-reaching and extensive, went on for longer and was far more
widespread, and indeed blatant because it continued after the
execution of the search warrant. Mr. Rosetti was the train
driving a lot of that. So that's another factor the Court
takes into account.

And for all of those reasons the Court will impose
sentence as follows. The Court has considered the advisory
sentencing guideline computations and the sentencing factors
found at Title 18, United States Code, Section 3553. And it is
hereby the judgment of this court that the defendant, Todd
Anthony Rosetti, is hereby committed to the custody of the
Bureau of Prisons for a term of eight months as to Count 1 of
the bill of information. This sentence constitutes a downward
variance from the guideline imprisonment range, but the Court
finds it to be appropriate in light of the 3553 factors as the
Court has just discussed them on the record here today,
including the history and characteristics of the defendant, the
nature and circumstances of the offense, to reflect the
seriousness of the offense, to promote respect for the law, to
afford a just punishment, and to afford adequate deterrence to
others who wish to engage in similar criminal conduct.

The variance is appropriate in light of mitigating

factors, including the defendant's lack of prior criminal

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history and his acceptance of responsibility once charged in
this case.

The Court does find, however, that further reduction to a
sentence of probation would not be warranted in light of the
3553 factors as the Court has discussed them, including, but
not limited to, his continued criminal conduct following the
notice of a federal criminal investigation and his role as the
manager or supervisor in the offense. For all these reasons,
the Court finds the sentence to be appropriate.

It is further ordered that the defendant pay a fine in the
amount of $1,000, which is the cap under the guidelines.
Payment of the fine is due immediately and must be paid in full
no later than 30 days after entry of judgment in this case.
Payment of the fine shall be made to the U.S. District Court
clerk for the Southern District of Mississippi.

Upon release from imprisonment, the defendant shall be
placed on supervised release for a term of one year as to Count
1 of the bill of information.

Within 72 hours of release from the custody of the Bureau

jof Prisons, the defendant shall report in person to the

probation office in the district to which he is released.

While on supervised release, the defendant shall comply
with the mandatory conditions of supervision set forth at Title
18, United States Code, Section 3583(d). Further, the Court

finds the standard conditions of supervision listed on the

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| judgment order, which have been adopted by the Court and have
not been objected to by the defendant, are reasonably related
to the factors set forth at Title 18, United States Code,
Section 3553 (a) (1), (a) (2) (A), (B), (C} and (B), and involve no
greater deprivation of liberty than reasonably necessary for
the purposes set forth in that section.

Further, in the Court's view, these conditions are
consistent with the policy statements issued by the Sentencing
Commission pursuant to Title 28, United States Code, Section
994{a). Therefore, the defendant shall comply with the
standard conditions of supervision listed on the judgment
order, and this includes a prohibition on the possession of a
firearm.

In addition, the following special conditions are imposed:

Number 1, the defendant shall be placed on home detention
for a period of 180 days to be monitored by RF monitoring
equipment, and shall abide by all technology requirements of
the location monitoring program. As part of this program, the
defendant shall be restricted to his approved residence at all
times, except for employment, education, religious services,
medical, substance use or mental health treatment, attorney
visits, court appearances, court-ordered obligations, or
essential leave activities as preapproved by the U.S, Probation
Office.

The defendant shall pay all or part of the costs of

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participation in the location monitoring program, including
equipment loss and damage as directed by the Court and/or his
supervising probation officer. The Court finds this to be an
appropriate condition in light of an alternative to a longer
term of imprisonment. This will serve to add a measure of
punishment to the sentence in this case,

Number 2, the defendant shall complete 100 hours of
community service work during the term of supervision. The
defendant shall perform the community service work at specific
times agreed upon with the approved community service agency
and U.S. Probation Office. The defendant is responsible for
providing verification of completed hours to the U.S. Probation
Office.

This condition is imposed in light of the fine in this
case, that it's far below what the ordinary guideline fine
range would have been, and also to afford the defendant an
opportunity to give something back to the community.

Number 3, the defendant shall not incur new credit charges
or open additional lines of credit without the approval of the
probation office until such time as the fine is paid in full.

Number 4, the defendant shall provide the probation office
with access to any requested financial information, and must
notify the Court of any changes in economic circumstances which
may affect the ability to pay the imposed financial penalties.

Number 5, the defendant shall pay all criminal monetary

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penalties imposed by the Court in accordance with the schedule

of payments as outlined in the judgment.

These three conditions are imposed in light of the fine in
this case, to ensure the defendant remains in compliance with
that part of the sentence, and to facilitate probation office
supervision regarding same.

The Court further orders the defendant pay a mandatory
special assessment of $25, which is due immediately.

Further, in light of the facts and circumstances of this
case, the Court will not impose restitution, as doing so would
unduly burden and complicate the sentencing process and
needlessly prolong it for the reasons the Court has stated
previously.

The Court recommends that the defendant be designated to a
facility closest to his home for which he is eligible to
facilitate family visitation. And the defendant is ordered to
surrender for service of his sentence at the institution
idesignated by the Bureau of Prisons as instructed or to the
U.S. Marshal Service for later than 60 days from date of
sentencing.

So that will be the judgment of the Court. Anything
further at this time?

MS. JONES: No, Your Honor.
THE COURT: Anything else?

MR. HOLLOMON: No, Your Honor.

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THE COURT: In that case, counsel, you are excused.

Court stands in recess.

(HEARING CONCLUDED)

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CERTIFICATE OF COURT REPORTER

I, Sherri L. Penny, RPR, FCRR, Official Court Reporter
for the United States District Court for the Southern District
of Mississippi, appointed pursuant to the provisions of Title
28, United States Code, Section 753, do hereby certify that the
foregoing is a correct transcript of the proceedings reported
by me using the stenotype reporting method in conjunction with
computer-aided transcription, and that same is a true and
licorrect transcript to the best of my ability and understanding.

I further certify that the transcript fees and format
comply with those prescribed by the Court and the Judicial

Conference of the United States.

Sf Sherrv L. Permy
OFFICIAL COURT REPORTER

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SOUTHERN DISTRICT OF MISSIGSIPP! |
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IN THE UNITED STATES DISTRICT COURT APR 26 2024
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI oo
SOUTHERN DIVISION ia
UNITED STATES OF AMERICA
CRIMINAL NO. | OY
, L2H or 45 War eM
MARY MAHONEY’S OLD FRENCH HOUSE, INC. 18 U.S.C. § 371

18 U.S.C. § 1343
21 US.C. § 331(k)
21 U.S.C. § 333(a)(2)

The United States Attorney charges:

At all times relevant to the allegations of this Information:

1. Defendant, MARY MAHONEY’S OLD FRENCH HOUSE (“MAHONEY’S”),
established in 1962, was a Mississippi corporation operating as a restaurant in Biloxi,

Mississippi, prominently advertising that it served local seafood to its customers.

2. Co-conspirator No. 1 was a co-owner of Defendant MAHONEY’S and purchased fish

and other food that MAHONEY’S prepared and served to its customers.

3. Co-conspirator No. 2 was a Mississippi corporation operating in Biloxi as a wholesale
supplier of poultry and seafood to restaurants, casinos, and retail markets. It also sold poultry

and seafood to the general public from its retail outlet and served meals to customers at its cafe.

PLAINTIFF’S
EXHIBIT

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4. Co-conspirator No. 3 became Co-conspirator No. 2’s Business Manager in 2014 after
working at Co-conspirator No. 2 for about six years. He was a certified public accountant and
oversaw all of Co-conspirator No. 2’s businesses and its approximately thirty-five employees. In
that position Co-conspirator No. 3 managed Co-conspirator No. 2’s purchases of seafood from
its suppliers and monitored the prices that Co-conspirator No, 2’s charged its wholesale and

retail customers. _

5. Co-conspirator No. 4 was Co-conspirator No. 2’s sales manager, supervising the
company’s sales staff. He has been employed at Co-conspirator No. 2 since 1993. Co-
conspirator No. 4 was responsible for overseeing Co-conspirator No. 2’s sales to restaurants,
casinos, and other wholesale customers both directly and through the salesmen of Co-conspirator

No. 2 whom he managed.

One-Count Conspiracy To Profit by Fraudulently Misbranding Seafood and
Using Interstate Wire Transmissions to Execute the Scheme to Defraud

6. Ata time no later than 2012, and as early as 2002, and continuing through November
2019, Mahoney’s, Co-conspirator No. 1, Co-conspirator No. 2, Co-conspirator No. 3, Co-
conspirator No. 4, and others, knowingly and willfully agreed and conspired to commit the
following criminal offenses against the United States:

a. With the intent to defraud, mislead consumers, and thereby to profit, the conspirators
knowingly received imported fish that they held for sale after shipment in interstate commerce to
facilitate its misbranding and sale as a premium higher priced local species, in violation of Title
21, United States Code, Sections 331(k) and 333(a)(2). A food is misbranded if its labeling and
description is false and misleading in any particular. Title 21, United States Code, Section

343(a).

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b. To advance their scheme to defraud, the conspirators knowingly made use of interstate
wire transmissions to facilitate the sale of misbranded fish, in violation of Title 18, United States

Code, Section 1343.

The Purpose of the Conspiracy

7, It was the objective of the conspirators and the purpose of their conspiracy to benefit
financially by misbranding and by aiding and facilitating the misrepresentation of the species of
fish they and others sold, often representing as locally sourced premium fish, species that were

neither the species identified on the menu, for which customers were charged nor, as represented,

locally caught in the Mississippi Gulf.
Manner and Means of the Conspiracy

8. The following were among the means and methods employed by the defendant
Mahoney and its coconspirators to carry out the conspiracy and to achieve its unlawful
objectives:

a, Defendant MAHONEY’S and co-conspirators 1, 2, 3, and 4, and others
working as their employees and agents, by using interstate wire transmissions, purchased frozen
seafood sourced from foreign countries and waters that were not those of the Mississippi Gulf,
with the intent to advertise and sell them to Co-conspirator No. 2’s retail customers, Mississippi
restaurants, and to the customers of Mississippi restaurants as local premium species when they
were neither local nor the species they were advertised to be. The conspirators thereby
benefitted from the sale of seafood that would not have been as marketable nor as profitably sold

if its actual species and origin had been known.

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b. Defendant MAHONEY’S and Co-conspirator No. 1, and others, advertised and
sold to their customers seafood they purchased from Co-conspirator No. 2, the wholesale
supplier of poultry and seafood, and from other seafood suppliers, falsely claiming it to be fresh
locally sourced premium species, including Red Snapper, Snapper, and Redfish, when they knew
full well it was neither the species it was represented to be on MAHONEY ’S menu nor sourced
from local waters, as advertised. The conspirators thereby benefitted from the sale of seafood
that would not have been as marketable nor as profitably sold if its actual species and origin had

been known.

c. Defendant MAHONEY’S advertised its menu and misbranded seafood on the

website https://www.velp.com, The MAHONEY’S menu on this website and elsewhere stated,

“all of our seafood is caught in our bountiful gulf waters,” to appeal to customers seeking local

Guif Coast seafood.

Overt Acts in Furtherance of the Conspiracy

9. In furtherance of this conspiracy and to achieve its objectives, at least one of the
conspirators identified above, in the Southern District of Mississippi, committed at least one of
the following overt acts:

I. Co-conspirator 2’s Sales to Restaurants of Fish Species Not Appearing on Their Menus
(1) On January 26, 2015, Co-conspirator No, 3 emailed the following text to Co-
conspirator No. 4: “We need to raise the price of perch on Mary Mahoney’s perch we are getting
Th.”
(2) On or about November 4, 2016, Co-conspirator No. 2 sold Triggerfish to

local restaurant A for use as a substitute for premium local fish.

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(3) Ina text message dated July 5, 2017, co-conspirator No. 4 wrote to co-
conspirator No, 1 of Mahoney’s: “Still have no triple tail I’m sending you trigger-style fish 8 —
10 to use till we get it back in stock. An employee of [Co-conspirator No. 2] is using it already
instead of triple tail at the [local restaurant] and said he has used it for grouper snapper and triple
tail with no complaints. And it’s cheaper than triple tail.” Co-conspirator No. | responded,
“Ok”

(4) On or about July 25, 2017, Co-conspirator No. 2 sold fish it represented on its
menu to be the local premium fish Red Snapper which was determined by genetic analysis not to

be to be Red Snapper but an imported species of lesser value.

(5) On or about September 29, 2017, Co-conspirators No. 4 and No, 2 sold

Triggerfish to local restaurant A for use as a substitute for premium local fish.

(6) Ina January 19, 2018 email, a purchasing agent employed by Co-conspirator
No. 2, notified Co-conspirators No. 3 and No. 4, and other employees of Co-conspirator No. 2,
“Due to the shortage on snapper we will be substituting triple tail for all snapper.” Triple tail was

not a local fish but was imported by Co-conspirator No. 2 from Suriname in South America.

(7) In an April 16, 2018 email, Co-conspirator No. 3 sent the following

instructions to Co-conspirator No, 4 and other members of the Co-conspirator No, 2’s sales staff:

“I don’t understand why we are giving Perch away [African Lake Victoria Perch “L.VP”]. This
is a replacement for the triple tail which were selling at $8.99 and $9.99. Now we are selling
perch at $5.69 if we can’t get at least $6.99 or $7.99 then it’s not worth bringing it in here. This
is a product that no one else has and it is versatile, Raise the price and make money where we

can make money!”

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(8) Co-conspirator No. 4 replied to Co-conspirator No, 1’s September 19, 2018,
text order for LVP with the text, “Tomorrow FDA here today.” Co-conspirator No. 1 responded,

“Ok”
II. Efforts to Conceal the Conspiracy: False Denials

(9) When questioned by Food and Drug Administration (“FDA”) agents during
their September 19, 2018 search of the premises of Co-conspirator No. 2, Co-conspirator No. 3
told the agents that if anyone in Co-conspirator No. 2’s retail market was labeling a fish with a

name other than its true name, it was done without his approval and without his knowledge.

(10) When questioned by federal agents during their September 19, 2018 search
of the premises of Co-conspirator No. 2, Co-conspirator No. 3 told the agents that Co-conspirator

No. 2 does not ship any fish outside of the State of Mississippi.

(11) When questioned by federal agents during their September 19, 2018 search
of Co-conspirator No. 2, Co-conspirator No. 3 told the agents that Co-conspirator No. 2 had sold

fish to Mary MAHONEY ’S restaurant in Biloxi, Mississippi, but not much anymore.

(12) When questioned by federal agents during their September 19, 2018, search
of the poultry and seafood wholesaler, Co-conspirator No. 3 of Co-conspirator No.2, told the
agents that he was not aware of any restaurant customer mislabeling and selling fish bought from
Co-conspirator No. 2 as something other than what it was, such as selling a cheap fish as an

expensive one.

(13) When questioned by federal agents during their September 19, 2018 search

of the premises of Co-conspirator No. 2, Co-conspirator No. 4 told the agents that any

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mislabeling of fish by Co-conspirator No. 2 was inadvertent and he did not know of any

mislabeling of fish by the restaurants to which Co-conspirator No, 2 sold seafood.

II. Co-conspirator No. 2’s Seafood Sales to Mahoney’s
During and After the September 19, 2018 Federal Search Warrant at premises of
Co-conspirator No, 2
(14) On September 19, 2018, while an authorized federal search of the premises
of Co-conspirator No, 2 was underway, Co-conspirator No. | sent an electronic text message to
Co-conspirator No. 4 ordering the imported frozen African freshwater fish, LVP, which his

restaurant, Defendant Mahoney’s, regularly mislabeled and sold to customers as local

Mississippi Gulf Coast Snapper.

(15) Eight days after FDA’s search of the premises of Co-conspirator No. 2, ina
September 27, 2018 text to Co-conspirator No. 4, Co-conspirator No. 1 ordered 150 pounds of

LVP in order to sell it to customers of Defendant MAHONEY’S restaurant as Snapper.

(16) About a month after FDA’s search of the premises of Co-conspirator No. 2
in an October 18, 2018, text to Co-conspirator No. 4, Co-conspirator No. | ordered 60 pounds of

LVP for sale by Defendant MAHONEY’S restaurant as Snapper.

(17) In an October 18, 2018 text, after Co-conspirator No. 4 informed him that
the wholesalers Co-conspirator No. 2 was unlikely to obtain more LVP, “Perch about to be

nonexistant,” Co-conspirator No. | instructed him to “Get all they have.”

(18) In a February 21, 2019 text, Co-conspirator No. 4 told to Co-conspirator No.
1, “We have 110 cases of perch left when that is gone there is no more. FYI we are looking for

alternatives. Unicorn, triple tail and parrot fish are always good alternatives.”

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(19) Ina responsive February 21, 2019 text, Co-conspirator No. 1 told Co-

conspirator No, 4, not to sell the remaining cases of LVP to any other customers, “I will buy

them.” Co-conspirator No. 4 responded, “You come bring me a check and I will set it aside for

you.
IV. Additional 2019 Sales from Co-conspirator No. 2 to Mahoney’s
Of Fish Not Appearing on MAHONEY’S Menu
net | Date | Invoice «Ne spectes | Sold” | Delivered | Pound | TOHl
20 01/07/19 01-305315 Lake Perch - Africa 120.0 $5.95 $714.00
21 OVID 01-305620 Lake Perch - Africa 80.0 $5.95 $476.00
22 OU/IS/19 01-305792 Lake Perch - Africa 100.0 $5.95 $595.00
23 O1V/21/19 01-306128 Lake Perch - Africa 60,0 $5.95 $357.00
24 01/25/19 | 01-306393 | Lake Perch - Africa 100.0 $5.95 $595.00
25 OM/31/19 01-306697 Lake Perch - Africa 80.0 $5.95 $476.00
26 02/05/19 | 01-306984 | Lake Perch - Africa 120.0 $5.95 $714.00
27 02/08/19 | 01-307209 | Lake Perch - Africa 60.0 $5.95 $357.00
28 02/13/19 01-307475 Lake Perch - Africa 200.0 $5.95 $1,190.00
29 02/20/19 01-307927 Lake Perch - Africa 140.0 $5.95 $833.00
30 02/21/19 01-307993 Lake Perch - Africa 1,080.0 $5.95 $6,426.00
31 02/26/19 01-308276 Lake Perch - Africa 100.0
32 03/04/19 01-308678 Lake Perch - Africa 100.0
33 03/07/19 01-308827 Lake Perch - Africa 80.0
34 03/13/19 0:1-309236 Lake Perch- Africa 100.0
35 03/16/19 01-309509 Lake Perch - Africa 100,60
36 03/19/19 01-309645 | Triple Tail- Suriname | 2,000.0 $7.99 $15,980.00
37 03/20/19 01-309694 Lake Perch - Africa 60.0
38 03/22/19 01-309903 Lake Perch - Africa 100.0
39 03/27/19 01-310191 Lake Perch - Africa 200.0

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Overt Date Invoice # Fish Sold as a Premium| Pounds Pounds Price per Total
Act Local Species Sold Delivered Pound
40 04/01/19 | 01-310525 Lake Perch - Africa 100.0
4| 04/05/19 | 01-310837 Lake Perch - Africa 100.0
42 04/0/19 | O1-311145 Lake Perch - Africa 100.0
43 04/15/19 01-311451 | Triple Tail - Suriname 100.0
44 04/18/19 | O1-311707 | Triple Tail - Suriname 100.0
45 04/25/19 | O1-312136 | Triple Tail - Suriname 100.0
46 05/02/19 | O1-312640 | Triple Tail - Suriname 50.0
47 05/07/19 | 01-312938 | Triple Tail - Suriname 100.0
48 05/10/19 | O1-313166 | Triple Tail - Suriname $0.0
49 05/15/19 | 01-313455 | Triple Tail - Suriname 100.0
50 05/20/19 01-313783 | Triple Tail - Suriname 100.0
5] 05/28/19 | 01-314272 | Triple Tail - Suriname 100.0
$2 06/03/19 01-314630 | Triple Tail - Suriname 100.0
53 06/05/19 | 01-314769 | Triple Tail - Suriname 100.0
54 06/10/19 | O1-315053 | Triple Tail - Suriname 100.0
55 O6/11/19 | O1-315150 | Triple Tail - Suriname 100.0
56 06/12/19 | 01-315209 | Triple Tail - Suriname 100.0
37 06/18/19 01-315583 | Triple Tail - Suriname 100.0
58 06/20/19 01-315747 | Triple Tail - Suriname 100.0
59 06/20/19 | 01-315748 | Triple Tail - Suriname 500.0 $8.29 $4,145.00
60 06/24/19 01-315963 | Triple Tail- Suriname 100.0
61 06/28/19 01-316279 | Triple Tail - Suriname 100.0
62 07/02/19 | 01-316459 | Triple Tail - Suriname 100.0
63 07/09/19 | 01-316811 | Triple Tail - Suriname 100.0
64 O7/1S5/19 | 01-317168 | Triple Tail - Suriname 100.0
65 O7/18/19 01-317377 | Triple Tail - Suriname 100.0
66 07/22/19 01-317556 | Triple Tail - Suriname 100.0

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Overt Date Invoice # Fish Sold asa Premium; Pounds Pounds Price per Total
Act Local Species Sold Delivered Pound

67 07/26/19 01-317857 | Triple Tail - Suriname 160.6

68 07/30/19 01-318016 | Triple Tail - Suriname 160.0

69 08/05/19 01-318333 | Triple Tail - Suriname 100,0

70 08/08/19 01-318527 | Triple Tail - Suriname 60.0

7h 08/13/19 01-318773 Unicorn-India 150.0 $7.99 $1,198.50
72 08/15/19 01-318913 Unicom-India 50.0 $7.99 $399.50
23 08/22/19 01-319526 Unicorn-India 100.0 $7.99 $799.00
74 08/23/19 | O1-319385 Unicorm-India 50.0 $6.99 $349.50
75 08/27/19 | 01-319547 Unicorn-India 100.0 $6.99 $699.00
76 09/03/19 | 01-319898 Unicorn-India 100.0 $6.99 $699.00
77 09/06/19 01-320138 Unicorn-India 100.6 $6.99 $699.00
78 09/16/19 | 01-320622 | Triple Tail- Suriname 100.0 $8.95 $895.00
79 09/19/19 | 01-320845 | Triple Tail - Suriname 100.0 $8.95 $895.00
80 09/24/19 | O1-321115 | Triple Tail - Suriname 100.0 $8.95 $895,00
81 09/27/19 01-321304 | Triple Tail - Suriname 100.0 $8.95 $895.00
82 10/04/19 | 01-321715 | Triple Tail - Suriname 100.0 $8.95 $895.00
83 10/08/19 01-321890 | Triple Tail - Suriname 50.0 $8.95 $447.50
84 10/11/19 | G1-322091 | Triple Tail - Suriname 100.0 $8.95 $895.00
85 10/16/19 | 01-322337 | Triple Tail - Suriname 50.0 $8.95 $447.50
86 10/24/19 | O1-322810 | Triple Tail - Suriname 50.0 $8.95 $447.50
87 10/23/19 | 01-322721 | Triple Tail - Suriname 100.0 $8.95 $895.00
88 10/29/19 01-323056 ; Triple Tail - Suriname 60.0 $8.95 $537.00
89 10/31/19 | 01-323175 | Triple Tail - Suriname 100.0 $8.95 $895.00
90 11/07/19 | O1-323565 | Triple Tail - Suriname 60.0 $8.95 $537.00
91 11/12/E9 | 01-323832 | Triple Tail - Suriname 60.0 $8.95 $537.00
92 11/15/19 |} 01-324064 | Triple Tail - Suriname 100.0 $8.95 $895.00

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V. Sales Facilitated by Interstate Wire Transmissions
(93) Between May 26 and August 16, 2019, and longer, Defendant Mary
MAHONEY’S posted its menu on the website www. yelp advertising the sale of premium local

species for which the defendant substituted imported frozen fish of a lesser value.

VI. Summary of Co-conspirator No, 2’s Sales of Fish that
MAHONEY’S Misbranded and Served

10. Between December 2013 and November 2019, the Defendant MAHONEY’S and
other co-conspirators, with the intent to mislead and defraud consumers, knowingly and willfully
arranged for Co-conspirator No. 2 to supply to Defendant MAHONEY’S approximately 58,750
pounds (over 29 tons) of imported Lake Victoria Perch, Trigger Fish, Triple Tail, and Unicorn
Filefish. These species did not appear on the Defendant MAHONEY’S menu nor on its website

but were fraudulently sold to MAHONEY’S customers under the names and at the higher prices

of local premium fish.
All in violation of Title 18, United States Code, Section 371.

NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

13. As aresult of committing the offense as alleged in this Information, the defendant shall
forfeit to the United States all property involved in or traceable to property involved in the offenses,
including but not limited to all proceeds obtained directly or indirectly from the offenses, and all
property used to facilitate the offenses. Further, if any property described above, as a result of any
act or omission of the defendant: (a) cannot be located upon the exercise of due diligence; (b) has
been transferred or sold to, or deposited with, a third party; (c) has been placed beyond the
jurisdiction of the Court; (d) has been substantially diminished in value; or (e) has been

commingled with other property, which cannot be divided without difficulty, then it is the intent
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of the United States to seek a judgment of forfeiture of any other property of the defendant, up to
the value of the property described in this notice or any bill of particulars supporting it.
Specifically, a monetary forfeiture amount of $1,350,000,
All pursuant to Tile 18, United States Code, Sections 981(a)(1)(C) and 982(a)(1); and Title

28, United States Code, Section 2461.

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TODD W. GEE
United States Attorne

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TODD KIM “by Al, Armes
Assistant Attorney General SPRIG-
Environment & Natural Resources Division

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UNITED,STATES DISTRICT COURT
SOUTHERN DISTRICT or SSORISSIPPI

OR I L i D\
IN THE UNITED STATES DISTRICT COURT ( Ak
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI \ , \ May 30, 2024

SOUTHERN DIVISION \i
ARTHUR J eS Gupte

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UNITED STATES OF AMERICA
v. CRIMINAL NO. 1:24cr45-HSO-RPM

MARY MAHONEY’S OLD FRENCH HOUSE, INC,

PLEA AGREEMENT
Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the United

States of America, and defendant Mary Mahoney’s Old French House, Inc. (“Mahoney’s”)
through their undersigned attorneys agree as follows:
I. Obligations of the Parties

1, Defendant Mahoney’s agrees to plead guilty to a felony Information charging the
corporation with participating in a Title 18, United States Code, Section 371, conspiracy to defraud
its customers by marketing mislabeled seafood, in violation of Title 21, United States Code,
Sections 331(k) and 333(a)(2), and in having used interstate wire transmissions to facilitate the
fraud, in violation of Title 18, United States Code, Section 1343.

2. Defendant Mahoney’s acknowledges that it understands the nature and elements of the
offense to which it agrees to plead guilty. The defendant waives its right to have a separate sealed
plea supplement as provided by Local Rule 49.1(B)(2).

3. Defendant Mahoney’s agrees to pay the forfeitures, and costs set forth herein and
otherwise to fulfill the sentence proposed in this Agreement if so ordered by the Court.

4, The United States Attorney's Office for the Southern District of Mississippi and the
Environmental Crimes Section of United States Department of Justice ("the Government") will: (a)

recommend that the Court accept the defendant's plea of guilty; (b) recommend that the Court

PLAINTIFF’S
EXHIBIT

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sentence the defendant as set forth below; (c) inform the United States Probation Office and the

Court of this Agreement, the nature and extent of the defendant's activities with respect to this case

and all other activities of the defendant the government or the Court deems relevant to sentencing.
iI. Conditions and Waivers

5, Defendant Mahoney’s acknowledges that the sentence the parties propose to the Court
in this Plea Agreement is only a recommendation that the Court may accept or reject and that the
Court may impose some other sentence that it determines to be just.

6. Defendant Mahoney’s understands that the penalty that may be imposed for its plea of
guilty to the Information is to be determined according to the factors set forth in Title 18, United
States Code, Sections 3553 and 3572. Ifa penalty is imposed it is to be determined under Title
18, United States Code, Section 3571(c)(1) and (d), with the maximum penalty being Probation
not more than five (5) years, Supervised release of not more than three (3) years, and a $500,000
fine pursuant to Title 18, United States Code, Section 3571 (c), or not more than the greater of twice
the gross gain or twice the gross loss pursuant to Title 18, United States Code, Section 3571(d),
whichever is greater.

7. Defendant Mahoney’s acknowledges that in pleading guilty, it is giving up the right: (a)
to plead not guilty and to persist in that plea; (b) to have its guilt or innocence determined by a
jury after it has considered the evidence presented at trial; (c) to confront and cross-examine
adverse witnesses; (d) to testify and to present evidence; (e) and to compel the attendance and
testimony of witnesses.

8. The Information setting forth the charges is incorporated by reference into this Plea
Agreement. By entering into this Plea Agreement, Mahoney’s admits to the facts alleged in the
Information and that it is in fact guilty of these offenses.

9. If the guilty plea is entered and defendant Mahoney’s fulfills all of the terms of this Plea

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Agreement, the United States will not file any additional criminal charges against the defendant
arising from the facts set forth in the Information.

10. Defendant Mahoney’s understands and acknowledges that it is entering into this Plea
Agreement and is pleading guilty freely and voluntarily because it is guilty and that its plea has not
been induced by any threat, coercion, or intimidation of any kind. Defendant Mahoney’s
acknowledges complete satisfaction with the representation of its counsel and the advice it has
received in connection with this Plea Agreement.

11. Having agreed to plead guilty to the one-count Information, defendant Mahoney’s
acknowledges that it is not a prevailing party as defined in Title 18, United States Code, Section
3006A (statutory note captioned “Attomey Fees and Litigation Expenses to Defense”) and hereby
expressly waives its right to sue the United States for its prosecution in this case.

12. No additional promises, agreements, or conditions have been made concerning this
matter other than those expressly set forth herein, and none will be made unless in writing and
signed by all parties to this Agreement.

13. Defendant Mahoney’s and its officers agree to continue to provide truthful and
complete information to federal authorities concerning all matters pertaining to the charges to
which it has agreed to plead guilty and agree to cooperate fully with the government in providing
assistance and truthful information and testimony in any investigation and prosecution the
government undertakes relating to the charges at issue here.

14, Defendant Mahoney’s understands that this Agreement does not protect it or any of its
officers or employees from prosecution for perjury should an authorized representative of
Mahoney’s testify untruthfully or for making false statements nor does it protect these parties from
prosecution for other crimes or offenses which the United States discovers by independent

investigation. Further, should the defendant fail to comply fully with the terms and conditions set

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forth herein, this Agreement is voidable at the election of the United States, and the defendant may

be subject to prosecution as if the Agreement had never been made.

HI, Recommended Sentence
15. The parties hereby agree to recommend the following sentence that the parties submit is

just and equitable and an appropriate punishment for the crimes set forth in the accompanying
Information to which defendant Mahoney’s has agreed to plead guilty:

(a) Defendant Mahoney’s agrees to forfeit $1,350,000 which it will pay to the
United States Marshals Service, as directed by the U.S. Attorney's Office, within five business
days of the Court's entry of the judgment and conviction.

(b) Defendant Mahoney’s and the government agree that the forfeiture payment
represents a fair and just resolution of all issues associated with loss and fine calculations,

(c) In consideration of the Defendant’s forfeiture payment, the Government
agrees to recommend that a fine of $150,000 be imposed.

(d) Consistent with Title 18, United States Code, Section 3561(c)(1), defendant
Mahoney’s shall be subject to five years of probation, which shall include the following
conditions:

(i) The defendant shall not commit another federal, state, or local crime,
(ii) The defendant shall maintain for no less than five years records

describing the species, sources, and cost of the seafood it acquires for sale to its customers. The
defendant shall make these records available to any federal, state, or local governmental authority
that regulates or monitors the service and distribution of food for human consumption and to any
such agency that regulates the harvesting, storage, labeling, or sale of seafood,

(iii) The defendant shall answer truthfully any inquiry from any

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governmental agency and from any customer as to the species, source, and cost of any seafood it
prepares, serves, sells, or advertises lor sale.

(ce) The Courts shall maintain jurisdiction over this case for a period sulfictent to
assure compliance with this sentence.

16. Prior to or at the fime of sentencing, defendant Mahoney's will pay a special
assessment of $400 per count as required in Title 18, United States Code, Section 3013(a)(2)(B).
This payment shall be made to the United States District Court, at the United States Clerk's
Office, 2012 15th Street, Suite 403, Gulfport, Mississippi 39501. The defendant will furnish to
the Government a receipt or other evidence of payment at the time of sentencing,

TODD W. GEE

United States Attorney
Southern eee
Andtewl tans Date: 5/ 36/. ZY
ANDREA C. JONES

Assistant United States Attorney
Southern District of Mississippi

TODD KIM

Assistant Attorney General
Environment and Natural Resource Division
United States Dsparygen! SP Just tep

Date: Loop: 9 O29

senior’ Trial Attorney
Environmental Crimes Section

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Authorized Agent for Mary
Mahoney’s Old French House, Inc.

(oN _ Date: Mom 28,4 a2

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Attorhey for
Old French |

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SOUTHERN DISTRICT OF, Sater

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ACTION BY UNANIMOUS WRITTEN CONSENT WITHOUT A vente 3012024 /
THE BOARD OF DIRECTORS OF MARY MAHONEY’S NaHS J ons tony Crypt

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The undersigned, being all of the directors of Mary Mahoney’s, Inc., a Mississippi Carporaiion
(“Corporation”) in good standing with the office of the Secretary of State of Mississippi, acting by
written consent without a meeting, do hereby consent to the adoption of the following resolution
and direct that this Unanimous Written Consent (“Consent”) be filed with the minutes of the
proceedings of the Board of Directors ( the “Board of Directors”) of the Corporation:

WHEREAS the Board of Directors wish to provide their unanimous written consent for the
Corporation on the following corporate matters (the “Matters”):

1. Authorize Eileen Mahoney Ezell, Director and Vice-President of the Corporation to
appear on the behalf of the Corporation as Corporate Representative to enter a plea in
the matter styled United States of America v. Mary Mahoney's Old French House Inc.
Cause No. 1: 24cr45 at the Federal Courthouse in Gulfport on May 30, 2024 in
accordance with the Plea Agreement attached to this Resolution.

WHEREAS each individual director has had the opportunity to fully research, analyze and discuss
the Matters as necessary to fulfill the Directors’ fiduciary obligations:

NOW THEREFORE, it is hereby RESOLVED that the Board of Directors and each individually
consent to authorize Eileen Mahoney Ezell to appear as authorized representative of the Company
to appear and enter a plea on behalf of the Corporation as stated in paragraph No. 1.

IN WITNESS WHEREOF, the undersigned directors have duly executed this Consent to be
effective as of the 29" day of May 2024.

| Date: May 29, 2024.

Robert F. Moloney, Jr., Director

Cain. Vobuon,

Eileen Mahoney Ezell, Direor

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Andrea Cvitanovich Osman

PLAINTIFF’S
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

UNITED STATES OF AMERICA
v. CRIMINAL NO. 1:24cr45-HSO-RPM

MARY MAHONEY’S OLD FRENCH HOUSE, INC.

PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the United
States of America, and defendant Mary Mahoney’s Old French House, Inc. (“Mahoney’s”)
through their undersigned attorneys agree as follows:

I, Obligations of the Parties

1, Defendant Mahoney’s agrees to plead guilty to a felony Information charging the
corporation with participating in a Title 18, United States Code, Section 371, conspiracy to defraud
its customers by marketing mislabeled seafood, in violation of Title 21, United States Code,
Sections 331(k) and 333(a)(2), and in having used interstate wire transmissions to facilitate the
fraud, in violation of Title 18, United States Code, Section 1343.

2, Defendant Mahoney’s acknowledges that it understands the nature and elements of the
offense to which it agrees to plead guilty. The defendant waives its right to have a separate sealed

plea supplement as provided by Local Rule 49.1(B)(2).

3. Defendant Mahoney’s agrees to pay the forfeitures, and costs set forth herein and
otherwise to fulfill the sentence proposed in this Agreement if so ordered by the Court.

4, The United States Attorney's Office for the Southern District of Mississippi and the
Environmental Crimes Section of United States Department of Justice ("the Government") will: (a)

recommend that the Court accept the defendant's plea of guilty; (b) recommend that the Court

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sentence the defendant as set forth below; (c) inform the United States Probation Office and the

Court of this Agreement, the nature and extent of the defendant's activities with respect to this case

and all other activities of the defendant the government or the Court deems relevant to sentencing.
iI, Conditions and Waivers

5, Defendant Mahoney’s acknowledges that the sentence the parties propose to the Court
in this Plea Agreement is only a recommendation that the Court may accept or reject and that the
Court may impose some other sentence that it determines to be just.

6. Defendant Mahoney’s understands that the penalty that may be imposed for its plea of
guilty to the Information is to be determined according to the factors set forth in Title 18, United
States Code, Sections 3553 and 3572. Ifa penalty is imposed it is to be determined under Title
18, United States Code, Section 3571(c)(1) and (d), with the maximum penalty being Probation
not more than five (5) years, Supervised release of not more than three (3) years, and a $500,000
fine pursuant to Title 18, United States Code, Section 357/(c), or not more than the greater of twice
the gross gain or twice the gross Joss pursuant to Title 18, United States Code, Section 3571(d),
whichever is greater,

7. Defendant Mahoney’s acknowledges that in pleading guilty, it is giving up the right: (a)
to plead not guilty and to persist in that plea; (b) to have its guilt or innocence determined by a
jury after it has considered the evidence presented at trial; (c) to confront and cross-examine
adverse witnesses; (d) to testify and to present evidence; (e) and to compel the attendance and
testimony of witnesses.

8. The Information setting forth the charges is incorporated by reference into this Plea
Agreement. By entering into this Plea Agreement, Mahoney’s admits to the facts alleged in the
Information and that it is in fact guilty of these offenses.

9, If the guilty plea is entered and defendant Mahoney’s fulfills all of the terms of this Plea

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Agreement, the United States will not file any additional criminal charges against the defendant
arising from the facts set forth in the Information.

10. Defendant Mahoney’s understands and acknowledges that it is entering into this Plea
Agreement and is pleading guilty freely and voluntarily because it is guilty and that its plea has not
been induced by any threat, coercion, or intimidation of any kind. Defendant Mahoney's
acknowledges complete satisfaction with the representation of its counsel and the advice it has
received in connection with this Plea Agreement.

[1. Having agreed to plead guilty to the one-count Information, defendant Mahoney’s
acknowledges that it is not a prevailing party as defined in Title 18, United States Code, Section
3006A (statutory note captioned “Attorney Fees and Litigation Expenses to Defense”) and hereby
expressly waives its right to sue the United States for its prosecution in this case.

12. No additional promises, agreements, or conditions have been made concerning this
matter other than those expressly set forth herein, and none will be made unless in writing and
signed by all parties to this Agreement.

13. Defendant Mahoney’s and its officers agree to continue to provide truthful and
complete information to federal authorities concerning all matters pertaining to the charges to
which it has agreed to plead guilty and agree to cooperate fully with the government in providing
assistance and truthful information and testimony in any investigation and prosecution the
government undertakes relating to the charges at issue here.

14, Defendant Mahoney’s understands that this Agreement does not protect it or any of its
officers or employees from prosecution for perjury should an authorized representative of
Mahoney’s testify untruthfully or for making false statements nor does it protect these parties from
prosecution for other crimes or offenses which the United States discovers by independent

investigation. Further, should the defendant fail to comply fully with the terms and conditions set

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forth herein, this Agreement is voidable at the election of the United States, and the defendant may

be subject to prosecution as if the Agreement had never been made.

IIL. Recommended Sentence
15. The parties hereby agree to recommend the following sentence that the parties submit is

just and equitable and an appropriate punishment for the crimes set forth in the accompanying
Information to which defendant Mahoney’s has agreed to plead guilty:

(a) Defendant Mahoney’s agrees to forfeit $1,350,000 which it will pay to the
United States Marshals Service, as directed by the U.S. Attorney's Office, within five business
days of the Court's entry of the judgment and conviction.

(b) Defendant Mahoney’s and the government agree that the forfeiture payment
represents a fair and just resolution of all issues associated with loss and fine calculations.

(c) In consideration of the Defendant’s forfeiture payment, the Government
agrees to recommend that a fine of $150,000 be imposed.

(d) Consistent with Title 18, United States Code, Section 3561(c)(1), defendant
Mahoney’s shall be subject to five years of probation, which shall include the following
conditions:

(i) The defendant shall not commit another federal, state, or local crime.
(ii) The defendant shall maintain for no less than five years records

describing the species, sources, and cost of the seafood it acquires for sale to its customers. The
defendant shall make these records available to any federal, state, or local governmental authority
that regulates or monitors the service and distribution of food for human consumption and to any
such agency that regulates the harvesting, storage, labeling, or sale of seafood.

(iii) The defendant shall answer truthfully any inquiry from any

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governmental agency and from any customer as to the species, source, and cost of any seafood it
prepares, serves, sells, or advertises for sale.

(ec) The Courts shall maintain jurisdiction over this case for a period sufficient to
assure compliance with this sentence.

16. Prior to or at the time of sentencing, defendant Mahoney's will pay a special
assessment of $400 per count as required in Title 18, United States Code, Section 3013(a)(2)(B).
This payment shall be made to the United States District Court, al the United States Clerk's
Office, 2012 [Sth Street, Suite 403, Gulfport, Mississippi 39501, The defendant will furnish to
the Government a receipt or other evidence of payment al the Lime of sentencing.

TODD W. GEE

United States Attorney

Southern District of Mississippi
Andes bans Date: /#
ANDREA C. JONES

Assistant United States Attorney

Southern District of Mississippt

TODD KIM
Assistant Attorney General
[nvironment and Natural Resource Division

Unites? States OG

Of Justice” ”
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Environmental Crimes Section

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Authorized Agent for Mary
Mahoney’s Old French House, Inc,

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Attorney for
Old French

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APR 25 2024

ARTHUR JOHNSTON

See. DEPUTY

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

BY

UNITED STATES OF AMERICA
CRIMINAL NO. |. 24 (Ep HO) PAK

v.

ANTHONY CHARLES CVITANOVICH 21 U.S.C. § 331(k)
21 U.S.C. § 333(a)(2)

The United States Attorney charges:

At all times relevant to the allegations of this Information:

1. Defendant ANTHONY CHARLES CVITANOVICH (“Cvitanovich”) was a co-owner
of Mary Mahoney’s Old French House, (“Mahoney's”), a Mississippi corporation operating as a
restaurant in Biloxi, Mississippi, prominently advertising on its menu in the Southern Division of
the Southern District of Mississippi, and elsewhere, that it served local seafood to its customers.
Defendant Cvitanovich purchased fish that his restaurant advertised, described on its menu, and
sold to its customers.

2. It isa felony violation of Title 21, United States Code, Sections 331(k) and 333(a)(2),
knowingly to cause the misbranding of fish held for sale after shipment in interstate commerce in
order to facilitate its fraudulent sale as a premium higher priced local species. A food is
misbranded if its labeling and description is false and misleading.

3, On September 19, 2018, a federal search warrant was executed upon ANTHONY
CHARLES CVITANOVICH'’s chief seafood supplier from whom he purchased inexpensive
imported fish for his restaurant to sell as higher priced local premium species, While they were
arranging such a sale, the supplier’s sales manager informed the Defendant Cvitanovich of the

PLAINTIFF’S
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presence of federal investigators and suggested that they postpone their further discussion of
scafood sales until federal agents departed. ‘Thereafier, Defendant Cvitanovich knowingly and
willfully continued to purchase imported and other inexpensive seafood from the same supplier
and then to advertise and sell it at his restaurant! as premium local species when they were neither
premium nor local.

4, During 2018 and 2019, with the intent to mislead and defraud consumers, and thereby
to profit, Defendant CVITANOVICH knowingly and willfully caused the mislabeling of
approximately 17,190 pounds of the following fish held for sale after shipment in interstate
conmnerce in order to facilitate its fraudulent sale as a premium higher priced local species:

Lake Victoria Perch from Africa; Triple Tail from Suriname; and Unicorn Filefish from India.

Allin violation of Title 21, United States Code, Sections 33 1(k) and 333(aj(2).

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Assistant Attorney General
Environment & Natural Resources Division

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UNITED.STATES DISTRICT. COURT
SOUTH) ERN DISTRICT OF MISS[SSIPPI

/Fire DS

Subject Date Ch 4 May 30) 2024 Hy

United States y. Anthony Charles Cvitanovich | March 7, 2O2ARIHUR IDENT DNS Cush
Criminal No, 1:24cr46-HSO-BWR te. ore

PLEA AGREEMENT

To: From:

Tim C, Holleman Jeremy F, Korzenik Andrea C. Jones
Boyce Holleman & Associates Senior Trial Attorney Asst. U.S, Attorney
1720 23rd Ave./Boyce Holleman Blvd Environmental Crimes Sec. . Southern Dist. of MS
Gulfport, MS 39501 USS. Dept. of Justice Criminal Division

Washington, DC 20044 Gulfport, MS 39201

Anthony Charles Cvitanovich, Defendant herein, and Tim C. Holleman, attorney for the
Defendant, have been notified and understand and agree to the items contained herein, as well as

in the Plea Supplement, and that:

1. Count of Conviction. It is understood that, as of the date of this plea agreement,

Defendant and Defendant’s attorney have indicated that Defendant desires to plead guilty to the
one-count Information charging him with mislabeling of inexpensive imported seafood as local
premium species to profit from its fraudulent sale in violation of Title 21, United States Code,
Sections 331(k) and 333(a)(2).

2s Sentence, Defendant understands that the penalty for the offense in the
Information to which the Defendant will plead guilty is imprisonment for not more than three
years, or a fine of not more than $10,000, or both, and a term of supervised release of not more
than one year. Defendant further understands that a term of supervised release will be imposed,
and that the term will be in addition to any prison sentence imposed. If any of the terms of
supervised release are violated, the Defendant may be returned to prison for the entire term of
supervised release without any credit for any time already served on the term of supervised

Page 1 of 7 PLAINTIFF’S
U.S. v. Cvitanovich .T
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release prior to the Defendant’s violation of those conditions, Defendant also understands that
the Court may require Defendant to pay restitution in this matter in accordance with applicable
law. Defendant further understands that Defendant is liable to make restitution for the full
amount of the loss determined by the Court, to include relevant conduct, which amount is not
limited to the count of conviction. Defendant further understands that if the Court orders
Defendant to pay restitution, restitution payments cannot be made to the victim directly but must
be made to the Clerk of Court, Southern District of Mississippi,

3. Determination of Sentencing Guidelines. It is further understood that the

United States Sentencing Guidelines are advisory only and that Defendant and Defendant's
attorney have discussed the fact that the Court must review the Guidelines in reaching a decision
as to the appropriate sentence in this case, but the Court may impose a sentence other than that
indicated by the Guidelines if the Court finds that another sentence would be more appropriate.
Defendant specifically acknowledges that Defendant is not relying upon anyone's calculation of a
particular Guideline range for the offense to which Defendant is entering this plea and recognizes
that the Court will make the final determination of the sentence and that Defendant may be
sentenced up to the maximum penalties set forth above.

4. Breach of This Agreement and Further Crimes. It is further understood that
should Defendant fail or refuse as to any part of this plea agreement or commit any further
crimes, then, at its discretion, the U.S. Attorney may treat such conduct as a breach of this plea
agreement and Defendant's breach shall be considered sufficient grounds for the pursuit of any

prosecutions which the U.S, Attorney has not sought as a result of this plea agreement, including

Page 2 of 7
US. v. Cvitanovich
1:24cr46-HSO-BWR

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any such prosecutions that might have been dismissed or otherwise barred by the Double
Jeopardy Clause, and any federal criminal violation of which this office has knowledge.

5. Financial Obligations. It is further understood and specifically agreed to by
Defendant that, at the time of the execution of this document or at the time the plea is entered,
Defendant will then and there pay over the special assessment of $100.00 per count required by
Title 18, United States Code, Section 3013, to the Office of the United States District Court
Clerk; Defendant shall thereafter produce proof of payment to the U.S. Attorney or the U.S.
Probation Office. If the Defendant is adjudged to be indigent, payment of the special assessment
at the time the plea is entered is waived, but Defendant agrees that it may be made payable first
from any funds available to Defendant while Defendant is incarcerated. Defendant understands
and agrees that, pursuant to Title 18, United States Code, Section 3613, whatever monetary
penalties are imposed by the Court will be due and payable immediately and subject to
immediate enforcement by the United States as provided in Section 3613. Furthermore,
Defendant agrees to complete a Department of Justice Financial Statement no later than the day
the guilty plea is entered and provide same to the undersigned AUSA. Defendant also agrees to
provide all of Defendant’s financial information to the Probation Office and, if requested, to
participate in a pre-sentencing debtor's examination. Ifthe Court imposes a schedule of
payments, Defendant understands that the schedule of payments is merely a minimum schedule
of payments and not the only method, nor a limitation on the methods, available to the United
States to enforce the judgment. If Defendant is incarcerated, Defendant agrees to participate in
the Bureau of Prisons’ Inmate Financial Responsibility Program regardless of whether the Court

specifically directs participation or imposes a schedule of payments, Defendant understands and

Page 3 of 7
U.S. v. Cvitanovich
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agrees that Defendant shall participate in the Treasury Offset Program until any and all monetary
penalties are satisfied and paid in full by Defendant.

6. Transferring and Liguidating Assets. Defendant understands and agrees that

Defendant is prohibited from transferring or liquidating any and all assets held or owned by
Defendant as of the date this Plea Agreement is signed, Defendant must obtain prior written
approval from the U.S. Attorney’s Financial Litigation Program prior to the transfer or
liquidation of any and all assets after this Plea Agreement is signed and if Defendant fails to do
so the Defendant understands and agrees that an unapproved transfer or liquidation of any asset
shail be deemed a fraudulent transfer or liquidation and a violation of this agreement.

7. Future Direct Contact With Defendant. Defendant and Defendant’s attorney

acknowledge that if forfeiture, restitution, a fine, or special assessment or any combination of
forfeiture, restitution, fine, and special assessment is ordered in Defendant’s case that this will
require regular contact with Defendant during any period of incarceration, probation, supervised
release, and possibly thereafter. Further, Defendant and Defendant’s attorney understand that it
is essential that defense counsel contact the U.S. Attorney’s Financial Litigation Program
immediately after sentencing in this case to confirm in writing whether defense counsel will
continue to represent Defendant in this case and in matters involving the collection of the
financial obligations imposed by the Court. If the U.S. Attorney does not receive any written
acknowledgment from defense counsel within two weeks from the date of the entry of Judgment
in this case, the U.S. Attorney will presume that defense counsel no longer represents Defendant
and the Financial Litigation Program will communicate directly with Defendant regarding
collection of the financial obligations imposed by the Court. Defendant and Defendant’s

attorney understand and agree that such direct contact with Defendant shall not be deemed an

Page 4 of 7
US. v. Cvitanovich
1:24cr46-HSO-BWR

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improper ex parte contact with Defendant if defense counsel fails to notify the U.S. Attorney of
any continued legal representation within two weeks after the date of entry of the Judgment in
this case.

8. Waivers. Defendant, knowing and understanding all of the matters aforesaid,
including the maximum possible penalty that could be imposed, and being advised of
Defendant’s rights to remain silent, to trial by jury, to subpoena witnesses on Defendant’s own
behalf, to confront the witnesses against Defendant, and to appeal the conviction and sentence, in
exchange for the U.S. Attorney entering into this plea agreement and accompanying plea
supplement, hereby expressly waives the following rights (except that Defendant reserves the
right to raise ineffective assistance of counsel claims):

a. the right to appeal the conviction and sentence imposed in this case, or the
manner in which that sentence was imposed, on the grounds set forth in Title 18, United

States Code, Section 3742, or on any ground whatsoever; provided, however, that the

Defendant retains the right to exercise a direct appeal of the sentence imposed if the

Court departs from the sentencing guidelines.

b, the right to contest the conviction and sentence or the manner in which the

sentence was imposed in any post-conviction proceeding, including but not limited to a

motion brought under Title 28, United States Code, Section 2255, and any type of

proceeding claiming double jeopardy or excessive penalty as a result of any forfeiture

ordered or to be ordered in this case, and

uM

C. any right to seek attorney fees and/or costs under the “Hyde Amendment,

Title 18, United States Code, Section 3006A, and the Defendant acknowledges that the

Page 5 of 7
U.S, v. Cvitanovich
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government’s position in the instant prosecution was not vexatious, frivolous, or in bad
faith, and

d, all rights, whether asserted directly or by a representative, to request or
receive from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including without limitation any records that
may be sought by Defendant or by Defendant’s representative under the Freedom of
Information Act, set forth at Title 5, United States Code, Section 552, or the Privacy Act
of 1974, at Title 5, United States Code, Section 552a,

€. Defendant further acknowledges and agrees that any factual issues
regarding the sentencing will be resolved by the sentencing judge under a preponderance
of the evidence standard, and Defendant waives any right to a jury determination of these
sentencing issues. Defendant further agrees that, in making its sentencing decision, the
district court may consider any relevant evidence without regard to its admissibility under
the rules of evidence applicable at trial.
Defendant waives these rights in exchange for the United States Department of

Justice entering into this plea agreement and accompanying plea supplement.

9. Complete Agreement. It is further understood that this plea agreement and the

plea supplement completely reflect all promises, agreements and conditions made by and

between the United States Attorney’s Office for the Southern District of Mississippi and the

United States Department of Justice’s Environmental Crimes Section and Defendant.

Page 6 of 7
U.S. v. Cvitanovich
1:24cr46-HSO-BWR

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Defendant and Defendant’s attorneys of record declare that the terms of this plea
agreement have been:

1, READ BY OR TO DEFENDANT;

2. EXPLAINED TO DEFENDANT BY DEFENDANT'S ATTORNEY;
3, UNDERSTOOD BY DEFENDANT;

4, VOLUNTARILY ACCEPTED BY DEFENDANT; and

5. AGREED TO AND ACCEPTED BY DEFENDANT,

WITNESS OUR SIGNATURES, as set forth below,

WITNESS OUR SIGNATURES, as set forth below.

TODD W, GEE
United States Attorney

Ante. ©. Gir 5-40-24
Andrea C. Jones # Date
Assistant United States Attorney

TODD KIM
Assistant Attorney Gencral
Environmental and Natural, Resources Division

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sae Korzenik

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Seniet Trial Attorney

ate
Environmental Crimes Section
United States Department of Justice

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Anthony Charles Cvitanovich Date
Defendgrt
Tifn C. Holleman Date

Attorney for Defendant

Page 7 of 7
U.S. v. Cvitanovich

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SOUTHERN DISTRICT OF MISSISSIPPI

FILED

IN THE UNITED STATES DISTRICT COURT JUL 31 2024
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

ARTHUR JOHNSTON

SOUTHERN DIVISION BY sais

UNITED STATES OF AMERICA
criMINALNO. 17 d4¢e¥% HS0-RPM
Vi
QUALITY POULTRY AND SEAFOOD, INC., 18 U.S.C. § 371
21 U.S.C. §331(k)

21 U.S.C. § 333(a)(2)
18 U.S.C. § 1343

The United States Attorney charges:

At all times relevant to the allegations of this Indictment:
Defendants

1. Defendant QUALITY POULTRY AND SEAFOOD (“QPS”) was a Mississippi
corporation operating in Biloxi as a wholesale supplier of poultry and seafood to restaurants,
casinos, and retail markets. It also sold poultry and seafood to the general public from its retail
outlet and served meals to customers at its cafe.

2. Individual #1 was QPS’s Sales Manager, supervising the company’s sales staff, He
has been employed at QPS since 1993. Individual #1, the son of one of QPS’s co-owners, was
responsible for oversecing QPS’s sales to restaurants, casinos, and other wholesale customers
both directly and through the QPS salesmen he managed.

3. Individual #2 became QPS’s Business Manager in 2014 after working at QPS for
about six years. He was a certified public accountant and oversaw all of QPS’s businesses and
its approximately thirty-five employees. In that position Individual #2 managed QPS’s
purchases of seafood from its suppliers and monitored the prices that QPS charged its wholesale

and retail customers.

PLAINTIFF’S
EXHIBIT

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4, Coconspirator #1 was a Mississippi corporation operating as a restaurant in Biloxi
prominently advertising that it served local seafood to its customers.

5. Individual #3 was a co-owner of Coconspirator #1 and purchased fish and other food
that the restaurant prepared and served to its customers.

Applicable Laws

6. The Federal Food, Drug, and Cosmetic Act, Title 21 United States Code Sec, 301, et
seq, regulates the production and marketing of food, drugs, and cosmetics transported and sold in
interstate commerce. Title 21, United States Code, Section 331(k), prohibits the alteration,
mutilation, destruction, obliteration, or removal of the whole or any part of the labeling of, or the
doing of any other act with respect to, a food, drug, device, tobacco product, or cosmetic, if such
act is done while such article is held for sale (whether or not the first sale) after shipment in
interstate commerce and results in such article being adulterated or misbranded. A food is
misbranded if its labeling and description is false and misleading in any particular and if it is
offered for sale under the name of another food. Title 21, United States Code, Section 343(a)
and (b).

7. Itis a felony to misbrand a food and to violate any provision of Title 21, United States
Code, Section 331, with the intent to defraud or mislead. Title 21, United States Code, Section
333(a)(2).

8. It is a felony for any person having devised or intending to devise any scheme or
artifice to defraud, or for obtaining money or property by means of false or fraudulent pretenses,
representations, or promises, to transmit or cause to be transmitted by means of wire, radio, or

television communication in interstate or foreign commerce, any writings, signs, signals,
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pictures, or sounds for the purpose of executing such scheme or artifice. Title 18, United States
Code, Section 1343.
COUNT I

Conspiracy to Misbrand Seafood and to
Use Interstate Wire Transmissions to Execute a Scheme to Defraud

9, Ata time no later than 2015, and as early as 1999, and continuing through November
2019, defendant QPS, Coconspirator #1, and others, knowingly and willfully agreed and
conspired to commit the following criminal offenses against the United States:

a. With the intent to defraud and mislead consumers, the conspirators knowingly
received fish that they held for sale after shipment in interstate commerce to facilitate its
misbranding by offering it for sale under the name of another food, specifically, premium higher
priced local fish species, in violation of Title 21, United States Code, Sections 331(k) and
333(a)(2).

b. To advance their scheme to defraud, the conspirators knowingly transmitted
and caused interstate wire transmissions of writings, signs, signals, and pictures to facilitate the
sale of misbranded fish, in violation of Title 21, United States Code, Sections 331(k) and
333(a)(2), and in violation of Title 18, United States Code, Section 1343,

The Purpose of the Conspiracy
10. It was the purpose of the conspirators and the objective of their conspiracy to benefit
financially by misrepresenting and by facilitating the misrepresentation of the fish they and
others sold as focally-sourced premium fish, when, as the conspirators well knew, they were not
the local popular species advertised and identified on menus and for which customers were

charged.
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Manner and Means of the Conspiracy

11. The following are among the means and methods employed by the defendant and its
coconspirators to carry out the conspiracy and to achieve its unlawful objectives:

a, Defendant QPS, Conspirator #1, and others, working as their employees and
agents, purchased frozen seafood from foreign countries and from waters that were not the
Mississippi Gulf, with the intent to advertise and sell them to QPS retail customers, Mississippi
restaurants, and to the customers of Mississippi restaurants as local premium species when they
were not local and not the species they were advertised to be. The conspirators thereby
benefitted from the sale of seafood that would not have been as marketable or as profitable if its
actual species and origin had been truthfully identified.

b. Defendant OPS and others working as their employees and agents,
recommended and sold to Conspirator #1, and others, inexpensive fish that, by taste and
appearance, could be substituted for the premium local species advertised with little likelihood of
detection. The conspirators thereby benefitted from the sale of seafood that would not have been
as marketable or as profitable if its actual species and origin had been known.

c. Conspirator #1, advertised Conspirator #1’s menu of misbranded seafood ona _
publicly accessible website hosted on a server outside of Mississippi. To appeal to customers
seeking local Gulf Coast seafood, the menu on their website and elsewhere stated, “all of our
seafood is caught in our bountiful gulf waters”

d. Coconspirators QPS and Conspirator #1 obtained payment, directly and
indirectly, through interstate wire transmissions generated by credit card sales of their

fraudulently misbranded seafood.

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Overt Acts in Furtherance of the Conspiracy
12. In furtherance of this conspiracy and to achieve its objectives, at least one of the
conspirators identified above, in the Southern District of Mississippi, committed at least one of
the following overt acts:
I. OPS’s Sates to Restaurants of Fish Species Not Appearing on Their Menus

(1) On January 26, 2015, Individual #2 sent the following text to Individual #1:
“We need to raise the price of perch on [Conspirator #1’s] perch we are getting 7%.”

(2) In or around 2015 while standing inside Defendant QPS’s large freezer
containing boxes of imported frozen seafood, Individual #1 handed to Individual #3 packages of
three different fish suggesting that Individual #3 sample each and decide which would best
substitute for the local premium species on Conspirator #1’s menu.

(3) On or about November 4, 2016, Defendant QPS sold Triggerfish to local
Restaurant A for use as a substitute for premium local fish.

(4) Ina text message dated July 5, 2017, Individual #1 of QPS wrote to
Individual #3: “Still have no triple tail I’m sending you trigger-style fish 8 ~ 10 to use till we get
it back in stock, [Employee of Restaurant A] is using it already instead of triple tail at the
[Restaurant A] and said he has used it for grouper snapper and triple tail with no complaints. And
it’s cheaper than triple tail....” Individual #3 responded, “Ok”.

(5) On or about July 25, 2017, Defendant QPS sold fish to a customer that OPS
represented to be the local premium fish Red Snapper which was determined by genetic analysis

not to be Red Snapper but was instead an imported species of lesser value.

(6) On or about September 29, 2017, Defendant QPS and Individual #1 sold

Triggerfish to local Restaurant A for use as a substitute for premium local fish.

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(7) Ina January 19, 2018 email, a QPS seafood purchasing agent notified
Individuals #1 and #2, and other QPS employees, “Due to the shortage on snapper we will be
substituting triple tail for all snapper.” Triple tail was not a local fish but was imported by QPS
from Suriname in South America.

(8) In an April 16, 2018, email, Individual #2 sent the following instructions to
Individual #1 and other members of the QPS sales staff: “I don’t understand why we are giving
Perch away [African Lake Victoria Perch “LVP”]. This is a replacement for the triple tail which
were selling at $8.99 and $9.99, Now we are selling perch at $5.69 if we can’t get at least $6.99
or $7.99 then it’s not worth bringing it in here. This is a product that no one else has and it Is
versatile, Raise the price and make money where we can make money!”

(9) During the September 19, 2018, execution of a search warrant by the U.S.
Food and Drug Administration (“FDA”) at QPS, Individual #1 replied to Individual #3’s text
order for LVP, “Tomotrow[,] FDA here today.” Individual #3 responded, “Ok.”

Il. Efforts to Conceal the Conspiracy: False Denials

(10) When questioned by FDA agents during their September 19, 2018, search of
OPS, Individual #2 falsely told the agents that if anyone in QPS’s retail market was labeling a
fish with a name other than its true name, it was done without his approval and without his
knowledge.

(11) When questioned by federal agents during their September 19, 2018, search

of QPS, Individual #2 told the agents that QPS does not ship any fish outside of the State of

Mississippi.

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(12) When questioned by federal agents during their September 19, 2018, search
of OPS, Individual #2 told the agents that QPS had, in the past, sold fish to Conspirator #1’s
restaurant in Biloxi, Mississippi, but not much anymore.

(13) When questioned by federal agents during their September 19, 2018, search
of OPS, Individual #2 falsely told the agents that he was not aware of any restaurant customer
mislabeling and selling fish bought from QPS as something other than what it was, such as
selling a cheap fish as an expensive one.

(14) When questioned by federal agents during their September 19, 2018, search
of QPS, Individual #1 falsely told the agents that any mislabeling of fish by QPS was
inadvertent and he did not know of any mislabeling of fish by the restaurants to which QPS sold

seafood.

IT, OPS’s Seafood Sales to Coconspirator #1
During and After the September 19, 2018, Federal Search at OPS

(15) On September 19, 2018, while an authorized federal search of QPS was
underway, Individual #3 sent an electronic text message to Individual #1 ordering LVP, which

his restaurant, Conspirator #1, regularly mislabeled and sold to customers as local Mississippi

Gulf Coast Snapper.
(16) Eight days after FDA’s search of OPS, in a September 27, 2018, text to

Individual #1, Individual #3 ordered 150 pounds of LVP in order to sell it to customers of

Conspirator #1’s restaurant as Snapper.

(17) About a month after FDA’s search of Defendant OPS, in an October 18,

2018, text to Individual #1, Individual #3 ordered 60 pounds of LVP for sale by Conspirator #1’s

restaurant as Snapper.
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(18) In an October 18, 2018, text, after Individual #1 informed him that QPS was
unlikely to obtain more LVP, “Perch about to be nonexistant,” Individual #3 instructed him to
“Get all they have.”

(19) In a February 21, 2019, text, Individual #1 told to Individual #3, “We have

110 cases of perch left when that is gone there is no more. FY] we are looking for alternatives.

Unicorn, triple tail and parrot fish are always good alternatives.”

(20) Ina responsive February 21, 2019, text, Individual #3 told Individual #1, not

to sell the remaining cases of LVP to any other customers, “I will buy them.” Individual #1

responded, “You come bring me a check and J will set it aside for you.”

Fish not delivered when sold was held by QPS for delivery at Conspirator #1’s Request

IV, Additional 2019 QPS Sales to Conspirator #1
Of Fish Misbranded on Conspirator #1’s Menu

of fish species not identified on Conspirator #1’s Menu

The Overt Acts below are the individual deliveries by QPS and Individual #1 to Conspirator #1

Overt Act] Date Invoice # Premium Local Pounes nas d pce Ber Total
Species
21 61/07/19 | 01-305315 Lake Perch - Africa 120 120 $5.95 $714.00
22 OI/LN/19 | 01-305620 Lake Perch - Africa 80 80 $5.95 $476.00
23 GI/1S/19 | 01-305792 Lake Perch ~ Africa 160 100 $5.95 $595.00
24 O1/21/19 | 01-306128 Lake Perch - Africa 60 60 $5.95 $357.00
25 01/25/19 | 01-306393 Lake Perch - Africa 100 100 $5.95 $595.00
26 OL/3 1/49 | OL-306697 Lake Perch - Africa 80 80 $5.95 $476.00
27 02/05/19 | 01-306984 Lake Perch - Africa 120 120 $5.95 $714.00
28 02/08/19 | 01-307209 Lake Perch - Africa 60 60 $5.95 $357.00
29 O2NB19 | 01-307475 Lake Perch - Africa 200 200 $5.95 $1,190.00
30 02/20/19 01-307927 Lake Perch - Africa 140 140 $5.95 $833.00

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Overt Act] Date Invoice # Premivn Local Pounds Pounds Price per T
Species Sold | Delivered | Pound otal

31 02/21/19 | 01-307993 Lake Perch - Aftica 1,080 $5.95 $6,426.00
32 02/26/19 | 01-308276 Lake Perch - Africa 100

33 03/04/19 | 01-308678 Lake Perch - Africa 100

34 03/07/19 | 01-308827 Lake Perch - Africa 80

35 03/13/19 | 01-309236 Lake Perch- Africa i100

36 03/16/19 | 01-309509 Lake Perch - Africa 100

37 03/19/19 | 01-309645 | Triple Tail- Suriname | 2,000 $7.99 $15,980.00
38 03/20/19 | 01-309694 Lake Perch - Africa 60

39 03/22/19 | 01-309903 Lake Perch - Africa 100

40 03/27/19 | 01-310191 Lake Perch - Africa 200

4] 04/01/19 | 01-310525 Lake Perch - Africa 100

42 04/05/19 | 01-310837 Lake Perch - Africa 100

43 O4/10/19 | O1-311145 Lake Perch - Africa 100

44 04/15/19 | 01-311451 | Triple Tail - Suriname 100

45 04/18/19 | 01-311707 | Triple Tail - Suriname 100

46 04/25/19 | 01-312136 | Triple Tail - Suriname 100

47 05/02/19 | 01-312640 | Triple Tail - Suriname 50

48 05/07/19 | 01-312938 | Triple Tail - Suriname 100

49 05/10/19 | 01-313166 | Triple Tail - Suriname 50

50 05/15/19 | 01-313455 | Triple Tail - Suriname 100

51 05/20/19 | 01-313783 | Triple Tail - Suriname 100

52 05/28/19 | 01-314272 | Tripie Tail - Suriname 100

53 06/03/19 | 01-314630 | Triple Tail - Suriname 100

54 06/05/19 | 01-314769 | Triple Tail - Suriname 100

55 O6/10/19 | 01-315053 | Tripie Tail - Suriname 100

56 O6/L1/19 | 01-315150 | Triple Tail - Suriname 100

57 O6/E2/19 | 01-315209 | Triple Tail - Suriname 100

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Overt Act] Date | Invoice # Premium Local Pounds | Pounds | Price per Tot
Species Sold Delivered Pound al
Pp

58 06/18/19 | O1-315583 | Triple Tail - Suriname 100

59 06/20/19 | 01-315747 | Triple Tail - Suriname 100

60 06/20/19 | 01-315748 | Triple Tail - Suriname 500 $8.29 $4,145.00
61 06/24/19 | 01-315963 | Triple Tail- Suriname 100

62 06/28/19 | 01-316279 | Triple Tail - Suriname 100

63 07/02/19 | 01-316459 | Triple Tail - Suriname 100

64 07/09/19 | 01-316811 | Triple Tail - Suriname 100

65 OT/15/19 | 01-317168 | Triple Tail - Suriname 100

66 OW/I8/19 | 01-317377 | Triple Tail - Suriname 100

67 07/22/19 | 01-317556 | Triple Tail - Suriname 100

68 07/26/19 | 01-317857 | Triple Tail - Suriname 100

69 07/30/19 | O1-318016 | Triple Tail - Suriname 100

70 08/05/19 | 01-318333 | Triple Tail - Suriname 100

71 08/08/19 | 01-318527 | Triple Tail - Suriname 60

72 08/13/19 | 01-318773 Unicom-India 150 150| $7.99 $1,198.50
73 08/15/19 | 01-318913 Unicorn-India 30 50 $7.99 $399.50
74 08/22/19 | 01-319526 Unicorn-India 100 100| $7.99 $799.00
75 08/23/19 | 01-319385 Unicorn-India 50 50 | $6.99 $349.50
16 08/27/19 | 01-319547 Unicorn-India 100 100; $6.99 $699.00
77 09/03/19 | 01-319898 Unicorn-India 100 100 | $6.99 $699.00
77 09/06/19 | 01-320138 Unicorn-India 100 100] $6.99 $699.00
79 09/16/19 | O1-320622 | Triple Tail- Suriname 100 100] $8.95 $895,060
80 09/19/19 | O1-320845 | Triple Tail - Suriname 100 100| $8.95 $895.00
81 09/24/19 | 01-321115 | Triple Tail - Suriname 100 100} $8.95 $895.00
82 09/27/19 | 01-321304 | Triple Tail - Suriname 100 100} $8.95 $895,060
83 10/04/19 | 01-321715 | Triple Tail - Suriname 100 100} $8.95 $895.00
84 10/08/19 | 01-321890 | Triple Tail - Suriname $0 100 | $8.95 $447.50

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Overt Act] Date Invoice # Preralum Lacal Pounds Pounds Price per Total
Species Sold Delivered Pound a
P

85 10/11/19 | 01-322091 | Triple Tail - Suriname 100 100] $8.95 $895.00
86 10/16/19 | 01-322337 | Triple Tail - Suriname 50 100] $8.95 $447.50
87 10/24/19 | 01-322810 |{ Triple Tall - Suriname 50 100; $8.95 $447.50
88 10/23/19 | 01-322721 | Triple Tail - Suriname 100 100; $8.95 $895.00
89 10/29/19 | 01-323056 | Triple Tail - Suriname 60 100; $8.95 $537.00
90 10/31/19 | 01-323175 | Triple Tail - Suriname 100 100 | $8.95 $895.00
91 11/07/19 | 01-323565 | Triple Tail - Suriname 60 100} $8.95 $537.00
92 11/12/19 | 01-323832 | Triple Tail - Suriname 60 100 | $8.95 $537.00
93 11/15/19 | 01-324064 | Triple Tail - Suriname 100 100} = $8.95 $895.00

V. Sales Facilitated by Interstate Wire Transmissions

(94) Between May 26, 2019, and August 16, 2019, Conspirator #1 posted its

menu on the publicly-accessible website www.marymahoney.com, which was hosted outside of

Mississippi, advertising the sale of premium local species for which Defendant QPS, Conspirator

#1, Individual #3, and Individual #1, and Individual #2, substituted imported frozen fish of lesser

value.

(95) On or about August 16, 2019, Conspirator #1 processed a credit card

transaction causing an interstate wire transmission. The transaction was for payment of seafood

purchased by a customer from Conspirator #1. Defendant QPS, Individual #1, and Individual

#2, supplied the misbranded seafood that Conspirator #1 sold to their customer, falsely

representing it to be the local premium species, Snapper.

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VI. Summary of QPS’s Sates of Fish to
Conspirator #1 for Misbranding and Sale

13, Between December 2013 and November 2019, the defendant QPS and other
conspirators, with the intent to defraud and mislead consumers, knowingly and willfully arranged
for Defendant QPS to supply to Conspirator #1, approximately 58,750 pounds (over 29 tons) of
imported Lake Victoria Perch, Trigger Fish, Triple Tail, and Unicorn Filefish for sale under the
names of other more popular species. The accurate species names did not appear on Conspirator
#1’s menu nor on its website and instead were fraudulently sold to its customers under the names

and at the higher prices of local premium fish,
All in violation of Title 18, United States Code, Section 371.

NOTICE OF INTENT TQ SEEK CRIMINAL FORFEITURE

14, Asa result of committing the offenses as alleged in this Indictment, the defendant shall
forfeit to the United States all property involved in or traceable to property involved in the offenses,
including but not limited to all proceeds obtained directly or indirectly from the offenses, and all
property used to facilitate the offenses. Further, if any property described above, as a result of any
act or omission of the defendant: (a) cannot be located upon the exercise of due diligence; (b) has
been transferred or sold to, or deposited with, a third party; (c) has been placed beyond the
jurisdiction of the Court; (d) has been substantially diminished in value; or (e) has been
commingled with other property, which cannot be divided without difficulty, then it is the intent
of the United States to seek a judgment of forfeiture of any other property of the defendant, up to

the value of the property described in this notice or any bill of particulars supporting it.

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All pursuant to Title 18, United States Code, Sections 981 (a)(1)(C) and 982(a)(1); and Title

28, United States Code, Section 2461.

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PODD W. GEE
United States Attorney

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TODD KIM ¢ ° by Midoner
Assistant Attorney General Wash
Environment & Natural Resources Division

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UNITED.STATES DISTRICT COURT
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S I L E BY \
IN THE UNITED STATES DISTRICT COURT [. i, 3
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI \Aug 27) 2024 =]
SOUTHERN DIVISION \n
ARTHUR JOHNSTON; rhe
UNITED STATES OF AMERICA
v. CRIMINAL NO, 1:24cr89-HSO-RPM

QUALITY POULTRY AND SEAFOOD, INC.

PLEA AGREEMENT
Pursuant to Rule 1 1(c)(1)(B) of the Federal Rules of Criminal Procedure, the United

States of amnetloa, and defendant Quality Poultry and Seafood, Inc. (QPS) through their
undersigned attomeys agree as follows:
I, Obligations of the Parties

1. Defendant QPS agrees to plead guilty to a felony Information charging the corporation
with participating in a Title 18, United States Code, Section 371, conspiracy to defraud its
customers by marketing mislabeled seafood, in violation of Title 21, United States Code, Sections
331(k) and 333(a)(2), and in having used interstate wire transmissions to facilitate the fraud, in
violation of Title 18, United States Code, Section 1343.

2. Defendant QPS acknowledges that it understands the nature and elements of the offense
to which it agrees to plead guilty. The defendant waives its right to have a separate sealed plea
supplement as provided by Local Rule 49.1(B)(2).

3. Defendant QPS agrees to pay the forfeitures, and costs set forth herein and otherwise to

fulfill the sentence proposed in this Agreement if so ordered by the Court,

PLAINTIFF’S
U.S. v. Quality Poultry and Seafood, Inc.
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Page 1 of 6

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4. The United States Attomey’s Office for the Southem District of Mississippi and the
Environmental Crimes Section of United States Department of Justice ("the Government") will: (a)
recommend that the Court accept the defendant's plea of guilty; (b) recommend that the Court
sentence the defendant as set forth below; (c) inform the United States Probation Office and the
Court of this Agreement, the nature and extent of the defendant's activities with respect to this case
and all other activities of the defendant the government or the Court deems relevant to sentencing.

II, Conditions and Waivers

5. Defendant QPS acknowledges that the sentence the parties propose to the Court in this
Plea Agreement is only a recommendation that the Court may accept or reject and that the Court
may impose some other sentence that it determines to be just.

6. Defendant QPS understands that the penalty that may be imposed for its plea of guilty
to the Information is to be determined according to the factors set forth in Title 18, United States
Code, Sections 3553 and 3572. Ifa penalty is imposed it is to be determined under Title 18,
United States Code, Section 3571(c)(1) and (d), with the maximum penalty being Probation not
more than five (5) years, Supervised release of not more than three (3) years, and a $500,000 fine
pursuant to Title 18, United States Code, Section 3571(c), or not more than the greater of twice the
gross gain or twice the gross loss pursuant to Title 18, United States Code, Section 357 [(d),
whichever is greater.

7, Defendant QPS acknowledges that in pleading guilty, it is giving up the right: (a) to
plead not guilty and to persist in that plea; (b) to have its guilt or innocence determined by a jury
after it has considered the evidence presented at trial; (c) to confront and cross-examine

adverse witnesses; (d) to testify and to present evidence; (e) and to compel the attendance and

testimony of witnesses.

U.S. v, Quality Poultry and Seafood, Inc.
1:24cr89-HSO-RPM
Page 2 of 6

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8. The Information setting forth the charges is incorporated by reference into this Plea
Agreement. By entering into this Plea Agreement, QPS admits to the facts alleged in the
Information and that it is in fact guilty of these offenses.

9, If the guilty plea is entered and defendant QPS fulfills all of the terms of this Plea
Agreement, the United States will not file any additional criminal charges against the defendant
arising from the facts set forth in the Information.

10, Defendant QPS understands and acknowledges that it is entering into this Plea
Agreement and is pleading guilty freely and voluntarily because it is guilty and that its plea has not
been induced by any threat, coercion, or intimidation of any kind. Defendant QPS acknowledges
complete satisfaction with the representation of its counsel and the advice it has received in
connection with this Plea Agreement.

il. Having agreed to plead guilty to the one-count Information, defendant QPS
acknowledges that it is not a prevailing party as defined in Title 18, United States Code, Section
3006A (statutory note captioned “Attomey Fees and Litigation Expenses to Defense”) and hereby
expressly waives its right to sue the United States for its prosecution in this case.

12, No additional promises, agreements, or conditions have been made concerning this
matter other than those expressly set forth herein, and none will be made unless in writing and
signed by all parties to this Agreement.

13, Defendant QPS and its officers agree to continue to provide truthful and complete
information to federal authorities concerning all matters pertaining to the charges to which it has

agreed to plead guilty and agree to cooperate fully with the government in providing assistance and

U.S, v. Quality Poultry and Seafood, inc.
1:24er89-HSO-RPM
Page 3 of 6

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truthful information and testimony in any investigation and prosecution the government undertakes
relating to the charges at issue here,

14. Defendant QPS understands that this Agreement does trot protect it or any of its officers
or employees from prosecution for perjury should an authorized representative of QPS testify
untruthfully or for making false statements nor does it protect these parties from prosecution for
other crimes or offenses which the United States discovers by independent investigation. Further,
should the defendant fail to comply fully with the terms and conditions set forth herein, this
Agreement is voidable at the election of the United States, and the defendant may be subject to
prosecution as if the Agreement had never been made.

15, Defendant, knowing and understanding all of the matters aforesaid, including the
maximum possible penalty that could be imposed, and being advised of Defendant's rights, in
exchange for the U.S. Attorney entering into this plea agreement, hereby expressly waives the right
to appeal the conviction and sentence imposed in this case, or the manner in which that sentence
was imposed, on the grounds set forth in Title 18, United States Code, Section 3742, or on any
ground whatsoever.

Ill, Recommended Sentence

16. The parties hereby agree to recommend the following sentence that the parties submit is
just and equitable and an appropriate punishment for the crimes set forth in the accompanying
Information to which defendant QPS has agreed to plead guilty.

(a) Defendant QPS agrees to forfeit $1,000,000 which it will pay to the United
States Marshals Service, as directed by the U.S. Attorney's Office, within five business days of the

Court's entry of the judgment and conviction.

U.S. v. Quality Poultry and Seafood, Inc.
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Page 4 of 6

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(b) Defendant QPS and the government agree that the forfeiture payment
represents a fair and just resolution of all issues associated with loss and fine calculations.

(c) In consideration of the Defendant's forfeiture payment, the Government
agrees to recommend that a fine of $150,000 be imposed.

(d) Consistent with Title 18, United States Code, Section 3561(c)(1), defendant
QPS shall be subject to five years of probation, which shal! include the following conditions:

(i) The defendant shall not commit another federal, state, or local crime.

(ii) The defendant shall maintain for no less than five years records
describing the species, sources, and cost of the seafood it acquires for sale to its customers. The
defendant shall make these records available to any federal, state, or local governmental authority
that regulates or monitors the service and distribution of food for human consumption and to any
such agency that regulates the harvesting, storage, labeling, or sale of seafood,

(iii) The defendant shall answer truthfully any inquiry from any
governmental agency and from any customer as to the species, source, and cost of any seafood it
prepares, serves, sells, or advertises for sale.

(e) The Courts shall maintain jurisdiction over this case for a period sufficient to
assure compliance with this sentence.
16. Prior to or at the time of sentencing, defendant QPS will pay a special assessment
of $400 per count as required in Title 18, United States Code, Section 3013(a)(2)(B). This

payinent shall be made to the United States District Coun, at the United States Clerk's Office,

U.S. v. Quality Poultry and Seafood, Inc.
1:24cr89-HSO-RPM
Page § of 6

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2012 15th Street, Suite 403, Gulfport, Mississippi 39501. The defendant will furnish to the
Government a receipt or other evidence of payment at the time of sentencing.
WITNESS OUR SIGNATURES:

TODD W. GEE
United States Attorney
Southern District of Mississippi

Ard we C, Ue Date: é/ 2] 202 f
ANDREA C. JONES V fF
Assistant United States Attorney

Southern District of Mississippi

TODD KIM

Assistant Attomey General
Environment and Natural Resource Division

United States oe Justice
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jie iF. KORZENIK oF

Senior Trial Attoritey
Environmental Crimes Section

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[NAME]
Authorized Agent for Quality
Poultry and Seafood, Inc.

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BILLY GIBBENS ptt
Attomey for Defendant Qualty
and Seafood, Ine. Daye:

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WAYNE LENGE:
ATTaaNey FoR MDAMT
QUALITY PaodlyRY AAP
SEA FQOD, INE,

U.S, v. Quality Poultry and Seafood, Inc.
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Page 6 of 6

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SOUTHERN DISTRICT OF MISSISSIPP]

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ARTHUR JOHNSTON
LL DEPUTY

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

BY

UNITED STATES OF AMERICA
v. criminat no. |, 7H ir 6G Wok

JAMES WILLIAM GUNKEL 21 U.S.C, § 331

The United States Attorney charges:

At all times relevant to this Information, in the Southern Division of the Southern District
of Mississippi and elsewhere:

1. Beginning in or around 2008, defendant JAMES WILLIAM GUNKEL
(“GUNKEL”) was employed by Quality Poultry and Seafood of Biloxi (“QPS”), a Mississippi
Gulf Coast wholesale supplier of seafood to restaurants, casinos, and other institutions. As an
accountant, he oversaw the company’s finances. In or around 2014 he became QPS’s Business
Manager reporting directly to QPS’s two owners,

2. As QPS’s Business Manager, defendant GUNKEL supervised the company’s sale of
seafood and participated in setting the prices at which QPS would purchase and sell the various
species of fish it marketed.

3. In addition to its wholesale business, QPS, also sold seafood to the public from its
retail store, Defendant GUNKEL supervised its operation, instructing its employees as to which
fish species to order and sell, how to label them, and at what price to sell them.

4. Beginning in or around 2014 and continuing through November 2019, as QPS’s
Business Manager, defendant GUNKEL, oversaw the marketing of seafood to restaurants and

other retail establishments that facilitated the misbranding of fish, specifically suggesting

PLAINTIFF’S
EXHIBIT

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inexpensive, imported frozen fish as substitutes for the more expensive fresh premium local
species identified by the retail market or advertised on the restaurant’s menu. Through such
sales of seafood, defendant GUNKEL generated higher proceeds for his customers, his
employer, and himself than would have been obtained had the seafood QPS sold been accurately
identified and sold at its true market value.

Applicable Laws

5, Title 21, United States Code Section 331(k), prohibits the alteration, mutilation,
destruction, obliteration, or removal of the whole or any part of the labeling of, or the doing of
any other act with respect to, a food, drug, device, tobacco product, or cosmetic, if such act is
done while such article is held for sale (whether or not the first sale) after shipment in interstate
commerce and results in such article being adulterated or misbranded. A food is misbranded if
its labeling and description is false and misleading in any particular or if it is offered for sale

under the name of another food. Title 21, United States Code, Section 343(a) and (b).
Sale of Inexpensive Imported Seafood Falsely Labeled as a Premium Local Species

6. On September 19, 2018, a federal search warrant was executed at the premises of
defendant GUNKEL’s employer, QPS, by agents of the Federal Food and Drug Administration.
Defendant GUNKEL was interviewed by federal agents and warned that the sale of mislabeled
seafood was a serious criminal violation of federal law.

7. From July 2019 continuing through November 2019, the acts of defendant GUNKEL
resulted in the misbranding of no less than 3,150 pounds of inexpensive imported fish held for
sale after shipment in interstate commerce in order to facilitate its sale as a premium higher

priced local species at one of QPS’s numerous wholesale customers. The fish misbranded and

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sold as premium local species included Triple Tail from Suriname and Unicorn filefish from
india.
All in violation of Title 21, United States Code, Sections 331(k), 343(a) and (b), and

333(a)(1).

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United States Attorney

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Environment & Natural Resources Division

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UNITED.STATES DISTRICT, COURT
SOUTHERN DISTRICT OF CUSSISSIEPI

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PLEA AGREEMENT

Subject Date
United States v. James William Gunkel July 24, 2024
Criminal No, 1:24cr88-HSO-RPM

To: From:

Joe Sam Owen Jeremy F. Korzenik — . Andrea C. Jones
Owen and Owen, PPLC Senior Trial Attorney Asst. U.S. Attorney
1414-25" Avenue Environmental Crimes Sec. Southern Dist. of MS
Gulfport, MS 39501 U.S. Dept. of Justice Criminal Division

Washington, DC 20044 Gulfport, MS 39201

James William Gunkel, Defendant herein, and Joe Sam Owen, attorney for the
Defendant, have been notified and understand and agree to the items contained herein, as well as

in the Plea Supplement, and that:

1, Count of Conviction. It is understood that, as of the date of this plea agreement,

Defendant and Defendant’s attorney have indicated that Defendant desires to plead guilty to the
one-count Information charging him with acts resulting in misbranding of inexpensive imported
seafood as local premium species in violation of Title 21, United States Code, Sections 33 1(k)
and 333(a)(1).

Zi Sentence, Defendant understands that the penalty for the offense in the
Information to which the Defendant will plead guilty is imprisonment for not more than one year
or a fine of not more than $1,000, or both, and a term of supervised release of not more than one
year. Defendant further understands that a term of supervised release will be imposed, and that

the term will be in addition to any prison sentence imposed. If any of the terms of supervised

Page 1 of 7 PLAINTIFF’S
U.S. v. Gunkel EXHIBIT

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release are violated, the Defendant may be retumed to prison for the entire term of supervised
release without any credit for any time already served on the term of supervised release prior to
the Defendant’s violation of those conditions. Defendant also understands that the Court may
require Defendant to pay restitution in this matter in accordance with applicable law. Defendant
further understands that Defendant is liable to make restitution for the full amount of the loss
determined by the Court, to include relevant conduct, which amount is not limited to the count of
conviction, Defendant further understands that if the Court orders Defendant to pay restitution,
restitution payments cannot be made to the victim directly but must be made to the Clerk of
Court, Southern District of Mississippi.

3. Determination of Sentencing Guidelines, It is further understood that the
United States Sentencing Guidelines are advisory only and that Defendant and Defendant’s
attorney have discussed the fact that the Court must review the Guidelines in reaching a decision
as to the appropriate sentence in this case, but the Court may impose a sentence other than that
indicated by the Guidelines if the Court finds that another sentence would be more appropriate.
Defendant specifically acknowledges that Defendant is not relying upon anyone's calculation of a
particular Guideline range for the offense to which Defendant is entering this plea and recognizes
that the Court will make the final determination of the sentence and that Defendant may be
sentenced up to the maximum penalties set forth above.

4, Breach of This Agreement and Further Crimes. It is further understood that
should Defendant fail or refuse as to any part of this plea agreement or commit any further
crimes, then, at its discretion, the U.S. Attorney may treat such conduct as @ breach of this plea
agreement and Defendant's breach shall be considered sufficient grounds for the pursuit of any

prosecutions which the U.S. Attorney has not sought as a result of this plea agreement, including

Page 2 of 7
U.S. v. Gunkel
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any such prosecutions that might have been dismissed or otherwise barred by the Double
Jeopardy Clause, and any federal criminal violation of which this office has knowledge.

5. Financial Obligations. It is further understood and specifically agreed to by
Defendant that, at the time of the execution of this document or at the time the plea is entered,
Defendant will then and there pay over the special assessment of $ 25.00 per count required by
Title 18, United States Code, Section 3013(a)(1)(A)(iii), to the Office of the United States
District Court Clerk; Defendant shall thereafter produce proof of payment to the U.S. Attorney or
the U.S. Probation Office. If the Defendant is adjudged to be indigent, payment of the special
assessment at the time the plea is entered is waived, but Defendant agrees that it may be made
payable first from any funds available to Defendant while Defendant is incarcerated. Defendant
understands and agrees that, pursuant to Title 18, United States Code, Section 3613, whatever
monetary penalties are imposed by the Court will be due and payable immediately and subject to
immediate enforcement by the United States as provided in Section 3613. Furthermore,
Defendant agrees to complete a Department of Justice Financial Statement no later than the day
the guilty plea is entered and provide same to the undersigned AUSA. Defendant also agrees to
provide all of Defendant’s financial information to the Probation Office and, if requested, to
participate in a pre-sentencing debtor's examination. If the Court imposes a schedule of
payments, Defendant understands that the schedule of payments is merely a minimum schedule
of payments and not the only method, nor a limitation on the methods, available to the United
States to enforce the judgment. If Defendant is incarcerated, Defendant agrees to participate in
the Bureau of Prisons' Inmate Financial Responsibility Program regardless of whether the Court

specifically directs participation or imposes a schedule of payments. Defendant understands and

Page 3 of 7
U.S, v. Gunkel
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agrees that Defendant shall participate in the Treasury Offset Program until any and all monetary
penalties are satisfied and paid in full by Defendant.

6. Transferring and Liquidating Assets. Defendant understands and agrees that
Defendant is prohibited from transferring or liquidating any and all assets held or owned by
Defendant as of the date this Plea Agreement is signed. Defendant must obtain prior written
approval from the U.S. Attorney’s Financial Litigation Program prior to the transfer or
liquidation of any and all assets after this Plea Agreement is signed and if Defendant fails to do
so the Defendant understands and agrees that an unapproved transfer or liquidation of any asset
shall be deemed a fraudulent transfer or liquidation and a violation of this agreement.

7. Future Direct Contact With Defendant. Defendant and Defendant’s attorney

acknowledge that if forfeiture, restitution, a fine, or special assessment or any combination of
forfeiture, restitution, fine, and special assessment is ordered in Defendant’s case that this will
require regular contact with Defendant during any period of incarceration, probation, supervised
release, and possibly thereafter. Further, Defendant and Defendant's attorney understand that it
is essential that defense counse! contact the U.S. Attorney’s Financial Litigation Program
immediately after sentencing in this case to confirm in writing whether defense counsel will
continue to represent Defendant in this case and in matters involving the collection of the
financial obligations imposed by the Court. If the U.S. Attorney does not receive any written
acknowledgment from defense counsel within two weeks from the date of the entry of Judgment
in this case, the U.S. Attorney will presume that defense counsel no longer represents Defendant
and the Financial Litigation Program will communicate directly with Defendant regarding
collection of the financial obligations imposed by the Court. Defendant and Defendant’s

attorney understand and agree that such direct contact with Defendant shall not be deemed an

Page 4 of 7
U.S. v. Gunkel
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improper ex parte contact with Defendant if defense counsel fails to notify the U.S, Attorney of
any continued legal representation within two weeks after the date of entry of the Judgment in
this case.

8. Waivers. Defendant, knowing and understanding all of the matters aforesaid,
including the maximum possible penalty that could be imposed, and being advised of
Defendant’s rights to remain silent, to trial by jury, to subpoena witnesses on Defendant’s own
behalf, to confront the witnesses against Defendant, and to appea! the conviction and sentence, in
exchange for the U.S, Attorney entering into this plea agreement and accompanying plea
supplement, hereby expressly waives the following rights (except that Defendant reserves the
right to raise ineffective assistance of counsel claims):

a, the right to appeal the conviction and sentence imposed in this case, or the
manner in which that sentence was imposed, on the grounds set forth in Title 18, United

States Code, Section 3742, or on any ground whatsoever; and

b. the right to contest the conviction and sentence or the manner in which the

sentence was imposed in any post-conviction proceeding, including but not limited to a

motion brought under Title 28, United States Code, Section 2255, and any type of

proceeding claiming double jeopardy or excessive penalty as a result of any forfeiture
ordered or to be ordered in this case, and

c. any right to seek attorney fees and/or costs under the “Hyde Amendment,”
Title 18, United States Code, Section 3006A, and the Defendant acknowledges that the

government’s position in the instant prosecution was not vexatious, frivolous, or in bad

faith, and
d. all rights, whether asserted directly or by a representative, to request or
Page 5 of 7
US. v. Gunkel

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receive from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including without limitation any records that
may be sought by Defendant or by Defendant's representative under the Freedom of
Information Act, set forth at Title 5, United States Code, Section 552, or the Privacy Act
of 1974, at Title 5, United States Code, Section 552a.

e Defendant further acknowledges and agrees that any factual issues
regarding the sentencing will be resolved by the sentencing judge under a preponderance
of the evidence standard, and Defendant waives any right to a jury determination of these
sentencing issues. Defendant further agrees that, in making its sentencing decision, the
district court may consider any relevant evidence without regard to its admissibility under
the rules of evidence applicable at trial.

Defendant waives these rights in exchange for the United States Department of
Justice entering into this plea agreement and accompanying plea supplement,

9. Complete Agreement, It is further understood that this plea agreement and the
plea supplement completely reflect all promises, agreements and conditions made by and
between the United States Attorney’s Office for the Southern District of Mississippi and the

United States Department of Justice’s Environmental Crimes Section and Defendant.

Page 6 of 7
U.S. v. Gunkel
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Defendant and Defendant's attorneys of record declare that the terms of this plea
apreement have been:

1. READ BY OR TO DEFENDANT;
2, EXPLAINED TO DEFENDANT BY DEFENDANT'S ATTORNEY;

3, UNDERSTOOD BY DEFENDANT;
4, VOLUNTARILY ACCEPTED BY DEFENDANT; and
5. AGREED TO AND ACCEPTED BY DEFENDANT.

WITNESS OUR SIGNATURES, as set forth below,

TODD W. GEE
United States Attorney

Cay. Sfx [rey

Andrea C. Jones 4 Date
Assistant United States Attomey

TODD KIM
Assistant Attomey General
Environmental and Natural Resources Division

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Environmental Crimes Section
United States Department of Justice

Clouse wenbol

Jagnes Wiliam Gunkel
Defend

Joe Sami pwven |
Attorney for Defendant

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U.S. v. Gunkel
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SOUTHERN DISTRICT OF MISSISSIPPI

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI i ene
SOUTHERN DIVISION

UNITED STATES OF AMERICA

CRIMINAL NO, | ML

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Vv.

- TODD ANTHONY ROSETTI 21 U.S.C. § 331(k)

The United States Attorney charges:

Atall times relevant to the allegations of this Information in the Southern Division of the

Southern District of Mississippi and elsewhere:

1. The defendant, TODD ANTHONY ROSETTI ((ROSETTI”) was the sales manager
of Quality Poultry and Seafood of Biloxi (“QPS”), a wholesale supplier of poultry and seafood to
restaurants, casinos, and retail markets on the Mississippi Gulf Coast and elsewhere, Defendant
ROSETTI is the son of one of the two owners of QPS and has worked there since 1993,
Defendant ROSETTI participated in setting the prices at which QPS would purchase and sell the
various species of fish it marketed and was responsible for overseeing QPS’s wholesale business
directly through customer contacts and through the QPS salesmen he managed,

2. Beginning at a time no later than 2012, and as early as 1999, and continuing through
November 2019, defendant ROSETTI marketed seafood to restaurants and other retail
establishments to facilitate the misbranding of fish, specifically, suggesting inexpensive,
imported frozen fish as substitutes for the more expensive fresh premium local species identified
by the retail market or advertised on the restaurant’s menu, Through such sales of misbranded
seafood, defendant ROSETTI generated higher proceeds for his customers, his employer, and
himself than would have been obtained had the seafood he arranged to sell been accurately

identified and sold at its true market value.

PLAINTIFF’S
EXHIBIT

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Applicable Laws

3. Title 21, United States Code Section 331(k), prohibits the alteration, mutilation,
destruction, obliteration, or removal of the whole or any part of the labeling of, or the doing of
any other act with respect to, a food, drug, device, tobacco product, or cosmetic, if such act is
done while such article is held for sale (whether or not the first sale) after shipment in interstate
commerce and results in such article being adulterated or misbranded. A food is misbranded if
its labeling and description is false and misleading in any particular or if it is offered for sale

under the name of another food. Title 21, United States Code, Section 343(a) and (b).

Various Acts Resulting in Misbranding
4. Inand through the course of dealings with restaurants in the Gulf Coast area,
ROSETTI selected frozen imported fish to be substituted for premium species fish by local
restaurants. Specifically, in or about 2016 and 2017, while standing inside Defendant QPS’s
large freezer containing boxes of imported frozen seafood, defendant ROSETTI selected for a
restaurant owner a fish to be substituted for the local premium species on the restaurant’s menu,

5. Onorabout November 4, 2016, defendant ROSETTI facilitated for his employer
QPS a sale of Triggerfish to a local restaurant for use as a substitute for premium local fish.

6. Ina text message dated July 5, 2017, defendant ROSETTI of QPS texted to a
restaurant customer: “Still have no triple tail I’m sending you trigger-style fish 8 — 10 to use till
we get it back in stock. [employee of Restaurant A] is using it already instead of triple tail
at...[Restaurant A] and said he has used it for grouper snapper and triple tail with no complaints.
And it’s cheaper than triple tail’, Co-conspirator Individual #3 responded, “Ok”.

7, Onor about September 29, 2017, Rosetti sold Triggerfish to local Restaurant A for

use as a substitute for premium local fish.

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8. Ina January 19, 2018, email, a QPS seafood purchasing agent notified defendant
ROSETTI and other QPS employees that “Due to the shortage on snapper we will be
substituting triple tail for all snapper.” Triple tail was not a local fish but was imported by QPS
from Suriname in South America.

9, On September 19, 2018, a federal search warrant was executed at defendant
ROSETTI’s employer, QPS, by agents of the United States Food and Drug Administration
(“FDA”). Defendant ROSETTI was interviewed by federal agents and warned that the sale of
mislabeled seafood was a serious criminal violation of federal law.

10. During the September 19, 2018, execution of a search warrant by the FDA at QPS,
defendant ROSETTI replied to a purchasing agent for a restaurant in response to a text order for
Lake Victoria Perch (LVP), “Tomorrow[,] FDA here today.” The customer responded, “Ok.”

11. Approximately eight days after FDA’s search of QPS, defendant ROSETTI
arranged to sell 150 pounds of LVP to an employee of a restaurant that purchased fish from QPS,
which resulted in the misbranding and selling of the LVP as Snapper to the restaurant’s

customers.

12. About a month after FDA’s search of QPS, via an October 18, 2018 text to
defendant ROSETTI from an employee of a co-conspirator of QPS, defendant ROSETTI took
an order of 60 pounds of LVP for sale by a customer restaurant as Snapper.

13. On October 18, 2018, Rosetti informed a restaurant customer that QPS was
unlikely to obtain more LVP by stating “Perch about to be nonexistant,” The customer

instructed defendant ROSETTI to “Get all they have.”

14, Ina February 21, 2019 text, defendant ROSETTI told an employee of a seafood

restaurant “We have 110 cases of perch left when that is gone there is no more. PY! we are

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looking for alternatives. Unicorn, tripte tail and parrot fish are always good alternatives.” In
response, the employee told defendant ROSETTI not to sell the remaining cases of LVP to any
other customers, saying: “I will buy them.” Defendant ROSETTI responded “You come bring
mea check and | will set it aside for you.”

15. From June continuing through November of 2019, the acts of defendant ROSETTI
resulted in the misbranding of no less than 3,150 pounds of inexpensive imported fish held for
sale after shipment in interstate commerce in order to facilitate ils sale as a premium higher
priced local species at one of QPS's numerous wholesale customers. The fish misbranded and
sold as premium local species included LVP, Triple Tail, and Unicorn F ilefish,

All in violation of Title 21, United States Code, Sections 331(k), 343(a) and (b), and

333(a)C1).

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to TODD W. GEE
United States Attorney

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TODD KIM | VAL domes
Assistant Attorney sonora Anse
Environment & Natural Resources Division
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UNITED STATES DISTRICT COURT
SOUS DISTRICT OF MISS|SSIPPI

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PLEA AGREEMENT
Subject Date
United States v. Todd Anthony Rosetti June 24, 2024
Criminal No, 1:24cr90-HSO-BWR

To: . From:

Joe M. Hollomon Jeremy F, Korzenik Andrea C, Jones

Joe M. Hollomon & Associates, P.A., Senior Trial Attorney Asst. U.S. Attorney
Post Office Box 22683 Environmental Crimes Sec. Southern Dist. of MS
Jackson, MS 39225-2683 U.S. Dept. of Justice Criminal Division

Washington, DC 20044 Gulfport, MS 39201

Todd Anthony Rosetti, Defendant herein, and Joe M. Hollomon, attorney for the
Defendant, have been notified and understand and agree to the items contained herein, as well as

in the Plea Supplement, and that:

1. Count of Conviction, It is understood that, as of the date of this plea agreement,

Defendant and Defendant’s attorney have indicated that Defendant desires to plead guilty to the
one-count Information charging him with acts resulting in misbranding of inexpensive imported
seafood as local premium species in violation of Title 21, United States Code, Sections 331 (k)
and 333(a)(1).

2. Sentence, Defendant understands that the penalty for the offense in the
Information to which the Defendant will plead guilty is imprisonment for not more than one year
or a fine of not more than $1,000, or both, and a term of supervised release of not more than one
year, Defendant further understands that a term of supervised release will be imposed, and that
the term will be in addition to any prison sentence imposed. If any of the terms of supervised

Page 1 of 7
U.S. v. Rosetti PLAINTIFF’S

1:24cr90-HSO-BWR EXHIBIT

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release are violated, the Defendant may be returned to prison for the entire term of supervised
release without any credit for any time already served on the term of supervised release prior to
the Defendant’s violation of those conditions. Defendant also understands that the Court may
require Defendant to pay restitution in this matter in accordance with applicable law. Defendant
further understands that Defendant is liable to make restitution for the full amount of the loss
determined by the Court, to include relevant conduct, which amount is not limited to the count of
conviction. Defendant further understands that if the Court orders Defendant to pay restitution,
restitution payments cannot be made to the victim directly but must be made to the Clerk of
Court, Southern District of Mississippi.

3. Determination of Sentencing Guidelines. {t is further understood that the
United States Sentencing Guidelines are advisory only and that Defendant and Defendant's
attorney have discussed the fact that the Court must review the Guidelines in reaching a decision
as to the appropriate sentence in this case, but the Court may impose a sentence other than that
indicated by the Guidelines if the Court finds that another sentence would be more appropriate,
Defendant specifically acknowledges that Defendant is not relying upon anyone's calculation ofa
particular Guideline range for the offense to which Defendant is entering this plea and recognizes
that the Court will make the final determination of the sentence and that Defendant may be
sentenced up to the maximum penalties set forth above.

4, Breach of This Agreement and Further Crimes, It is further understood that
should Defendant fail or refuse as to any part of this plea agreement or commit any further
crimes, then, at its discretion, the U.S. Attorney may treat such conduct as a breach of this plea
agreement and Defendant's breach shall be considered sufficient grounds for the pursuit of any

prosecutions which the U.S, Attorney has not sought as a result of this plea agreement, including

Page 2 of 7
U.S. v. Rosetti
1:24cer90-HSO-BWR

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any such prosecutions that might have been dismissed or otherwise barred by the Double
Jeopardy Clause, and any federal criminal violation of which this office has knowledge.

5. Financial Obligations. It is further understood and specifically agreed to by
Defendant that, at the time of the execution of this document or at the time the plea is entered,
Defendant will then and there pay over the special assessment of $ 25.00 per count required by
Title 18, United States Code, Section 3013(a)(1)(A)(iii), to the Office of the United States
District Court Clerk; Defendant shall thereafter produce proof of payment to the U.S. Attorney or
the U.S. Probation Office, If the Defendant is adjudged to be indigent, payment of the special
assessment at the time the plea is entered is waived, but Defendant agrees that it may be made
payable first from any funds available to Defendant while Defendant is incarcerated, Defendant
understands and agrees that, pursuant to Title 18, United States Code, Section 3613, whatever
monetary penalties are imposed by the Court will be due and payable immediately and subject to
immediate enforcement by the United States as provided in Section 3613. Furthermore,
Defendant agrees to complete a Department of Justice Financial Statement no later than the day
the guilty plea is entered and provide same to the undersigned AUSA. Defendant also agrees to
provide all of Defendant’s financial information to the Probation Office and, if requested, to
participate in a pre-sentencing debtor's examination. Ifthe Court imposes a schedule of
payments, Defendant understands that the schedule of payments is merely a minimum schedule
of payments and not the only method, nor a limitation on the methods, available to the United
States to enforce the judgment. If Defendant is incarcerated, Defendant agrees to participate in
the Bureau of Prisons' Inmate Financial Responsibility Program regardless of whether the Court

specifically directs participation or imposes a schedule of payments. Defendant understands and

Page 3 of 7
U.S. v. Rosetti
1:24cr90-HSO-BWR

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agrees that Defendant shall participate in the Treasury Offset Program until any and all monetary
penalties are satisfied and paid in full by Defendant.

6. Transferring and Liquidating Assets. Defendant understands and agrees that
Defendant is prohibited from transferring or liquidating any and all assets held or owned by
Defendant as of the date this Plea Agreement is signed. Defendant must obtain prior written
approval from the U.S. Attorney’s Financial Litigation Program prior to the transfer or
liquidation of any and all assets after this Plea Agreement is signed and if Defendant fails to do
so the Defendant understands and agrees that an unapproved transfer or liquidation of any asset
shall be deemed a fraudulent transfer or liquidation and a violation of this agreement.

7. Future Direct Contact With Defendant. Defendant and Defendant’s attorney

acknowledge that if forfeiture, restitution, a fine, or special assessment or any combination of
forfeiture, restitution, fine, and special assessment is ordered in Defendant's case that this will
require regular contact with Defendant during any period of incarceration, probation, supervised
release, and possibly thereafter, Further, Defendant and Defendants attorney understand that it
is essential that defense counsel contact the U.S, Attorney’s Financial Litigation Program
immediately after sentencing in this case to confirm in writing whether defense counsel will
continue to represent Defendant in this case and in matters involving the collection of the
financial obligations imposed by the Court. If the U.S. Attorney does not receive any written
acknowledgment from defense counsel within two weeks from the date of the entry of Judgment
in this case, the U.S. Attorney will presume that defense counsel no longer represents Defendant
and the Financial Litigation Program will communicate directly with Defendant regarding
collection of the financial obligations imposed by the Court. Defendant and Defendant's
attorney understand and agree that such direct contact with Defendant shall not be deemed an
Page 4 of 7

U.S. v. Rosetti
1:24cr90-HSO-BWR

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improper ex parte contact with Defendant if defense counsel fails to notify the U.S. Attorney of
any continued legal representation within two weeks after the date of entry of the Judgment in
this case.

8. Waivers, Defendant, knowing and understanding all of the matters aforesaid,
including the maximum possible penalty that could be imposed, and being advised of
Defendant’s rights to remain silent, to trial by jury, to subpoena witnesses on Defendant’s own
behalf, to confront the witnesses against Defendant, and to appeal the conviction and sentence, in
exchange for the U.S, Attorney entering into this plea agreement and accompanying plea
supplement, hereby expressly waives the following rights (except that Defendant reserves the
right to raise ineffective assistance of counsel claims):

a, the right to appeal the conviction and sentence imposed in this case, or the
manner in which that sentence was imposed, on the grounds set forth in Title 18, United

States Code, Section 3742, or on any ground whatsoever; and

b. the right to contest the conviction and sentence or the manner in which the

sentence was imposed in any post-conviction proceeding, including but not limited to a

motion brought under Title 28, United States Code, Section 2255, and any type of

proceeding claiming double jeopardy or excessive penalty as a result of any forfeiture
ordered or to be ordered in this case, and
c. any right to seek attorney fees and/or costs under the “Hyde Amendment,”

Title 18, United States Code, Section 3006A, and the Defendant acknowledges that the

government's position in the instant prosecution was not vexatious, frivolous, or in bad

faith, and
d, all rights, whether asserted directly or by a representative, to request or
Page 5 of 7

U.S. v. Rosetti
1:24er90-HSO-BWR

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receive from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including without limitation any records that
may be sought by Defendant or by Defendant’s representative under the Freedom of
Information Act, set forth at Title 5, United States Code, Section 552, or the Privacy Act
of 1974, at Title 5, United States Code, Section 552a,

e, Defendant further acknowledges and agrees that any factual issues
regarding the sentencing will be resolved by the sentencing judge under a preponderance
of the evidence standard, and Defendant waives any right to a jury determination of these
sentencing issues. Defendant further agrees that, in making its sentencing decision, the
district court may consider any relevant evidence without regard to its admissibility under
the rules of evidence applicable at trial.

Defendant waives these rights in exchange for the United States Department of
Justice entering into this plea agreement and accompanying plea supplement.

9, Complete Agreement. It is further understood that this plea agreement and the

plea supplement completely reflect all promises, agreements and conditions made by and
between the United States Attorney’s Office for the Southern District of Mississippi and the

United States Department of Justice’s Environmental Crimes Section and Defendant.

Page 6 of 7
U.S. v. Rosetti
1:24cr90-HSO-BWR

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Defendant and Defendant’s attorneys of record declare that the terms of this plea
agreement have been:

1. READ BY OR TO DEFENDANT;

2. EXPLAINED TO DEFENDANT BY DEFENDANT’S ATTORNEY;
3. UNDERSTOOD BY DEFENDANT; .

4, VOLUNTARILY ACCEPTED BY DEFENDANT; and

5, AGREED TO AND ACCEPTED BY DEFENDANT,

WITNESS OUR SIGNATURES, as set forth below.

TODD W, GEE

United States Attorney

Ardece ors 8) 21/rw2y
Andrea C. Jones Date

Assistant United States Attorney

TODD KIM
Assistant Attomey General

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United States Department of Justice

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Anthony Rosetti Date
Defexdant

Ide M. Hollomon Date
orney for Defendant

Page 7 of 7
U.S, v. Rosettl

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